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                    THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF ILLINOIS

                                                )
THE PEOPLE OF THE STATE OF ILLINOIS,            )
THE PEOPLE OF EDWARDS COUNTY, and               )
COUNTY of EDWARDS,                              )
                                                )
                                  Plaintiffs,   )
                                                )
v.                                              )   CIVIL ACTION NO. 3:17-cv-1340
                                                )
AMERISOURCEBERGEN DRUG                          )
CORPORATION, CARDINAL HEALTH, INC.,             )
CARDINAL HEALTH 112, LLC; CARDINAL              )
HEALTH 110, LLC; CARDINAL HEALTH 108,           )
LLC; CARDINAL HEALTH 105, INC.;                 )
CARDINAL HEALTH 414, LLC; McKESSON              )
CORPORATION; PURDUE PHARMA L.P.;                )               COMPLAINT
PURDUE PHARMA, INC.; THE PURDUE                 )
FREDERICK COMPANY, INC.; TEVA                   )       Complaint for Public Nuisance;
PHARMACEUTICAL INDUSTRIES, LTD.;                )   Violations of Racketeer Influenced and
TEVA PHARMACEUTICALS USA, INC.;                 )    Corrupt Organizations Act (RICO) 18
CEPHALON, INC.; JOHNSON & JOHNSON;              )
                                                    U.S.C. § 1961 et seq.; Illinois Narcotics
JANSSEN PHARMACEUTICALS, INC.;                  )
ORTHO-MCNEIL-JANSSEN                            )   Profit Forfeiture Act, 725 ILCS 175/1 et
PHARMACEUTICALS, INC. n/k/a JANSSEN             )      seq.; Illinois Consumer Fraud and
PHARMACEUTICALS, INC.; JANSSEN                  )    Deceptive Business Practices Act, 815
PHARMACEUTICA INC. n/k/a JANSSEN                )   ILCS 505/1 et seq.; Uniform Deceptive
PHARMACEUTICALS, INC.; NORAMCO,                 )   Trade Practices Act, 815 ILCS 510/1 et
INC.; ENDO HEALTH SOLUTIONS INC.;               )       seq.; Negligence and Negligent
ENDO PHARMACEUTICALS, INC.;                     )
                                                     Misrepresentation; Negligence Per Se;
ALLERGAN PLC f/k/a ACTAVIS PLS;                 )
WATSON PHARMACEUTICALS, INC. n/k/a              )   Civil Conspiracy; Fraud and Fraudulent
ACTAVIS, INC. n/k/a ALLERGEN FINANCE,           )               Misrepresentation;
LLC; WATSON LABORATORIES, INC.;                 )    Insurance Fraud, 720 ILCS 5/17-10.5;
ACTAVIS LLC; ACTAVIS PHARMA, INC.               )            And Unjust Enrichment
f/k/a WATSON PHARMA, INC.;                      )
MALLINCKRODT PLC and                            )
MALLINCKRODT LLC.                               )
                                                )
                                Defendants.     )
                                                )
                                                )   JURY TRIAL DEMANDED AND
                                                )   ENDORSED HEREON
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       Plaintiffs, THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF EDWARDS

COUNTY, and COUNTY of EDWARDS, by Eric St. Ledger, the State’s Attorney of Edwards

County, (collectively “Plaintiffs”) and undersigned attorneys, bring this action against Defendants,

Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Teva

Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson &

Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a

Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a

Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc; Mallinckrodt

LLC; McKesson Corporation; Cardinal Health, Inc.; Cardinal Health 112, LLC, Cardinal Health

110, LLC, Cardinal Health 108, LLC, Cardinal Health 105, Inc., Cardinal Health 414, LLC and

AmerisourceBergen Drug Corporation (collectively “Defendants”) for public nuisance; for

violations of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961 et seq.,

Illinois Narcotics Profit Forfeiture Act, 725 ILCS 175/1 et seq., Illinois Consumer Fraud and

Deceptive Business Practices Act, 815 ILCS 505/1 et seq., and Uniform Deceptive Trade Practices

Act, 815 ILCS 510/1 et seq.; negligence; negligence per se; civil conspiracy; fraud; fraudulent

misrepresentation; Insurance Fraud, violations of 720 ILCS 5/17-10.5; and Unjust Enrichment.

       Plaintiffs allege that Defendants unlawfully sold or caused to be sold millions of

prescription opioids into Edwards County, Illinois (“The County”). Plaintiffs assert that such

unlawful conduct resulted in the foreseeable, widespread diversion of prescription opioids into the

illicit market, 1970 U.S.C.C.A.N. §§ 4566, 4571-72, creating a serious public health and safety




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crisis in the State and The County involving opioid abuse, addiction, morbidity and mortality, and

is a public nuisance.

        Plaintiffs alleges as follows:

                                            I.     INTRODUCTION

        1.       Plaintiffs bring this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants’ false, deceptive and unfair marketing and/or unlawful

diversion of prescription opioids.1 Such economic damages were foreseeable to Defendants and

were sustained because of Defendants intentional and/or unlawful actions and omissions.

        2.       Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2

        3.       The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3

        4.       Plaintiffs bring this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, turned patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.




1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).

                                                         2
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        5.       Plaintiffs also bring this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached their

legal duties under federal and state law to monitor, detect, investigate, refuse and report suspicious

orders of prescription opiates.

                                                II.     PARTIES

    A. PLAINTIFFS

        6.       Plaintiffs, THE PEOPLE OF THE STATE OF ILLINOIS (“People of the State”),

THE PEOPLE OF EDWARDS COUNTY (“People of The County”), and COUNTY of

EDWARDS (“The County”), by Eric St. Ledger, the State’s Attorney of Edwards County (State’s

Attorney”), are authorized to enforce the causes of action brought herein. The County is a body

politic and corporate, organized and existing under the laws of the State of Illinois, which may sue

in any court having subject-matter jurisdiction. 55 ILCS 5/5-1001.

        7.       The County Board of Edwards County, Illinois (“County Board”), has declared,

inter alia, that opioid4 abuse, addiction, morbidity and mortality has created a serious public health

and safety crisis in the State and The County, and is a public nuisance, and that the diversion of

legally produced controlled substances into the illicit market causes or contributes to this public

nuisance.

        8.       The County Board has further declared and resolved that there is a substantial need

for legal services, that these services cannot be adequately performed or provided solely by the

attorneys and supporting personnel salaried through The County and/or State treasury, and that to




4
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.

                                                         3
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fulfill the duties of both The County Board and the State’s Attorney, experienced undersigned

counsel have been retained.

       9.      The distribution and diversion of opioids into the State and The County created the

foreseeable opioid crisis and opioid public nuisance for which Plaintiffs here seek relief.

       10.     Plaintiffs directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiffs seek relief. Categories

of past and continuing sustained damages include, inter alia,: (1) costs for providing medical care,

additional therapeutic, and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, including overdoses and deaths; (2) costs for providing

treatment, counseling, and rehabilitation services; (3) costs for providing treatment of infants born

with opioid-related medical conditions; (4) costs associated with law enforcement and public

safety relating to the opioid epidemic; (5) and costs associated with providing care for children

whose parents suffer from opioid-related disability or incapacitation. These damages have been

suffered, and continue to be suffered directly, by the Plaintiffs.

       11.     Plaintiffs also seek the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct. Plaintiffs are authorized by law to abate any nuisance and

prosecute in any court of competent jurisdiction any person who creates, continues, contributes to,

or suffers such nuisance to exist and prevent injury and annoyance from such nuisance. 55 ILCS

5/5-1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-6003.

       12.     The State’s Attorney is empowered to bring this action, and the Counts in this

action, on behalf of Plaintiffs pursuant to the powers and duties vested to the position by 55 ILCS

5/3-9005 and the doctrine of parens patriae. See also 55 ILCS 5/1-6003.




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       13.     Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney have standing to bring this public nuisance action for damages and to

abate the public nuisance in The County. 55 ILCS 5/5-1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-6003.

       14.     Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney have standing to bring claims under the federal RICO statute. 18

U.S.C. § 1961(3) (“persons” include entities which can hold legal title to property); 18 U.S.C. §

1964 (“persons” have standing).

       15.     Plaintiffs The County, People of The County, and People of the State have standing

to bring claims for civil relief under the Narcotics Profit Forfeiture Act. 725 ILCS 175/3(c)

(“‘Person’ includes any individual or entity capable of holding a legal or beneficial interest in

property.”); 725 ILCS 175/6(c) (person injured has standing).

       16.     The State’s Attorney believes this action to be in the public interest of the Plaintiffs,

The County, the People of The County, and the People of the State. The State’s Attorney brings

this action pursuant to Section 7 of the Consumer Fraud and Deceptive Business Practices Act,

815 ILCS 505/7(a).

       17.     The Plaintiffs, The County, the People of The County, and the People of the State,

are “government[s] or governmental subdivision[s]” and are therefore “person[s]” with standing

to bring this action under the Uniform Deceptive Trade Practices Act, 815 ILCS 510/1(5).

       18.     Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney have standing to bring a common law action for negligence and

negligent misrepresentation. 55 ILCS 5/5-1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-6003.




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          19.   Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney have standing to bring an action for negligence per se. 55 ILCS 5/5-

1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-6003.

          20.   Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney have standing to bring a common law action for civil conspiracy. 55

ILCS 5/5-1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-6003.

          21.   Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney have standing to bring a common law action for fraud and fraudulent

misrepresentation. 55 ILCS 5/5-1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-6003.

          22.   Plaintiff, The County, by and through the State’s Attorney has standing to bring a

claim for Insurance Fraud under 720 ILCS 5/17-10.5(e)(1).

          23.   Plaintiff, The County, by and through the State’s Attorney has standing to bring a

common law action for unjust enrichment. 55 ILCS 5/5-1001; 55 ILCS 5/3-9005; 55 ILCS 5/1-

6003.

   B. DEFENDANTS

          1. Manufacturer Defendants.

          24.   The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or purported

to inform prescribers and users regarding the benefits and risks associated with the use of the

prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duty prevent diversion and report suspicious

orders.



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        25.      PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively, “Purdue”)

which is registered to do business in Illinois.

        26.      Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

        27.      CEPHALON, INC. is a Delaware corporation with its principal place of business

in Frazer, Pennsylvania and is registered to do business in Illinois. TEVA PHARMACEUTICAL

INDUSTRIES, LTD. (“Teva Ltd.”) is an Israeli corporation with its principal place of business in

Petah Tikva, Israel. In 2011, Teva Ltd. acquired Cephalon, Inc. TEVA PHARMACEUTICALS

USA, INC. (“Teva USA”) is a Delaware corporation which is registered to do business in Illinois

and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired Cephalon in

October 2011.

        28.      Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the “management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent




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cancer pain.”5 Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain.”6 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs, and agreed to pay $425 million.7

          29.      Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

the public. Teva USA sells all former Cephalon branded products through its “specialty medicines”

division. The FDA-approved prescribing information and medication guide, which is distributed

with Cephalon opioids, discloses that the guide was submitted by Teva USA, and directs

physicians to contact Teva USA to report adverse events.

          30.      All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon acquisition

– attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of




5
    Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
      Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve         Allegations          of        Off-Label       Marketing         (Sept.        29,       2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).



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Cephalon’s specialty sales,” including inter alia sales of Fentora®.9 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,

Teva Ltd. would conduct those companies’ business in the United States itself. Upon information

and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

       31.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation registered to do business in Illinois

with its principal place of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA

INC., now known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with

its principal place of business in Titusville, New Jersey. J&J is the only company that owns more

than 10% of Janssen Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s

products. Upon information and belief, J&J controls the sale and development of Janssen

Pharmaceuticals’ drugs and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc.,




9
        Teva       Ltd.,    Annual      Report      (Form     20-F)  62      (Feb.   12,     2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.

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Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are

referred to as “Janssen.”

       32.       Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion

in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta

(tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in

sales in 2014.

       33.       ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo Pharmaceuticals

Inc. are referred to as “Endo.”

       34.       Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly

$403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in

revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

hydrocodone products in the United States, by itself and through its subsidiary, Qualitest

Pharmaceuticals, Inc.

       35.       ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January 2015.

Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012,



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and the combined company changed its name to Actavis, Inc. as of January 2013 and then

ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation

with its principal place of business in Corona, California, and is a wholly-owned subsidiary of

ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc., n/k/a Allergan Finance,

LLC). ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is registered to do business with the Illinois

Secretary of State as a Delaware corporation with its principal place of business in New Jersey and

was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a Delaware limited liability

company with its principal place of business in Parsippany, New Jersey. Each of these defendants

is owned by ALLERGAN PLC, which uses them to market and sell its drugs in the United States.

Upon information and belief, ALLERGAN PLC exercises control over these marketing and sales

efforts and profits from the sale of Allergan/Actavis products ultimately inure to its benefit.

ALLERGAN PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis Pharma, Inc., Watson

Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc. are referred to as

“Actavis.”

       36.     Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008, and began marketing Kadian in 2009.

       37.     MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware and licensed to do business in Illinois. Mallinckrodt, LLC is a wholly owned




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subsidiary of Mallinckrodt, PLC. Mallinckrodt, PLC, and Mallinckrodt, LLC are referred to as

“Mallinckrodt.”

       38.     Mallinckrodt manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017, Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it failed to

detect and notify the DEA of suspicious orders of controlled substances.

       2. Distributor Defendants.

       39.     The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Distributors universally failed to comply with federal and/or state law. Plaintiffs allege the

unlawful conduct by the Distributor Distributors is responsible for the volume of prescription

opioids plaguing the State and The County.

       40.     Defendant, McKESSON CORPORATION, is registered with the Illinois Secretary

of State as a Delaware corporation which may be served through its registered agent for service of

process, Illinois Corporation Service Company, 801 Adlai Stevenson Drive, Springfield, Illinois

62703. McKESSON CORPORATION has its principal place of business located in San Francisco,

California. McKesson is licensed as a wholesale drug distributor by the Illinois Department of

Financial and Professional Regulation, and operates distribution centers in Illinois, including in

Aurora, Illinois.

       41.     Defendant, CARDINAL HEALTH, INC. is an Ohio corporation, with its principal

office located in Dublin, Ohio. Under the name “Cardinal Health,” Defendant is licensed as a

wholesale drug distributor by the Illinois Department of Financial and Professional Regulation.
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       42.     CARDINAL HEALTH 112, LLC, is a subsidiary of CARDINAL HEALTH, INC.,

is registered with the Illinois Secretary of State as having its principal office in Ohio, is licensed

as a wholesale drug distributor by the Illinois Department of Financial and Professional

Regulation, and may be served through its registered agent for service of process, CT Corporation

System, 208 So. LaSalle Street, Suite 814, Chicago, Illinois 60604.

       43.     CARDINAL HEALTH 110, LLC, is a subsidiary of CARDINAL HEALTH, INC.,

is registered with the Illinois Secretary of State as having its principal office in Ohio, is licensed

as a wholesale drug distributor by the Illinois Department of Financial and Professional

Regulation, and may be served through its registered agent for service of process, CT Corporation

System, 208 So. LaSalle Street, Suite 814, Chicago, Illinois 60604.

       44.     CARDINAL HEALTH 108, LLC, is a subsidiary of CARDINAL HEALTH, INC.,

is registered with the Illinois Secretary of State as having its principal office in Tennessee, is

licensed as a wholesale drug distributor by the Illinois Department of Financial and Professional

Regulation, and may be served through its registered agent for service of process, CT Corporation

System, 208 So. LaSalle Street, Suite 814, Chicago, Illinois 60604.

       45.     CARDINAL HEALTH 105, INC., is a subsidiary of CARDINAL HEALTH, INC.,

is registered with the Illinois Secretary of State as an Ohio Corporation having its principal office

in Ohio, is licensed as a wholesale drug distributor by the Illinois Department of Financial and

Professional Regulation, and may be served through its registered agent for service of process, CT

Corporation System, 208 So. LaSalle Street, Suite 814, Chicago, Illinois 60604.

       46.     CARDINAL HEALTH 414, LLC, is a subsidiary of CARDINAL HEALTH, INC.,

is registered with the Illinois Secretary of State as having its principal office in Ohio, is licensed

as a wholesale drug distributor by the Illinois Department of Financial and Professional



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Regulation, and may be served through its registered agent for service of process, CT Corporation

System, 208 So. LaSalle Street, Suite 814, Chicago, Illinois 60604.

         47.      CARDINAL HEALTH, INC., CARDINAL HEALTH 112, LLC, CARDINAL

HEALTH 110, LLC, CARDINAL HEALTH 108, LLC, CARDINAL HEALTH 105, INC., and/or

CARDINAL HEALTH 414, LLC (occ. collectively “Cardinal Health”) operate distribution

centers in Illinois, including in Aurora, Illinois. Cardinal Health also operates distribution centers

outside of Illinois from which Cardinal Health ships opioids into Illinois, including in The County.

         48.      Defendant, AMERISOURCEBERGEN DRUG CORPORATION, is registered

with the Illinois Secretary of State as a Delaware corporation which may be served through its

registered agent for service of process, CT Corporation System, 208 So. LaSalle Street, Suite 814,

Chicago, Illinois 60604. AMERISOURCEBERGEN DRUG CORPORATION’s principal place

of business is located in Chesterbrook, Pennsylvania.                     AMERISOURCEBERGEN DRUG

CORPORATION is licensed as a wholesale drug distributor by the Illinois Department of

Financial and Professional Regulation, and operates distribution centers in Illinois, including in

Romeoville, Illinois.

         49.      The data which reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA10 nor the wholesale distributors11 will




10
  See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act Unit (“SARF”), FOI,
Records Management Section (“SAR”), Drug Enforcement Administration (DEA), United States Department of
Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
ARCOS data is “kept confidential by the DEA”).
11
  See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not customarily release any of the information
identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
DEA to protect its confidential business information reported to the Agency.”).

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voluntarily disclose the data necessary to identify with specificity the transactions which will form

the evidentiary basis for the claims asserted herein.

       50.     Consequently, Plaintiffs have named the three (3) wholesale distributors (i.e.,

AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation) which

dominate 85% of the market share for the distribution of prescription opioids. The “Big 3” are

Fortune 500 corporations listed on the New York Stock Exchange whose principal business is the

nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm'n v. Cardinal

Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc., McKesson

Corporation, and AmerisourceBergen Drug Corporation predecessors). Each has been investigated

and/or fined by the DEA for the failure to report suspicious orders. Plaintiffs have reason to believe

each has engaged in unlawful conduct which resulted in the diversion of prescription opioids into

our community and that discovery will likely reveal others who likewise engaged in unlawful

conduct. Plaintiffs name each of the “Big 3” herein as defendants and places the industry on notice

that the Plaintiffs are acting to abate the public nuisance plaguing the community. Plaintiffs will

request expedited discovery pursuant to Rule 26(d) of the Federal Rules of Civil Procedure to

secure the data necessary to reveal and/or confirm the identities of the wholesale distributors,

including data from the ARCOS database.



                               III.    JURISDICTION & VENUE

       51.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiffs’ state law claims




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pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiffs’ federal claims that

they form part of the same case or controversy.

       52.     This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a), because the Plaintiffs are “citizens” of the State of Illinois and, upon information and

belief, the named Defendants are citizens of states other than Illinois, and the amount in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

       53.     This Court has personal jurisdiction over Defendants because they conduct business

in Illinois, purposefully direct or directed their actions toward Illinois, consented to be sued in

Illinois by registering an agent for service of process, consensually submitted to the jurisdiction of

Illinois when obtaining a manufacturer or distributor license, and have the requisite minimum

contacts with Illinois necessary to constitutionally permit the Court to exercise jurisdiction.

       54.     This Court also has personal jurisdiction over all of the defendants under 18 U.S.C.

1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where the

“ends of justice” require national service and Plaintiffs demonstrate national contacts. Here, the

interests of justice require that Plaintiffs be allowed to bring all members of the nationwide RICO

enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank v. Arroyo

Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988)); Butcher’s Union Local No. 498

v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

       55.     Venue is proper in the Southern District of Illinois pursuant to 28 U.S.C. § 1391

and 18 U.S.C. §1965 because a substantial part of the events or omissions giving rise to the claim

occurred in this District and each Defendant transacted affairs and conducted activity that gave

rise to the claim of relief in this District. 28 U.S.C. §§ 1391(b); 18 U.S.C. §1965(a).



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         56.      Plaintiffs do not bring any product liability claims or causes of action and do not

seek compensatory damages for death, physical injury to person, or emotional distress.

                                   IV.      FACTUAL BACKGROUND

     A. THE OPIOID EPIDEMIC.

         1. The National Opioid Epidemic.

         57.      The past two decades have been characterized by increasing abuse and diversion of

prescription drugs, including opioid medications, in the United States.12

         58.      Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.13

         59.      By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

Release noted:

               a. The death toll from overdoses of prescription painkillers has more than
                  tripled in the past decade.

               b. More than 40 people die every day from overdoses involving narcotic pain
                  relievers like hydrocodone (Vicodin), methadone, oxycodone (OxyContin),
                  and oxymorphone (Opana).

               c. Overdoses involving prescription painkillers are at epidemic levels and now
                  kill more Americans than heroin and cocaine combined.

               d. The increased use of prescription painkillers for nonmedical reasons, along
                  with growing sales, has contributed to a large number of overdoses and
                  deaths. In 2010, 1 in every 20 people in the United States age 12 and older—
                  a total of 12 million people—reported using prescription painkillers non-
                  medically according to the National Survey on Drug Use and Health. Based
                  on the data from the Drug Enforcement Administration, sales of these drugs

12
  See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J. Med.
241 (2015).
13
  Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

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                     to pharmacies and health care providers have increased by more than 300
                     percent since 1999.

                  e. Prescription drug abuse is a silent epidemic that is stealing thousands of
                     lives and tearing apart communities and families across America.

                  f. Almost 5,500 people start to misuse prescription painkillers every day.14

            60.      The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.15

            61.      Many Americans are now addicted to prescription opioids, and the number of

deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed roughly

64,000 people in the United States, an increase of more than 22 percent over the 52,404 drug deaths

recorded the previous year.16

            62.      Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

are forty times more likely to be addicted to heroin.17

            63.      Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk factor

for heroin use.18


14
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller         Overdoses            at        Epidemic           Levels         (Nov.        1,         2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
15
     See Califf et al., supra note 3.
16
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
17
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
18
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).

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          64.     The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large increases

in heroin use across the country and has been shown to be closely tied to opioid pain reliever

misuse and dependence. Past misuse of prescription opioids is the strongest risk factor for heroin

initiation and use, specifically among persons who report past-year dependence or abuse. The

increased availability of heroin, combined with its relatively low price (compared with diverted

prescription opioids) and high purity appear to be major drivers of the upward trend in heroin use

and overdose.19

          65.     The societal costs of prescription drug abuse are “huge.”20

          66.     Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose their

lives after overdosing on opioids.21

          67.     The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.” 22 The




19
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64 Morbidity
& Mortality Wkly. Rep. 1378 (2016).
20
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
21
   Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
22
     Opioid Crisis, NIH.



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economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

healthcare, lost productivity, addiction treatment, and criminal justice expenditures.23

           68.     The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

28,647 (60.9%) involved an opioid.24

           69.     The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.25

           70.     Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are “everywhere” and mistaken as candy.26

           71.     The tragic opioid epidemic impacts infants. The use of opiates during pregnancy

can result in a drug withdrawal syndrome in newborns called Neonatal Abstinence Syndrome

(NAS). There was a five-fold increase in the proportion of babies born with NAS from 2000 to

2012, when an estimated 21,732 infants were born with NAS —equivalent to one baby suffering




23
    Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse,       and    Dependence      in   the   United    States,  2013,   MED CARE          2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
24
 See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).
25
     See Volkow & McLellan, supra note 1.
26
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with tendrils
that are going everywhere.’”).



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from opiate withdrawal born every 25 minutes.27 The cost of treating these infants is significant.

Newborns with NAS were more likely than other babies to also have low birthweight and

respiratory complications. In 2012, newborns with NAS stayed in the hospital an average of 16.9

days (compared to 2.1. days for other newborns).28

            72.    In 2016, the President of the United States declared an opioid and heroin

epidemic.29

            73.    The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.30 Meanwhile, the manufacturers and distributors of

prescription opioids extract billions of dollars of revenue from the addicted American public while

public entities experience tens of millions of dollars of injury caused by the reasonably foreseeable

consequences of the prescription opioid addiction epidemic.

            74.    The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to the national, state, and local opioid epidemic.

            2. The Opioid Epidemic in Illinois.

            75.    Illinois has been especially ravaged by the national opioid crisis.




27
  Dramatic Increases in maternal Opioid Use and Neonatal Abstinence Syndrome, NIH National Institute on Drug
Abuse, available at https://www.drugabuse.gov/related-topics/trends-statistics/infographics/dramatic-increases-in-
maternal-opioid-use-neonatal-abstinence-syndrome (last visited Aug. 8, 2017).https://www.drugabuse.gov/related-
topics/trends-statistics/infographics/dramatic-increases-in-maternal-opioid-use-neonatal-abstinence-syndrome (last
visited Aug. 8, 2017).
28
     Id.
29
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
30
  See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.



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            76.    Illinois has been devastated by the opioid epidemic. In Illinois, more people died

from an opioid drug overdose in 2014 than from homicide or motor vehicle accidents. Opioid drug

overdoses killed 45% more people than homicide. Opioid drug overdoses killed 25% more people

than motor vehicle crashes. And, opioid drug overdoses killed more people than gun-related

causes.31

            77.    In 2016, the opioid epidemic killed, 1,889 Illinois residents, and from 2008 through

20014, the State saw a 274 percent increase in opioid-related overdose deaths.32

            78.    Illinois is one of the States identified by the United States Center for Disease

Control and Prevention (CDC) as having a statistically significant drug overdose death rate

increase from 2014 to 2015, and from 2013 to 2014.33 The percent increase from 2014 to 2015

was 7.6%, and the percent increase from 2013 to 2014 was 8.3%.34

            3. The Opioid Epidemic in The County

            79.    The opioid epidemic is occurring in The County. The CDC has tracked prescription

rates per county in the United States, identifying the geographic “hotspots” for rates of opioid




31
   See Prescription Opioids and Heroin, Illinois Department of Public Health, available at
http://www.dph.illinois.gov/topics-services/prevention-wellness/prescription-opioids-and-heroin
(last visited Aug. 8, 2017).
32
   Travis Morse, Opioid victims speak out, Mt. Vernon Register News, Oct. 13, 2017, available
at http://www.register-news.com/news/opioid-victims-speak-out/article_674c5270-b063-11e7-9b59-
cbeb0ceae992.html (last visited Oct. 25, 2017).

33
 Drug Overdose Death Data, CDC, available at https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited
Aug. 8, 2017).
34
     Id.



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prescriptions.35 The CDC has calculated the geographic distribution at county levels of opioid

prescriptions dispensed per 100 persons,36 revealing that The County has been a consistent hotspot.

        80.      The CDC’s statistics prove that the opioid prescription rates in The County have

exceeded any legitimate medical, scientific, or industrial purpose. The overall opioid prescribing

rate in 2016 was 66.5 prescriptions per 100 people.37 However, in Edwards County Illinois, the

2016 prescription rate was 96.2 per 100 people – a rate nearly one and one half times larger than

the national average.38 The 2015 County prescription rate was also considerably high at 98.1 per

100 people.39

        81.      Unfortunately, the 2015 and 2016 high rates of opioid prescriptions were not an

aberration for this County. Consistently, the opioid prescribing rates in The County have been

significantly greater than the national average. Compared to a national average of 75.6 opioid

prescriptions per 100 people in 2014,40 the Edwards County opioid prescription rate was 99.6 per

100 people in 2014.41

        82.      The opioid epidemic has placed increased budgetary constraints upon inter alia the

public health and medical care expenditures of the State and The County.




35
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 12, 2017).
36
   Id.
37
   Id.
38
          U.S.        County        Prescribing          Rates,      2016,       CDC          available       at
https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited Dec. 12, 2017).
39
          U.S.        County       Prescribing           Rates,     2015,        CDC,         available       at
https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html (last visited Dec. 12, 2017).
40
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 12, 2017).
41
          U.S.        County       Prescribing           Rates,     2014,        CDC,         available       at
https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html (last visited Dec. 12, 2017).

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        83.      Opioid addiction is a primary reason that Illinois citizens seek substance abuse

treatment. Thus, the epidemic has placed increased budgetary costs upon the State and The

County’s services and expenditures.

        84.      Criminal charges associated with the diversion of opioids have increased. This has

placed increased budgetary costs upon the State and The County’s criminal law enforcement

expenses.

        85.      Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and The County.

        86.      Prescription opioid abuse, addiction, morbidity, and mortality are a temporary

public nuisance in the State and The County, which remains unabated.

        87.      Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and The County.

        88.      Heroin abuse, addiction, morbidity, and mortality are a temporary public nuisance

in the State and The County, which remains unabated.

        89.      To eliminate the hazard to public health and safety, and abate the public nuisance,

a “multifaceted, collaborative public health and law enforcement approach is urgently needed.”42

        90.      “A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain.”43



42
  See Rose A. Rudd, MSPH, et al, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–
2015, Morbidity and Mortality Weekly Report (MMWR), Centers for Disease Control and Prevention, 65(50-
51);1445–1452 (December 30, 2016).
43
  See Alexander GC, Frattaroli S, Gielen AC, eds. The Prescription Opioid Epidemic: An Evidence-Based Approach,
Johns Hopkins Bloomberg School of Public Health, Baltimore, Maryland: 2015, available at
http://www.jhsph.edu/research/centers-and-institutes/johns-hopkins-center-for-injury-research-and-
policy/publications-resources/CenterPubs/2015-prescription-opioid-epidemic-report.pdf (last visited Aug. 10, 2017).

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   B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND UNFAIR
      MARKETING OF OPIOIDS.

       91.     The opioid epidemic did not happen by accident.

       92.     Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       93.     Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,

millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

of opioids while overstating the benefits of using them for chronic pain.

       94.     The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid


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formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants’ claims.

           95.      The Manufacturer Defendants have disseminated these common messages to

reverse the popular and medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led by

physicians the Manufacturer Defendants recruited for their support of their marketing messages,

and through unbranded marketing and industry-funded front groups.

           96.      Defendants’ efforts have been wildly successful. Opioids are now the most

prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually

since 2009.44 In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

. . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when

prescribed for legitimate pain.”45 This epidemic has resulted in a flood of prescription opioids

available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.


44
    See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
45
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

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       97.     The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

and damages alleged herein.

       1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their False
          and Deceptive Statements about Opioids.

       98.     The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State, including

in The County. Defendants also deployed seemingly unbiased and independent third parties that

they controlled to spread their false and deceptive statements about the risks and benefits of opioids

for the treatment of chronic pain throughout the State and The County.

       99.     The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages in and around the State, including in The County, as they did

nationwide. Across the pharmaceutical industry, “core message” development is funded and

overseen on a national basis by corporate headquarters. This comprehensive approach ensures that

the Manufacturer Defendants’ messages are accurately and consistently delivered across

marketing channels – including detailing visits, speaker events, and advertising – and in each sales

territory. The Manufacturer Defendants consider this high level of coordination and uniformity

crucial to successfully marketing their drugs.

       100.    The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were




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required to stick to prescribed talking points, sales messages, and slide decks, and supervisors rode

along with them periodically to both check on their performance and compliance.

                           ii. Direct Marketing.

       101.    The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.

       102.    Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying that

the drug would provide long-term pain-relief and functional improvement. Upon information and

belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical

journals. These ads featured chronic pain patients and recommended OxyContin for each. One ad

described a “54-year-old writer with osteoarthritis of the hands” and implied that OxyContin would

help the writer work more effectively.

       103.    Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in their

offices – and small-group speaker programs. The Manufacturer Defendants have not corrected this

misinformation. Instead, each Defendant devoted massive resources to direct sales contacts with

doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants spent in excess

of $168 million on detailing branded opioids to doctors, more than twice what they spent on

detailing in 2000.
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        104.    The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by individual

doctor, which in turn allows them to target, tailor, and monitor the impact of their core messages.

Thus, the Manufacturer Defendants know their detailing to doctors is effective.

        105.    The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to

reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.”46

                             iii. Indirect Marketing.

        106.    The Manufacturer Defendants’ indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded organizations

posing as neutral and credible professional societies and patient advocacy groups (referred to

hereinafter as “Front Groups”).

        107.    The Manufacturer Defendants deceptively marketed opioids in The County through

unbranded advertising – e.g., advertising that promotes opioid use generally but does not name a

specific opioid. This advertising was ostensibly created and disseminated by independent third



46
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to Doug
Boothe,         CEO,          Actavis           Elizabeth         LLC          (Feb.       18,         2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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parties. But by funding, directing, reviewing, editing, and distributing this unbranded advertising,

the Manufacturer Defendants controlled the deceptive messages disseminated by these third parties

and acted in concert with them to falsely and misleadingly promote opioids for the treatment of

chronic pain. Much as Defendants controlled the distribution of their “core messages” via their

own detailers and speaker programs, the Manufacturer Defendants similarly controlled the

distribution of these messages in scientific publications, treatment guidelines, Continuing Medical

Education (“CME”) programs, and medical conferences and seminars. To this end, the

Manufacturer Defendants used third-party public relations firms to help control those messages

when they originated from third-parties.

       108.    The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded advertising

to give the false appearance that the deceptive messages came from an independent and objective

source. Like the tobacco companies, the Manufacturer Defendants used third parties that they

funded, directed, and controlled to carry out and conceal their scheme to deceive doctors and

patients about the risks and benefits of long term opioid use for chronic pain.

       109.    Defendants also identified doctors to serve, for payment, on their speakers’ bureaus

and to attend programs with speakers and meals paid for by Defendants. These speaker programs

provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers give

the false impression that they are providing unbiased and medically accurate presentations when

they are, in fact, presenting a script prepared by Defendants. On information and belief, these



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presentations conveyed misleading information, omitted material information, and failed to correct

Defendants’ prior misrepresentations about the risks and benefits of opioids.

       110.    Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and directing

doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging seemingly

neutral and credible Front Groups. The Manufacturer Defendants then worked together with those

KOLs and Front Groups to taint the sources that doctors and patients relied on for ostensibly

“neutral” guidance, such as treatment guidelines, CME programs, medical conferences and

seminars, and scientific articles. Thus, working individually and collectively, and through these

Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and patients that what

they have long known – that opioids are addictive drugs, unsafe in most circumstances for long-

term use – was untrue, and that the compassionate treatment of pain required opioids.

       111.    In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing of OxyContin in the future. By using indirect marketing strategies, however,

Purdue intentionally circumvented these restrictions.     Such actions include contributing the

creation of misleading publications and prescribing guidelines which lack reliable scientific basis

and promote prescribing practices which have worsened the opioid crisis.

       112.    Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of long-

term opioid use. The Manufacturer Defendants know that doctors rely heavily and less critically

on their peers for guidance, and KOLs provide the false appearance of unbiased and reliable



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support for chronic opioid therapy. For example, the State of New York found in its settlement

with Purdue that the Purdue website “In the Face of Pain” failed to disclose that doctors who

provided testimonials on the site were paid by Purdue and concluded that Purdue’s failure to

disclose these financial connections potentially misled consumers regarding the objectivity of the

testimonials.

       113.     Defendants utilized many KOLs, including many of the same ones.

       114.     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo, Janssen,

and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines

Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and again in

2009. He was also a member of the board of the American Pain Foundation (“APF”), an advocacy

organization almost entirely funded by the Manufacturer Defendants.

       115.     Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain using

an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of



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substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.”47

            116.   Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids

does not exist.”48 Portenoy candidly stated: “Did I teach about pain management, specifically about

opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.”49

            117.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior

Editor of Pain Medicine, the same journal that published Endo special advertising supplements

touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo,

and Purdue. At the same time, Dr. Webster was receiving significant funding from the

Manufacturer Defendants (including nearly $2 million from Cephalon).

            118.   During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.



47
     Good Morning America (ABC television broadcast Aug. 30, 2010).
48
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
49
     Id.

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       119.    Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Endo, Janssen, and Purdue. Unaware of the flawed science and industry bias underlying this

tool, certain states and public entities have incorporated the Opioid Risk Tool into their own

guidelines, indicating, also, their reliance on the Manufacturer Defendants and those under their

influence and control.

       120.    In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements as a way to prevent

“overuse of prescriptions” and “overdose deaths.” This webinar was available to and was intended

to reach doctors in the State and doctors treating residents of The County.50

       121.    Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

While Managing Pain—a book that is still available online—when faced with signs of aberrant




50
   See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).



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behavior, increasing the dose “in most cases . . . should be the clinician’s first response.”51 Upon

information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give

patients more medication.”52

           122.    The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

           123.    These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and by

funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants wanted to distribute.

Despite this, the Front Groups held themselves out as independent and serving the needs of their

members – whether patients suffering from pain or doctors treating those patients.




51
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
52
    John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.

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        124.     Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below, but

there are many others, including the American Pain Society (“APS”), American Geriatrics Society

(“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain Association

(“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”) and

Pain & Policy Studies Group (“PPSG”).53

        125.     The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes – including

death – among returning soldiers. APF also engaged in a significant multimedia campaign –

through radio, television and the internet – to educate patients about their “right” to pain treatment,

namely opioids. All of the programs and materials were available nationally and were intended to

reach citizens of the State and The County.

        126.     In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total


53
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S. Dep’t
of           Health              and          Human            Servs.,          (May          5,            2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

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income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid using its line of

credit.

          127.   APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

called upon to provide “patient representatives” for the Manufacturer Defendants’ promotional

activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

was Purdue’s desire to “strategically align its investments in nonprofit organizations that share

[its] business interests.”

          128.   Plaintiffs are informed, and believes, that on several occasions, representatives of

the Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these activities

and publications, knowing that drug companies would support projects conceived as a result of

these communications.

          129.   The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within days




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of being targeted by Senate investigation, APF’s board voted to dissolve the organization “due to

irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”54

        130.    Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive marketing

of chronic opioid therapy.

        131.    AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top of

other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet with

AAPM executive committee members in small settings. Defendants Endo, Purdue, and Cephalon

were members of the council and presented deceptive programs to doctors who attended this

annual event.

        132.    Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.



54
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.

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AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

        133.     The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

        134.     In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids

for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed that

the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored the AAPM/APS

statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The

consensus statement remained on AAPM’s website until 2011, and, upon information and belief,

was taken down from AAPM’s website only after a doctor complained.55

        135.     AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend the use of opioids to treat chronic pain.56 Treatment guidelines have

been relied upon by doctors, especially the general practitioners and family doctors targeted by the

Manufacturer Defendants. Treatment guidelines not only directly inform doctors’ prescribing

practices, but are cited throughout the scientific literature and referenced by third-party payors in

determining whether they should cover treatments for specific indications. Pharmaceutical sales

representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with

doctors during individual sales visits.

        136.     At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support from


55
 The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement from the American Academy of Pain
Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
56
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).



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Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that the

risk of addiction is manageable for patients regardless of past abuse histories.57 One panel member,

Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

Michigan Headache & Neurological Institute, resigned from the panel because of his concerns that

the 2009 Guidelines were influenced by contributions that drug companies, including

Manufacturer Defendants, made to the sponsoring organizations and committee members. These

AAPM/APS Guidelines have been a particularly effective channel of deception and have

influenced not only treating physicians, but also the body of scientific evidence on opioids; the

Guidelines have been cited hundreds of times in academic literature, were disseminated in the

State and The County during the relevant time period, are still available online, and were reprinted

in the Journal of Pain. The Manufacturer Defendants widely referenced and promoted the 2009

Guidelines without disclosing the lack of evidence to support them or the Manufacturer Defendants

financial support to members of the panel.

            137.   The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as

an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and did




57
     Id.

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not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

       2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the Risks and
          Benefits of Opioids.

         i.    The Manufacturer Defendants embarked upon a campaign of false, deceptive,
               and unfair assurances grossly understating and misstating the dangerous
               addiction risks of the opioid drugs.

       138.    To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1) starting

patients on opioids was low risk because most patients would not become addicted, and because

those at greatest risk for addiction could be identified and managed; (2) patients who displayed

signs of addiction probably were not addicted and, in any event, could easily be weaned from the

drugs; (3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

not only failed to correct these misrepresentations, they continue to make them today.

       139.    Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of long-

term opioid use in the State and The County and each continues to fail to correct its past

misrepresentations.


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        140.    Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include:

            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online.58

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
               claimed in 2009 that “[p]eople who take opioids as prescribed usually do not
               become addicted.” Upon information and belief, another Endo website,
               PainAction.com, stated “Did you know? Most chronic pain patients do not become
               addicted to the opioid medications that are prescribed for them.” Endo also
               distributed an “Informed Consent” document on PainAction.com that misleadingly
               suggested that only people who “have problems with substance abuse and
               addiction” are likely to become addicted to opioid medications.

            d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
               entitled Living with Someone with Chronic Pain, which stated that: “Most health
               care providers who treat people with pain agree that most people do not develop an
               addiction problem.”

            e. Janssen reviewed, edited, approved, and distributed a patient education guide
               entitled Finding Relief: Pain Management for Older Adults (2009), which
               described as “myth” the claim that opioids are addictive, and asserted as fact that
               “[m]any studies show that opioids are rarely addictive when used properly for the
               management of chronic pain.”

            f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
               2015), which claims that concerns about opioid addiction are “overestimated.”

            g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
               Management, which claims that less than 1% of children prescribed opioids will


58
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.



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                     become addicted and that pain is undertreated due to “[m]isconceptions about
                     opioid addiction.”59

                 h. Consistent with the Manufacturer Defendants’ published marketing materials, upon
                    information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in the
                    State and The County minimized or omitted any discussion with doctors of the risk
                    of addiction; misrepresented the potential for abuse of opioids with purportedly
                    abuse-deterrent formulations; and routinely did not correct the misrepresentations
                    noted above.

                 i. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                    opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                    amicus brief to the United States Fourth Circuit Court of Appeals that “patients
                    rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
                    Portenoy.60

            141.     These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .).”61 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”62

            142.     The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting (“ER/LA”)




59
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
60
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
61
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
62
     Id. at 2, 25.



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opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its announcements, the FDA

found that “most opioid drugs have ‘high potential for abuse’” and that opioids “are associated

with a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

overdose, and death.” According to the FDA, because of the “known serious risks” associated with

long-term opioid use, including “risks of addiction, abuse, and misuse, even at recommended

doses, and because of the greater risks of overdose and death,” opioids should be used only “in

patients for whom alternative treatment options” like non-opioid drugs have failed.63

        143.     The State of New York, in a 2016 settlement agreement with Endo, found that

opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

meeting the clinical criteria for an opioid use disorder.”64 Endo had claimed on its www.opana.com

website that “[m]ost healthcare providers who treat patients with pain agree that patients treated

with prolonged opioid medicines usually do not become addicted,” but the State of New York

found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make

statements that . . . opioids generally are non-addictive” or “that most patients who take opioids

do not become addicted” in New York. Endo remains free, however, to make those statements in

this State.




63
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S.
Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A.       Davidson,      Kleinfeld,      Kaplan       and       Becker,      LLP        (Mar.     22,     2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
64
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

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           144.     In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients who

were already in danger.

           145.     To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction.65 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real.66

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because such
                  behaviors can be resolved with effective pain management.”

               c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
                  2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
                  Analgesia,” which, upon information and belief, promoted pseudoaddiction by
                  teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
                  appears to have substantially controlled NIPC by funding NIPC projects;
                  developing, specifying, and reviewing content; and distributing NIPC materials.

               d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                  which, upon information and belief, described pseudoaddiction as a concept that
                  “emerged in the literature” to describe the inaccurate interpretation of [drug-
                  seeking behaviors] in patients who have pain that has not been effectively treated.”



65
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
66
     See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

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            e. Upon information and belief, Purdue sponsored a CME program titled “Path of the
               Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role
               play, a chronic pain patient with a history of drug abuse tells his doctor that he is
               taking twice as many hydrocodone pills as directed. The narrator notes that because
               of pseudoaddiction, the doctor should not assume the patient is addicted even if he
               persistently asks for a specific drug, seems desperate, hoards medicine, or
               “overindulges in unapproved escalating doses.” The doctor treats this patient by
               prescribing a high-dose, long-acting opioid.

        146.   In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already addicted

patients.

        147.   In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer Defendants’

false instructions that addiction risk screening tools, patient contracts, urine drug screens, and

similar strategies allow them to reliably identify and safely prescribe opioids to patients

predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

            a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
               doctor who became a member of Endo’s speakers bureau in 2010. The supplement,
               entitled Pain Management Dilemmas in Primary Care: Use of Opioids, emphasized
               the effectiveness of screening tools, claiming that patients at high risk of addiction
               could safely receive chronic opioid therapy using a “maximally structured
               approach” involving toxicology screens and pill counts.

            b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
               Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
               tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
               “overdose deaths.”


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                  c. As recently as 2015, upon information and belief, Purdue has represented in
                     scientific conferences that “bad apple” patients – and not opioids – are the source
                     of the addiction crisis and that once those “bad apples” are identified, doctors can
                     safely prescribe opioids without causing addiction.

            148.     The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.”67

            149.     A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.68

            150.     The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by tapering

a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s

Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation” without mentioning any hardships that might occur.69



67
     Id. at 11.
68
     Id. at 26.
69
     APF, Policymaker’s Guide, supra note 48, at 32.

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           151.     A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely without

added risk. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for

long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not provide pain

relief. The Manufacturer Defendants’ deceptive claims include:

               a.    Upon information and belief, Actavis’s predecessor created a patient brochure for
                    Kadian in 2007 that stated, “Over time, your body may become tolerant of your
                    current dose. You may require a dose adjustment to get the right amount of pain
                    relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
                    marketing materials along with the rights to Kadian, Actavis appears to have
                    continued to use these materials in 2009 and beyond.

               b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
                  Living with Pain (2007), which claims that some patients “need” a larger dose of
                  an opioid, regardless of the dose currently prescribed. The guide stated that opioids
                  have “no ceiling dose” and insinuated that they are therefore the most appropriate
                  treatment for severe pain.70 This publication is still available online.

               c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
                  claimed in 2009 that opioid dosages may be increased until “you are on the right
                  dose of medication for your pain.”

               d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
                  Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                  format, it asked “If I take the opioid now, will it work later when I really need it?”
                  The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                  relief.”71

               e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                  Management for Older Adults (2009), which was distributed by its sales force. This
                  guide listed dosage limitations as “disadvantages” of other pain medicines but
                  omitted any discussion of risks of increased opioid dosages.




70
     APF, Treatment Options, supra note 47, at 12.
71
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).

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                f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,” and
                   that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages.72

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
                   unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug Dependence,
                   “the oldest and largest organization in the US dedicated to advancing a scientific
                   approach to substance use and addictive disorders,” challenging the correlation
                   between opioid dosage and overdose.73

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids.74

           152.      Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.”75 More

specifically, the CDC explains that “there is now an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages.”76 The CDC also states that there




72
     APF, Policymaker’s Guide, supra note 48, at 32.
73
     The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
74
     Brief of APF, supra note 49, at 9.
75
     2016 CDC Guideline, supra note 50, at 22–23.
76
     Id. at 23–24.



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is an increased risk “for opioid use disorder, respiratory depression, and death at higher dosages.”77

That is why the CDC advises doctors to “avoid increasing dosage” to above 90 morphine milligram

equivalents per day.78

            153.      Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and abuse.

            154.      The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a way

that suggested it was more difficult to abuse. This claim was false. The FDA warned in a 2013

letter that Opana ER Extended-Release Tablets’ “extended-release features can be compromised,

causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation such as cutting,

grinding, or chewing, followed by swallowing.”79 Also troubling, Opana ER can be prepared for

snorting using commonly available methods and “readily prepared for injection.” 80 The letter

discussed “the troubling possibility that a higher (and rising) percentage of [Opana ER Extended-

Release Tablet] abuse is occurring via injection.”81 Endo’s own studies, which it failed to disclose,

showed that Opana ER could still be ground and chewed. In June 2017, the FDA requested that

Opana ER be removed from the market.




77
     Id. at 21.
78
     Id. at 16.
79
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S.
Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10, 2013),
at 5.
80
     Id. at 6.
81
     Id. at 6 n.21.

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              ii.    The Manufacturer Defendants embarked upon a campaign of false, deceptive,
                     and unfair assurances grossly overstating the benefits of the opioid drugs.

            155.     To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to long-

term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term benefit

of opioids in pain and function versus no opioids for chronic pain with outcomes examined at least

1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other

treatments were more or equally beneficial and less harmful than long-term opioid use.82 The FDA,

too, has recognized the lack of evidence to support long-term opioid use. Despite this, Defendants

falsely and misleadingly touted the benefits of long-term opioid use and falsely and misleadingly

suggested that these benefits were supported by scientific evidence.

            156.     Some illustrative examples of the Manufacturer Defendants’ false claims are:

                  a. Upon information and belief, Actavis distributed an advertisement claiming that the
                     use of Kadian to treat chronic pain would allow patients to return to work, relieve
                     “stress on your body and your mental health,” and help patients enjoy their lives.

                  b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
                     pain would allow patients to perform demanding tasks like construction work or
                     work as a chef and portrayed seemingly healthy, unimpaired subjects.

                  c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
                     Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
                     may make it easier for people to live normally.” The guide lists expected functional
                     improvements from opioid use, including sleeping through the night, returning to
                     work, recreation, sex, walking, and climbing stairs.

                  d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
                     display in doctors’ offices, of presumed patients in active professions; the caption
                     read, “Pain doesn’t fit into their schedules.”

                  e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
                     in 2012 in medical journals entitled “Pain vignettes,” which were case studies
                     featuring patients with pain conditions persisting over several months and


82
     Id. at 15.

                                                      51
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                    recommending OxyContin for them. The ads implied that OxyContin improves
                    patients’ function.

               f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
                  Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’
                  function.

               g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
                  Living with Pain (2007), which counseled patients that opioids “give [pain patients]
                  a quality of life we deserve.”83 This publication is still available online.

               h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
                  belief, that with opioids, “your level of function should improve; you may find you
                  are now able to participate in activities of daily living, such as work and hobbies,
                  that you were not able to enjoy when your pain was worse.” Elsewhere, the website
                  touted improved quality of life (as well as “improved function”) as benefits of
                  opioid therapy. The grant request that Endo approved for this project specifically
                  indicated NIPC’s intent to make misleading claims about function, and Endo
                  closely tracked visits to the site.

               i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent
                  Pain in the Older Patient.”84 Upon information and belief, a CME disseminated via
                  webcast claimed that chronic opioid therapy has been “shown to reduce pain and
                  improve depressive symptoms and cognitive functioning.”

               j. Janssen sponsored and funded a multimedia patient education campaign called
                  “Let’s Talk Pain.” One feature of the campaign was to complain that patients were
                  under-treated. In 2009, upon information and belief, a Janssen-sponsored website,
                  part of the “Let’s Talk Pain” campaign, featured an interview edited by Janssen
                  claiming that opioids allowed a patient to “continue to function.”

               k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
                  Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
                  clinical studies” have shown that opioids are effective in improving “[d]aily
                  function,” “[p]sychological health,” and “[o]verall health-related quality of life for
                  chronic pain.”85 The Policymaker’s Guide was originally published in 2011.

               l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
                  and continue to convey the message that opioids will improve patient function.




83
     APF, Treatment Options, supra note 47.
84
         E.g.,    NIPC,       Persistent     Pain       and      the     Older        Patient    (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
85
     APF, Policymaker’s Guide, supra note 48, at 29.

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           157.    As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

           158.    In 2010, the FDA warned Actavis, in response to its advertising of Kadian described

above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment

of life.”86 And in 2008, upon information and belief, the FDA sent a warning letter to an opioid

manufacturer, making it clear “that [the claim that] patients who are treated with the drug

experience an improvement in their overall function, social function, and ability to perform daily

activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”

           159.    The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by the

Manufacturer Defendants contravene pronouncements by and guidance from the FDA and CDC

based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013

and IR opioids in 2016 to state that opioids should only be used as a last resort “in patients for

which alternative treatment options” like non-opioid drugs “are inadequate.” And the 2016 CDC

Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic pain,

particularly arthritis and lower back pain.87 Purdue misleadingly promoted OxyContin as being

unique among opioids in providing 12 continuous hours of pain relief with one dose. In fact,



86
     Letter from Thomas Abrams to Doug Boothe, supra note 32.
87
     2016 CDC Guideline, supra note 50, at 12.

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OxyContin does not last for 12 hours – a fact that Purdue has known at all times relevant to this

action. Upon information and belief, Purdue’s own research shows that OxyContin wears off in

under six hours in one quarter of patients and in under 10 hours in more than half. This is because

OxyContin tablets release approximately 40% of their active medicine immediately, after which

release tapers. This triggers a powerful initial response, but provides little or no pain relief at the

end of the dosing period, when less medicine is released. This phenomenon is known as “end of

dose” failure, and the FDA found in 2008 that a “substantial proportion” of chronic pain patients

taking OxyContin experience it. This not only renders Purdue’s promise of 12 hours of relief false

and deceptive, it also makes OxyContin more dangerous because the declining pain relief patients

experience toward the end of each dosing period drives them to take more OxyContin before the

next dosing period begins, quickly increasing the amount of drug they are taking and spurring

growing dependence.

       160.    Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours. Upon

information and belief, Purdue’s sales representatives continue to tell doctors that OxyContin lasts

a full 12 hours.

       161.    Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

       OxyContin is particularly useful for sustained long-term pain because it comes in
       higher, compact pills with a slow release coating. OxyContin pills can work for 12
       hours. This makes it easier for patients to comply with dosing requirements without
       experiencing a roller-coaster of pain relief followed quickly by pain renewal that

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            can occur with shorter acting medications. It also helps the patient sleep through
            the night, which is often impossible with short-acting medications. For many of
            those serviced by Pain Care Amici, OxyContin has been a miracle medication.88

            162.   Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA expressly

prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to approve

Fentora for the treatment of chronic pain because of the potential harm, including the high risk of

“serious and life-threatening adverse events” and abuse – which are greatest in non-cancer patients.

The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora should only be

used for cancer patients who are opioid-tolerant and should not be used for any other conditions,

such as migraines, post-operative pain, or pain due to injury.89 Specifically, the FDA advised that

Fentora “is only approved for breakthrough cancer pain in patients who are opioid-tolerant,

meaning those patients who take a regular, daily, around-the-clock narcotic pain medication.”90

            163.   Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives to




88
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio Apr.
13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
89
  See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora (fentanyl
buccal                    tablets)                     (Sept.                     26,                       2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
90
     Id.

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give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

       a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
          and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.
          The CME instructed doctors that “[c]linically, broad classification of pain syndromes
          as either cancer- or non-cancer-related has limited utility” and recommended Actiq and
          Fentora for patients with chronic pain.

       b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
          speaker programs for doctors, including many non-oncologists, which promoted Actiq
          and Fentora for the treatment of non-cancer pain.

       c. In December 2011, Cephalon widely disseminated a journal supplement entitled
          “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
          Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to
          Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three
          publications that are sent to thousands of anesthesiologists and other medical
          professionals. The Special Report openly promotes Fentora for “multiple causes of
          pain” – and not just cancer pain.

       164.    Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

       165.    Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as Purdue

is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate the high

rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less addictive

– in order to persuade the FDA to bar the manufacture and sale of generic copies of the drug

because the drug was too likely to be abused. In an interview with the Los Angeles Times, Purdue’s

senior compliance officer acknowledged that in five years of investigating suspicious pharmacies,

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Purdue failed to take action – even where Purdue employees personally witnessed the diversion of

its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing, Purdue

did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin tablets and

that Purdue’s district manager described it internally as “an organized drug ring” until years after

law enforcement shut it down. In doing so, Purdue protected its own profits at the expense of

public health and safety.91

        166.     Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,

diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused them

to be placed on a no-call list.

        3. The Manufacturer Defendants Targeted Susceptible Prescribers and Vulnerable
           Patient Populations.

        167.     As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and The County. For example, the Manufacturer Defendants focused their

deceptive marketing on primary care doctors, who were more likely to treat chronic pain patients

and prescribe them drugs, but were less likely to be educated about treating pain and the risks and

benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

misrepresentations.



91
  Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.

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           168.    The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants targeted

these vulnerable patients even though the risks of long-term opioid use were significantly greater

for them. For example, the 2016 CDC Guideline observes that existing evidence confirms that

elderly patients taking opioids suffer from elevated fall and fracture risks, reduced renal function

and medication clearance, and a smaller window between safe and unsafe dosages. 92 The 2016

CDC Guideline concludes that there must be “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients. Id. at 27. The same is true for veterans, who

are more likely to use anti-anxiety drugs (benzodiazepines) for post-traumatic stress disorder,

which interact dangerously with opioids.

           4. The Manufacturer Defendants made Materially Deceptive Statements and
              Concealed Materials Facts.

           169.     As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course of

manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’ actions

were intentional and/or unlawful. Such statements include, but are not limited to, those set out

below and alleged throughout this Complaint.

           170.     Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

               a. Creating, sponsoring, and assisting in the distribution of patient education materials
                  distributed to consumers that contained deceptive statements;

               b. Creating and disseminating advertisements that contained deceptive statements
                  concerning the ability of opioids to improve function long-term and concerning the

92
     2016 CDC Guideline, supra note 50, at 13.

                                                    58
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        evidence supporting the efficacy of opioids long-term for the treatment of chronic
        non-cancer pain;

     c. Disseminating misleading statements concealing the true risk of addiction and
        promoting the deceptive concept of pseudoaddiction through Purdue’s own
        unbranded publications and on internet sites Purdue operated that were marketed to
        and accessible by consumers;

     d. Distributing brochures to doctors, patients, and law enforcement officials that
        included deceptive statements concerning the indicators of possible opioid abuse;

     e. Sponsoring, directly distributing, and assisting in the distribution of publications
        that promoted the deceptive concept of pseudoaddiction, even for high-risk
        patients;

     f. Endorsing, directly distributing, and assisting in the distribution of publications that
        presented an unbalanced treatment of the long-term and dose-dependent risks of
        opioids versus NSAIDs;

     g. Providing significant financial support to pro-opioid KOL doctors who made
        deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

     h. Providing needed financial support to pro-opioid pain organizations that made
        deceptive statements, including in patient education materials, concerning the use
        of opioids to treat chronic non-cancer pain;

     i. Assisting in the distribution of guidelines that contained deceptive statements
        concerning the use of opioids to treat chronic non-cancer pain and misrepresented
        the risks of opioid addiction;

     j. Endorsing and assisting in the distribution of CMEs containing deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

     k. Developing and disseminating scientific studies that misleadingly concluded
        opioids are safe and effective for the long-term treatment of chronic non-cancer
        pain and that opioids improve quality of life, while concealing contrary data;

     l. Assisting in the dissemination of literature written by pro-opioid KOLs that
        contained deceptive statements concerning the use of opioids to treat chronic
        noncancer pain;

     m. Creating, endorsing, and supporting the distribution of patient and prescriber
        education materials that misrepresented the data regarding the safety and efficacy
        of opioids for the long-term treatment of chronic non-cancer pain, including known
        rates of abuse and addiction and the lack of validation for long-term efficacy;
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             n. Targeting veterans by sponsoring and disseminating patient education marketing
                materials that contained deceptive statements concerning the use of opioids to treat
                chronic non-cancer pain;

             o. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and misrepresented the risks of opioid addiction in this population;

             p. Exclusively disseminating misleading statements in education materials to hospital
                doctors and staff while purportedly educating them on new pain standards;

             q. Making deceptive statements concerning the use of opioids to treat chronic
                noncancer pain to prescribers through in-person detailing; and

             r. Withholding from law enforcement the names of prescribers Purdue believed to be
                facilitating the diversion of its opioid, while simultaneously marketing opioids to
                these doctors by disseminating patient and prescriber education materials and
                advertisements and CMEs they knew would reach these same prescribers.

       171.     Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

       a. Creating, sponsoring, and assisting in the distribution of patient education materials
          that contained deceptive statements;

       b. Creating and disseminating advertisements that contained deceptive statements
          concerning the ability of opioids to improve function long-term and concerning the
          evidence supporting the efficacy of opioids long-term for the treatment of chronic non-
          cancer pain;

       c. Creating and disseminating paid advertisement supplements in academic journals
          promoting chronic opioid therapy as safe and effective for long term use for high risk
          patients;

       d. Creating and disseminating advertisements that falsely and inaccurately conveyed the
          impression that Endo’s opioids would provide a reduction in oral, intranasal, or
          intravenous abuse;

       e. Disseminating misleading statements concealing the true risk of addiction and
          promoting the misleading concept of pseudoaddiction through Endo’s own unbranded
          publications and on internet sites Endo sponsored or operated;


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       f. Endorsing, directly distributing, and assisting in the distribution of publications that
          presented an unbalanced treatment of the long-term and dose-dependent risks of
          opioids versus NSAIDs;

       g. Providing significant financial support to pro-opioid KOLs, who made deceptive
          statements concerning the use of opioids to treat chronic non-cancer pain;

       h. Providing needed financial support to pro-opioid pain organizations – including over
          $5 million to the organization responsible for many of the most egregious
          misrepresentations – that made deceptive statements, including in patient education
          materials, concerning the use of opioids to treat chronic non-cancer pain;

       i. Targeting the elderly by assisting in the distribution of guidelines that contained
          deceptive statements concerning the use of opioids to treat chronic non-cancer pain and
          misrepresented the risks of opioid addiction in this population;

       j. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of opioids to treat chronic non-cancer pain;

       k. Developing and disseminating scientific studies that deceptively concluded opioids are
          safe and effective for the long-term treatment of chronic non-cancer pain and that
          opioids improve quality of life, while concealing contrary data;

       l. Directly distributing and assisting in the dissemination of literature written by pro-
          opioid KOLs that contained deceptive statements concerning the use of opioids to treat
          chronic non-cancer pain, including the concept of pseudoaddiction;

       m. Creating, endorsing, and supporting the distribution of patient and prescriber education
          materials that misrepresented the data regarding the safety and efficacy of opioids for
          the long-term treatment of chronic non-cancer pain, including known rates of abuse
          and addiction and the lack of validation for long-term efficacy; and

       n. Making deceptive statements concerning the use of opioids to treat chronic non-cancer
          pain to prescribers through in-person detailing.

       172.    Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

       a.      Creating, sponsoring, and assisting in the distribution of patient education materials
               that contained deceptive statements;



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 b.     Directly disseminating deceptive statements through internet sites over which
        Janssen exercised final editorial control and approval stating that opioids are safe
        and effective for the long-term treatment of chronic non-cancer pain and that
        opioids improve quality of life, while concealing contrary data;

 c.     Disseminating deceptive statements concealing the true risk of addiction and
        promoting the deceptive concept of pseudoaddiction through internet sites over
        which Janssen exercised final editorial control and approval;

 d.     Promoting opioids for the treatment of conditions for which Janssen knew, due to
        the scientific studies it conducted, that opioids were not efficacious and concealing
        this information;

 e.     Sponsoring, directly distributing, and assisting in the dissemination of patient
        education publications over which Janssen exercised final editorial control and
        approval, which presented an unbalanced treatment of the long-term and dose
        dependent risks of opioids versus NSAIDs;

 f.     Providing significant financial support to pro-opioid KOLs, who made deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

 g.     Providing necessary financial support to pro-opioid pain organizations that made
        deceptive statements, including in patient education materials, concerning the use
        of opioids to treat chronic non-cancer pain;

 h.     Targeting the elderly by assisting in the distribution of guidelines that contained
        deceptive statements concerning the use of opioids to treat chronic non-cancer pain
        and misrepresented the risks of opioid addiction in this population;

 i.     Targeting the elderly by sponsoring, directly distributing, and assisting in the
        dissemination of patient education publications targeting this population that
        contained deceptive statements about the risks of addiction and the adverse effects
        of opioids, and made false statements that opioids are safe and effective for the
        long-term treatment of chronic non-cancer pain and improve quality of life, while
        concealing contrary data;

 j.     Endorsing and assisting in the distribution of CMEs containing deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

 k.     Directly distributing and assisting in the dissemination of literature written by pro-
        opioid KOLs that contained deceptive statements concerning the use of opioids to
        treat chronic non-cancer pain, including the concept of pseudoaddiction;




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       l.      Creating, endorsing, and supporting the distribution of patient and prescriber
               education materials that misrepresented the data regarding the safety and efficacy
               of opioids for the long-term treatment of chronic non-cancer pain, including known
               rates of abuse and addiction and the lack of validation for long-term efficacy;

       m.      Targeting veterans by sponsoring and disseminating patient education marketing
               materials that contained deceptive statements concerning the use of opioids to treat
               chronic non-cancer pain; and

       n.      Making deceptive statements concerning the use of opioids to treat chronic non-
               cancer pain to prescribers through in-person detailing.

       173.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

       a. Creating, sponsoring, and assisting in the distribution of patient education materials
          that contained deceptive statements;

       b. Sponsoring and assisting in the distribution of publications that promoted the deceptive
          concept of pseudoaddiction, even for high-risk patients;

       c. Providing significant financial support to pro-opioid KOL doctors who made deceptive
          statements concerning the use of opioids to treat chronic non-cancer pain and
          breakthrough chronic non-cancer pain;

       d. Developing and disseminating scientific studies that deceptively concluded opioids are
          safe and effective for the long-term treatment of chronic non-cancer pain in conjunction
          with Cephalon’s potent rapid-onset opioids;

       e. Providing needed financial support to pro-opioid pain organizations that made
          deceptive statements, including in patient education materials, concerning the use of
          opioids to treat chronic non-cancer pain;

       f. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of opioids to treat chronic non-cancer pain;

       g. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of Cephalon’s rapid-onset opioids;

       h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of doctors,
          including general practitioners, neurologists, sports medicine specialists, and workers’
          compensation programs, serving chronic pain patients;

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       i. Making deceptive statements concerning the use of Cephalon’s opioids to treat chronic
          non-cancer pain to prescribers through in-person detailing and speakers’ bureau events,
          when such uses are unapproved and unsafe; and

       j. Making deceptive statements concerning the use of opioids to treat chronic non-cancer
          pain to prescribers through in-person detailing and speakers’ bureau events.

       174.    Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

       a. Making deceptive statements concerning the use of opioids to treat chronic non-cancer
          pain to prescribers through in-person detailing;

       b. Creating and disseminating advertisements that contained deceptive statements that
          opioids are safe and effective for the long-term treatment of chronic non-cancer pain
          and that opioids improve quality of life;

       c. Creating and disseminating advertisements that concealed the risk of addiction in the
          long-term treatment of chronic, non-cancer pain; and

       d. Developing and disseminating scientific studies that deceptively concluded opioids are
          safe and effective for the long-term treatment of chronic non-cancer pain and that
          opioids improve quality of life while concealing contrary data.

       5. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       175.    The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and deceptive. The history of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible for a long list of very serious adverse outcomes. The FDA warned Defendants of

this, and Defendants had access to scientific studies, detailed prescription data, and reports of

adverse events, including reports of addiction, hospitalization, and death – all of which clearly

described the harm from long-term opioid use and that patients were suffering from addiction,

overdose, and death in alarming numbers. More recently, the FDA and CDC have issued

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pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

misrepresentations, and Endo and Purdue have recently entered agreements in New York

prohibiting them from making some of the same misrepresentations described in this Complaint.

         176.   At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair, and

fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy and

integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their own

role.

         177.   Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an



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unsuspecting medical community. The Manufacturer Defendants provided the medical community

with false and misleading information about ineffectual strategies to avoid or control opioid

addiction. The Manufacturer Defendants recommended to the medical community that dosages be

increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

over a period of years on a misinformation campaign aimed at highlighting opioids’ alleged

benefits, disguising the risks, and promoting sales. The lack of support for the Manufacturer

Defendants’ deceptive messages was not apparent to medical professionals who relied upon them

in making treatment decisions, nor could it have been detected by the Plaintiffs or The County.

Thus, the Manufacturer Defendants successfully concealed from the medical community, patients,

and health care payors facts sufficient to arouse suspicion of the claims that the Plaintiffs now

assert. Plaintiffs did not know of the existence or scope of the Manufacturer Defendants’ industry-

wide fraud and could not have acquired such knowledge earlier through the exercise of reasonable

diligence.

   C. THE DISTRIBUTOR               DEFENDANTS’          UNLAWFUL         DISTRIBUTION          OF
      OPIOIDS.

       178.    Each Distributor Defendant has an affirmative duty under both federal law (21

U.S.C. § 823, 21 CFR 1301.74) and Illinois law to act as a gatekeeper guarding against the

diversion of the highly addictive, dangerous opioid drugs into the State and The County. Federal

law requires that Distributors of Schedule II drugs, including opioids, must maintain “effective

control against diversion of particular controlled substances into other than legitimate medical,

scientific, and industrial channels.” 21 U.S.C. § 823(b)(1). Illinois’ minimum requirements for

wholesale drug distribution mandate that “[w]holesale drug distributors shall operate in

compliance with applicable federal, state and local laws and regulations.” Ill. Admin. Code Title

68, § 1510.50(i). Wholesale drug distributors licensed in Illinois are also specifically required to


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comply with all applicable DEA regulations. Ill. Admin. Code Title 68, § 1510.50(i)(2). Moreover,

wholesale drug distributors must comply with the regulations promulgated by the Illinois

Department of Financial and Professional Regulation, and comply with the wholesale drug

distributor licensing guidelines adopted in 21 C.F.R. Part 205. 225 ILCS 120/40.

       179.    The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       180.    Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate causes of the widespread diversion

of prescription opioids for nonmedical purposes into the State and The County.

       181.    The unlawful diversion of prescription opioids is a direct and proximate cause of

the opioid epidemic, prescription opioid abuse, addiction, morbidity and mortality in the State and

The County. This diversion and the epidemic are direct causes of harms for which Plaintiffs seek

to recover here.

       182.    The opioid epidemic in Illinois, including inter alia in The County, remains an

immediate hazard to public health and safety.

       183.    The opioid epidemic in the State and The County is a temporary and continuous

public nuisance and remains unabated.

       184.    The Distributor Defendants’ intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

and damages alleged herein.

       1. The Distributor Defendants Have a Duty under Federal and State Law to Guard
          Against, and Report, Unlawful Diversion and to Report and Prevent Suspicious
          Orders.

       185.    Opioids are a Schedule II controlled substance under Illinois law. See 720 ILCS

570/206. Opioids are categorized as “Schedule II” drugs because they have a “high potential for
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abuse” and the potential to cause “severe psychological or physiological dependence.” 720 ILCS

570/205; 21 U.S.C. §§ 812(b), 812(2)(A)-(C).

          186.    Federal regulations impose a non-delegable duty upon wholesale drug distributors

to “design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor] shall inform the Field Division Office of the Administration

in his area of suspicious orders when discovered by the registrant. Suspicious orders include orders

of unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency.” 21 C.F.R. § 1301.74(b).

          187.    In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d

206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Id.

          188.    These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate channels

into the illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control.93

          189.    As wholesale drug distributors, each Defendant was required under Illinois law to

first be licensed by the Department of Financial and Professional Regulation. 225 ILCS 120/25.

To receive and maintain this license, each of the Distributor Defendants assumed a duty to comply




93
     See 1970 U.S.C.C.A.N. 4566, 4571-72.

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with the regulations adopted by the Department of Financial and Professional Regulation and the

wholesale drug distributor guidelines in 21 C.F.R. Part 205. 225 ILCS 120/40.

       190.    Each Defendant was further required to register with the DEA, pursuant to the

federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each of the

Distributor Defendants is a “registrant” as a wholesale distributor in the chain of distribution of

Schedule II controlled substances with a duty to comply with all security requirements imposed

under that statutory scheme. Those requirements are adopted and incorporated into Illinois law.

225 ILCS 120/40; Ill. Admin. Code Title 68, § 1510.50(i).

       191.    Each Distributor Defendant has an affirmative duty under federal and Illinois law

to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

“effective control against diversion of particular controlled substances into other than legitimate

medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1).

       192.    Federal regulations, incorporated by Illinois law (225 ILCS 120/40; Ill. Admin.

Code Title 68, § 1510.50(i)), impose a non-delegable duty upon wholesale drug distributors to

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor] shall inform the Field Division Office of the Administration

in his area of suspicious orders when discovered by the registrant. Suspicious orders include orders

of unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency.” 21 C.F.R. § 1301.74(b).

       193.    “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria are

disjunctive and are not all inclusive. For example, if an order deviates substantially from a normal



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pattern, the size of the order does not matter and the order should be reported as suspicious.

Likewise, a wholesale distributor need not wait for a normal pattern to develop over time before

determining whether a particular order is suspicious. The size of an order alone, regardless of

whether it deviates from a normal pattern, is enough to trigger the wholesale distributor’s

responsibility to report the order as suspicious. The determination of whether an order is suspicious

depends not only on the ordering patterns of the particular customer but also on the patterns of the

entirety of the wholesale distributor’s customer base and the patterns throughout the relevant

segment of the wholesale distributor industry

         194.     Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities.94

         195.     As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes. This




94
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as Amici
Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4,
2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors whose
membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson
Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug. 21, 2017).
The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association that represents
traditional drug stores and supermarkets and mass merchants with pharmacies whose membership includes, among
others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally NACDS, Mission,
https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).



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responsibility is critical, as … the illegal distribution of controlled substances has a substantial and

detrimental effect on the health and general welfare of the American people.”95

             196.    The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.96

             197.    The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

warning that it would use its authority to revoke and suspend registrations when appropriate. The

letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

into other than legitimate medical, scientific, and industrial channels.”97 The letter also instructs

that “distributors must be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes.”98 The DEA warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”99

             198.    The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.100 This letter reminds the Defendants of their statutory and regulatory duties to “maintain



95
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is being sent to
every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to distribute
controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance distributors
in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health, Inc. v. Holder,
No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
96
  See Brief for HDMA and NACDS, supra note 85, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more
than 40 years require distributors to report suspicious orders of controlled substances to DEA based on information
readily available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
97
      Rannazzisi Letter, supra note 83, at 2.
98
      Id. at 1.
99
     Id. at 2.
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
100

U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-
RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.



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effective controls against diversion” and “design and operate a system to disclose to the registrant

suspicious orders of controlled substances.”101 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.
            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels. Reporting
            an order as suspicious will not absolve the registrant of responsibility if the
            registrant knew, or should have known, that the controlled substances were being
            diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an unusual
            frequency. These criteria are disjunctive and are not all inclusive. For example, if
            an order deviates substantially from a normal pattern, the size of the order does not
            matter and the order should be reported as suspicious. Likewise, a registrant need
            not wait for a “normal pattern” to develop over time before determining whether a
            particular order is suspicious. The size of an order alone, whether or not it deviates
            from a normal pattern, is enough to trigger the registrant’s responsibility to report
            the order as suspicious. The determination of whether an order is suspicious
            depends not only on the ordering patterns of the particular customer, but also on
            the patterns of the registrant’s customer base and the patterns throughout the
            segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious may
            be failing to detect suspicious orders. For example, a system that identifies orders
            as suspicious only if the total amount of a controlled substance ordered during one
            month exceeds the amount ordered the previous month by a certain percentage or
            more is insufficient. This system fails to identify orders placed by a pharmacy if
            the pharmacy placed unusually large orders from the beginning of its relationship
            with the distributor. Also, this system would not identify orders as suspicious if the
            order were solely for one highly abused controlled substance if the orders never
            grew substantially. Nevertheless, ordering one highly abused controlled substance
            and little or nothing else deviates from the normal pattern of what pharmacies
            generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating

101
      Id.

                                                     72
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            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.102

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”103

            199.   The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

efforts as responsible members of society.”104

            200.   The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated

to perform due diligence in order to help support the security of the controlled substances they

deliver to their customers.” The guidelines set forth recommended steps in the “due diligence”

process, and note in particular: If an order meets or exceeds a distributor’s threshold, as defined in

the distributor’s monitoring system, or is otherwise characterized by the distributor as an order of


102
      Id.
103
      Id.
104
      See Brief of HDMA, supra note 19, 2012 WL 1637016, at *2.



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interest, the distributor should not ship to the customer, in fulfillment of that order, any units of

the specific drug code product as to which the order met or exceeded a threshold or as to which

the order was otherwise characterized as an order of interest.105

        201.     Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in the State and The County and/or to retailers from

which Defendants knew prescription opioids were likely to be diverted to the State and The

County.

        202.     Each Distributor Defendant owes a duty under federal and state law to maintain

effective controls to prevent diversion in the State and The County, including a duty to monitor,

detect, report, and refuse to fill suspicious orders of prescription opioids originating from the State

and The County and/or orders of prescription opioids which Defendants knew or should have

known were likely to be delivered and/or diverted into the State and The County.

        203.     Each Distributor Defendant owes a duty under federal and state law to detect

suspicious orders of prescription opioids originating from the State and The County and/or orders

of prescription opioids which Defendants knew or should have known were likely to be delivered

and/or diverted into the State and The County.

        204.     Each Distributor Defendant owes a duty under federal and state law to investigate

suspicious orders of prescription opioids originating from the State and The County and/or orders

of prescription opioids which Defendants knew or should have known were likely to be delivered

and/or diverted into the State and The County. See Masters Pharmaceuticals, Inc.; Decision and

Order, 80 FR 55418-01, 55477 (September 15, 2015).



105
  Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting Suspicious
Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No. 12-5061
(D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).

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       205.    Each Distributor Defendant owes a duty under federal and state law to refuse

suspicious orders of prescription opioids originating from the State and The County and/or orders

of prescription opioids which Defendants knew or should have known were likely to be delivered

and/or diverted into the State and The County.

       206.    Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids originating from the State and The County and/or orders

of prescription opioids which Defendants knew or should have known were likely to be delivered

and/or diverted into the State and The County.

       207.    Each Distributor Defendant owes a duty under federal and state law to maintain

effective controls against the diversion of prescription opioids into illicit markets in the State and

The County.

       208.    The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

       209.    The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in the State and The County and

the damages caused thereby.

       2. The Distributor Defendants Breached their Duties.

       210.    Because distributors handle such large volumes of controlled substances, and are

the first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective




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controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses.106

        211.     The sheer volume of prescription opioids distributed to pharmacies in the State and

The County, and/or to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into the State and The County, is excessive for the medical need of the

community and facially suspicious. Some red flags are so obvious that no one who engages in the

legitimate distribution of controlled substances can reasonably claim ignorance of them. 107

        212.     The Distributor Defendants failed to report “suspicious orders” originating from

the State or The County, or which the Distributor Defendants knew were likely to be diverted to

the State or The County, to the federal and state authorities, including the DEA.

        213.     The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in the State

or The County, and/or in areas from which the Distributor Defendants knew opioids were likely

to be diverted to the State or The County.

        214.     The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates originating from the State and The

County, and/or in areas from which the Distributor Defendants knew opioids were likely to be

diverted to the State and The County.




106
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.
107
  Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C., d/b/a
CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).

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       215.    The following Illinois and federal laws: 720 ILCS 570/205; 225 ILCS 120/40; Ill.

Admin. Code Title 68, § 1510.50(i); 21 U.S.C. §§ 812, 823; 21 C.F.R. § 1301.74; 28 C.F.R. §

0.100, and laws and regulations incorporated therein, are public safety laws.

       216.    The Illinois Legislature’s intent in promulgating the Illinois Controlled Substances

Act, Act 570 of Chapter 720, was to effectively:

       (1) limit access of such substances only to those persons who have demonstrated
       an appropriate sense of responsibility and have a lawful and legitimate reason to
       possess them; (2) deter the unlawful and destructive abuse of controlled substances;
       (3) penalize most heavily the illicit traffickers or profiteers of controlled substances,
       who propagate and perpetuate the abuse of such substances with reckless disregard
       for its consumptive consequences upon every element of society; (4) acknowledge
       the functional and consequential differences between the various types of
       controlled substances and provide for correspondingly different degrees of control
       over each of the various types; (5) unify where feasible and codify the efforts of
       this State to conform with the regulatory systems of the Federal government; and
       (6) provide law enforcement authorities with the necessary resources to make this
       system efficacious.

720 ILCS 570/100.

       217.    The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

       218.    The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law. 21 C.F.R. § 1301.74(b) and Illinois laws and regulations incorporating

federal requirements. 225 ILCS 120/40; Ill. Admin. Code Title 68, § 1510.50(i).

       219.    Each Distributor Defendant breached its duty to provide effective controls and

procedures to guard against theft and diversion of controlled substances in violation of Illinois




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regulations and federal law. See, e.g., 68 Ill. Admin. Code 1510.50; 21 U.S.C. § 823; 21 C.F.R. §

1301.74(b).

           220.     The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.108

           221.     The federal and state laws at issue here are public safety laws.

           222.     The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under Illinois law.

           223.     The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

           224.     The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

           225.     The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the suspicious

orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal

indifference to civil obligations affecting the rights of others and justifies an award of punitive

damages.




108
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

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            3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented their
               Compliance with their Legal Duties.

            226.       The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed those

duties in an effort to mislead regulators and the public regarding the Distributor Defendants’

compliance with their legal duties.

            227.       Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run the Distributor

Defendants, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

tragically recalcitrant in performing, they argued as follows:

                    a. The Associations complained that the “DEA has required distributors not only to
                       report suspicious orders, but to investigate orders (e.g., by interrogating pharmacies
                       and physicians) and take action to halt suspicious orders before they are filled.”109

                    b. The Associations argued that, “DEA now appears to have changed its position to
                       require that distributors not only report suspicious orders, but investigate and halt
                       suspicious orders. Such a change in agency position must be accompanied by an
                       acknowledgment of the change and a reasoned explanation for it. In other words,
                       an agency must display awareness that it is changing position and show that there
                       are good reasons for the new policy. This is especially important here, because
                       imposing intrusive obligation on distributors threatens to disrupt patient access to
                       needed prescription medications.”110

                    c. The Associations alleged (inaccurately) that nothing “requires distributors to
                       investigate the legitimacy of orders, or to halt shipment of any orders deemed to be
                       suspicious.”111

                    d. The Association complained that the purported “practical infeasibility of requiring
                       distributors to investigate and halt suspicious orders (as well as report them)


109
      Brief for HDMA and NACDS, supra note 85, 2016 WL 1321983, at *4–5.
110
      Id. at *8 (citations and quotation marks omitted).
111
      Id. at *14.



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                       underscores the importance of ensuring that DEA has complied with the APA
                       before attempting to impose such duties.”112

                    e. The Associations alleged (inaccurately) that “DEA’s regulations [] sensibly
                       impose[] a duty on distributors simply to report suspicious orders, but left it to DEA
                       and its agents to investigate and halt suspicious orders.”113

                    f. Also, inaccurately, the Associations argued that, “[i]mposing a duty on distributors
                       – which lack the patient information and the necessary medical expertise – to
                       investigate and halt orders may force distributors to take a shot-in-the-dark
                       approach to complying with DEA’s demands.”114

            228.       The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.115

            229.       The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court upheld

the revocation of Master Pharmaceutical’s license and determined that DEA regulations require

that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in violation

of legal requirements because it failed to conduct necessary investigations and filled suspicious

orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also




112
      Id. at *22.
113
      Id. at *24–25.
114
      Id. at 26.
115
    See Brief of HDMA, supra note 19, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does
not know the rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).

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rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

had created or imposed new duties. Id. at 220.

             230.   Wholesale Distributor McKesson has recently been forced to specifically admit to

breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an Administrative

Memorandum of Agreement (“2017 Agreement”) entered into between McKesson and the DEA

in January 2017, McKesson admitted that, at various times during the period from January 1, 2009

through the effective date of the Agreement (January 17, 2017) it “did not identify or report to

[the] DEA certain orders placed by certain pharmacies which should have been detected by

McKesson as suspicious based on the guidance contained in the DEA Letters.”116 Further, the

2017 Agreement specifically finds that McKesson “distributed controlled substances to

pharmacies even though those McKesson Distribution Centers should have known that the

pharmacists practicing within those pharmacies had failed to fulfill their corresponding

responsibility to ensure that controlled substances were dispensed pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting in the usual course of their professional

practice, as required by 21 C.F.R § 1306.04(a).”117 McKesson admitted that, during this time

period, it “failed to maintain effective controls against diversion of particular controlled substances

into other than legitimate medical, scientific and industrial channels by sales to certain of its

customers in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300

et seq., at the McKesson Distribution Centers” including the McKesson Distribution Center

located in “Washington Courthouse, Ohio.”118 Due to these violations, McKesson agreed that its


  See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and the
116

McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
117
      Id. at 4.
118
      Id.



                                                     81
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authority to distribute controlled substances from the Washington Courthouse, Ohio facility

(among other facilities) would be partially suspended.119

             231.   The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA.120 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do

so.121 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson’s obligations.”122 As a result of these

violations, McKesson was fined and required to pay to the United States $150,000,000.123

             232.   Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even though

McKesson had specifically agreed in 2008 that it would no longer violate those obligations,

McKesson continued to violate the laws in contrast to its written agreement not to do so.

             233.   Because of the Distributor Defendants’ refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation


119
      Id. at 6.
120
      Id. at 4.
121
      Id.
122
    Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
123
      See 2017 Settlement Agreement and Release, supra note 112, at 6.



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and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012.124 The Office of Administrative Law Judges issued a recommended

decision in a total of 117 registrant actions before the DEA issued its final decision, including 76

actions involving orders to show cause and 41 actions involving immediate suspension orders.125

These actions include the following:

             a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                center (“Orlando Facility”) alleging failure to maintain effective controls against
                diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                into a settlement that resulted in the suspension of its DEA registration;

             b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Auburn, Washington Distribution
                Center (“Auburn Facility”) for failure to maintain effective controls against
                diversion of hydrocodone;

             c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                Center (“Lakeland Facility”) for failure to maintain effective controls against
                diversion of hydrocodone;

             d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Swedesboro, New Jersey
                Distribution Center (“Swedesboro Facility”) for failure to maintain effective
                controls against diversion of hydrocodone;

             e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
                (“Stafford Facility”) for failure to maintain effective controls against diversion of
                hydrocodone;

             f. On May 2, 2008, McKesson Corporation entered into an Administrative
                Memorandum of Agreement (“2008 MOA”) with the DEA which provided that
                McKesson would “maintain a compliance program designed to detect and prevent
                the diversion of controlled substances, inform DEA of suspicious orders required
                by 21 C.F.R. § 1301.74(b), and follow the procedures established by its Controlled
                Substance Monitoring Program”;


  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
124

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
125
      Id.

                                                     83
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            g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
               Agreement and Administrative Memorandum of Agreement with the DEA related
               to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.
               The document also referenced allegations by the DEA that Cardinal failed to
               maintain effective controls against the diversion of controlled substances at its
               distribution facilities located in McDonough, Georgia (“McDonough Facility”),
               Valencia, California (“Valencia Facility”) and Denver, Colorado (“Denver
               Facility”);

            h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Lakeland, Florida Distribution
               Center (“Lakeland Facility”) for failure to maintain effective controls against
               diversion of oxycodone;

            i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
               DEA to resolve the civil penalty portion of the administrative action taken against
               its Lakeland, Florida Distribution Center; and

            j. On January 5, 2017, McKesson Corporation entered into an Administrative
               Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
               civil penalty for violation of the 2008 MOA as well as failure to identify and report
               suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse
               WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen MA, Sante
               Fe Springs CA, Washington Courthouse OH and West Sacramento CA.

        234.     Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

violations of law before a suspension order can be issued.126


126
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA      Enforcement     Slowdown      Amid     Opioid      Crisis,   Wash.     Post,    Mar.     6,      2017,


                                                      84
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        235.     In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        236.     For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and represented that it was being “as effective and efficient as possible

in constantly monitoring, identifying, and eliminating any outside criminal activity.”127 Given the

sales volumes and the company’s history of violations, this executive was either not telling the

truth, or, if Cardinal Health had such a system, it ignored the results.

        237.     Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”128 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        238.     By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to



https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
127
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.
128
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.

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arouse suspicion of the claims that the Plaintiffs now assert. The Plaintiffs did not know of the

existence or scope of Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

       239.    Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in The

County.

       240.    The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

They hold multiple DEA registration numbers and when one facility is suspended, they simply

ship from another facility.

       241.    The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs’ racketeering

allegations below.

       242.    The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

distributing controlled substances in the State and in The County.

   D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO PREVENT
      DIVERSION AND MONITOR, REPORT, AND PREVENT SUSPICIOUS
      ORDERS.

       243.    The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and state law.

       244.    Under Indiana law, the definition of “wholesale distributors” includes

manufacturers. Title 68, § 1510.10. As wholesale drug distributors, each Manufacturer Defendant
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was required under Illinois law to first be licensed by the Department of Financial and Professional

Regulation. 225 ILCS 120/25. To received and maintain this license, each of the Manufacturer

Defendants assumed a duty to comply with the regulations adopted by the Department of Financial

and Professional Regulation and the wholesale drug distributor guidelines in 21 C.F.R. Part 205.

225 ILCS 120/40.

       245.     Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded therefrom
       into other than legitimate medical, scientific, research, or industrial channels, by
       limiting the importation and bulk manufacture of such controlled substances to a
       number of establishments which can produce an adequate and uninterrupted supply
       of these substances under adequately competitive conditions for legitimate medical,
       scientific, research, and industrial purposes . . .

21 USCA § 823(a)(1). Those requirements are adopted and incorporated into Illinois law. 225

ILCS 120/40; Ill. Admin. Code Title 68, § 1510.50(i).

       246.    Additionally, as “registrants” under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).” These federal regulations are incorporated by


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Illinois law (225 ILCS 120/40); Ill. Admin. Code Title 68, § 1510.50(i)). Like the Distributor

Defendants, the Manufacture Defendants breached these duties.

       247.     Each Manufacturer Defendant has an affirmative duty under federal and Illinois

law to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

“effective control against diversion of particular controlled substances into other than legitimate

medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1).

       248.    The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion.           The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

and the pharmacy to which it sold the product. Thus, the Manufacturer Defendants knew – just as

the Distributor Defendants knew – the volume, frequency, and pattern of opioid orders being

placed and filled. The Manufacturer Defendants built receipt of this information into the payment

structure for the opioids provided to the opioid distributors.

       249.     Federal statutes and regulations are clear: just like opioid distributors, opioid

manufacturers are required to “design and operate a system to disclose . . . suspicious orders of

controlled substances” and to maintain “effective controls against diversion.” 21 C.F.R. § 1301.74;

21 USCA § 823(a)(1).




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             250.   The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.129

             251.   In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid epidemic.

These suspicious order monitoring requirements exist to prevent excessive sales of controlled

substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link in the chain

of supply that resulted in millions of oxycodone pills being sold on the street. . . . “Manufacturers

and distributors have a crucial responsibility to ensure that controlled substances do not get into

the wrong hands. . . .”130

             252.   Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report ‘suspicious

orders’ for controlled substances – orders that are unusual in their frequency, size, or other patterns

. . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various U.S.

pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills without

notifying DEA of these suspicious orders.”131




129
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to
Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders
130
      Id.
131
      Id.



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       253.    The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these sales

and report suspicious orders to DEA.”132

       254.    The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

       With respect to its distribution of oxycodone and hydrocodone products,
       Mallinckrodt's alleged failure to distribute these controlled substances in a manner
       authorized by its registration and Mallinckrodt’s alleged failure to operate an
       effective suspicious order monitoring system and to report suspicious orders to the
       DEA when discovered as required by and in violation of 21 C.F.R. § 1301.74(b).
       The above includes, but is not limited to Mallinckrodt's alleged failure to:

                    i. conduct adequate due diligence of its customers;

                   ii. detect and report to the DEA orders of unusual size and frequency;

                  iii. detect and report to the DEA orders deviating substantially from
                       normal patterns including, but not limited to, those identified in
                       letters from the DEA Deputy Assistant Administrator, Office of
                       Diversion Control, to registrants dated September 27, 2006 and
                       December 27, 2007:

                           1. orders that resulted in a disproportionate amount of a
                              substance which is most often abused going to a particular
                              geographic region where there was known diversion,

                           2. orders that purchased a disproportionate amount of a
                              substance which is most often abused compared to other
                              products, and

                           3.   orders from downstream customers to distributors who
                                were purchasing from multiple different distributors, of
                                which Mallinckrodt was aware;

                  iv. use “chargeback” information from its distributors to evaluate
                      suspicious orders. Chargebacks include downstream purchasing

132
    Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).

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                            information tied to certain discounts, providing Mallinckrodt with
                            data on buying patterns for Mallinckrodt products; and

                       v. take sufficient action to prevent recurrence of diversion by
                          downstream customers after receiving concrete information of
                          diversion of Mallinckrodt product by those downstream
                          customers.133

            255.    Mallinckrodt agreed that its “system to monitor and detect suspicious orders did

not meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.”134

            256.    Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to "downstream" registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.”135




133
      2017 Mallinckrodt MOA at p. 2-3.


134
      Id. at 3-4.
135
      Id. at p.5.

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       257.      The same duties imposed by federal and state law on Mallinckrodt were imposed

upon all Distributor Defendants.

       258.      The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Distributor Defendants.

       259.      Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

       260.      The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

of opioids as required by federal and state law.

       261.      The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

       262.      The Manufacturer Defendants have misrepresented their compliance with federal

and state law.

       263.      The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs’ racketeering

allegations below.

       264.      The Manufacturer Defendants’ actions and omissions in failing to effective prevent

diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

diversion of opioids into the State and The County.

       265.      The Manufacturer Defendants breached their duty to “design and operate a system

to disclose to the registrant suspicious orders of controlled substances” and failed to inform the



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authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law. 21 C.F.R. § 1301.74(b) and Illinois laws and regulations incorporating

federal requirements. 225 ILCS 120/40; Ill. Admin. Code Title 68, § 1510.50(i).

       266.    Each Manufacturer Defendant breached its duty to provide effective controls and

procedures to guard against theft and diversion of controlled substances in violation of Illinois

regulations and federal law. See, e.g., 68 Ill. Admin. Code 1510.50; 21 U.S.C. § 823; 21 C.F.R. §

1301.74(b).

       267.    The Manufacturer Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.

       268.    The following Illinois and federal laws: 720 ILCS 570/205; 225 ILCS 120/40; Ill.

Admin. Code Title 68, § 1510.50(i); 21 U.S.C. §§ 812, 823; 21 C.F.R. § 1301.74; 28 C.F.R. §

0.100, and laws and regulations incorporated therein, are public safety laws.

       269.    The Manufacturer Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under Illinois law.

       270.    The unlawful conduct by the Manufacturer Defendants is purposeful and

intentional. The Manufacturer Defendants refuse to abide by the duties imposed by federal and

state law which are required to legally acquire and maintain a license to distribute prescription

opiates.

       271.    The Manufacturer Defendants acted with actual malice in breaching their duties,

i.e., they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.




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            272.      The Manufacturer Defendants’ repeated violation of public safety statutes

demonstrates wanton, willful, or reckless conduct or criminal indifference to civil obligations

affecting the rights of others and justifies an award of punitive damage.

       E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL DUTIES
          CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL DAMAGES.

            273.      As the Manufacturer Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription and sale of their products — and the rates of opioid-related

substance abuse, hospitalization, and death among the people of the State and The County. The

Distributor Defendants have continued to unlawfully ship these massive quantities of opioids into

communities like the State and The County, fueling the epidemic.

            274.      There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”136

            275.      Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.137

            276.      The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.”138

            277.      The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths.139




136
      See Dart at al., supra note 11.
137
      See Volkow & McLellan, supra note 1.
138
      See Califf et al., supra note 3.
139
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., supra note
13.

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         278.   As shown above, the opioid epidemic has escalated in the State and The County

with devastating effects. Substantial opiate-related substance abuse, hospitalization and death that

mirrors Defendants’ increased distribution of opiates.

         279.   Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to the State

and The County and areas from which such opioids are being diverted into the State and The

County, has caused the Defendant-caused opioid epidemic to include heroin addiction, abuse, and

death.

         280.   Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and in The County.

         281.   Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in The County.

         282.   Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of, and/or substantial factors

leading to, the widespread diversion of prescription opioids for nonmedical purposes into the State

and The County.

         283.   The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and The County. This diversion and the epidemic are direct

causes of foreseeable harms incurred by the Plaintiffs.

         284.   Defendants intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiffs seek relief, as alleged herein. Plaintiffs




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also seek the means to abate the epidemic created by Defendants’ wrongful and/or unlawful

conduct.

           285.     Plaintiffs seek economic damages from the Defendants as reimbursement for the

costs association with past efforts to eliminate the hazards to public health and safety.

           286.     Plaintiffs seek economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

           287.     To eliminate the hazard to public health and safety, and abate the public nuisance,

a “multifaceted, collaborative public health and law enforcement approach is urgently needed.”140

           288.     A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain. 141

           289.     These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.”142

           290.     Having profited enormously through the aggressive sale, misleading promotion,

and irresponsible distribution of opiates, Defendants should be required to take responsibility for

the financial burdens their conduct has inflicted upon the Plaintiffs.




140
      See Rudd et al., supra note 20, at 1145.
141
   See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
142
   See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.

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   F. DEFENDANTS’ FRAUDULENT AND DECEPTIVE MARKETING OF OPIOIDS
      DIRECTLY CAUSED HARM TO THE PLAINTIFFS.

       291.    In the first instance, The County was damaged directly, through its payments of

false claims for chronic opioid therapy by its workers’ compensation program.

       292.    The Defendants’ marketing of opioids caused health care providers to prescribe and

The County, through its workers’ compensation program, to pay for prescriptions of opioids to

treat chronic pain. Because of the Defendants’ unbranded marketing, health care providers wrote

and The County paid for prescriptions opioids for chronic pain that were filled not only with their

drugs, but with opioids sold by other manufacturers. All of these prescriptions were caused by

Defendants’ fraudulent marketing and therefore all of them constitute false claims. Because The

County is obligated to cover medically necessary and reasonably required care, it had no choice

but to pay these false and fraudulent claims.

       293.    The fact that The County would pay for these ineligible prescriptions is both the

foreseeable and intended consequence of the Defendants’ fraudulent marketing scheme. The

Defendants set out to change the medical and general consensus supporting chronic opioid therapy

so that doctors would prescribe and government payors, such as The County, would pay for long-

term prescriptions of opioids to treat chronic pain despite the absence of genuine evidence

supporting chronic opioid therapy and the contrary evidence regarding the significant risks and

limited benefits from long-term use of opioids.

       1. Increase in Opioid Prescribing Nationally

       294.    Defendants’ scheme to change the medical consensus regarding opioid therapy for

chronic pain worked. During the year 2000, outpatient retail pharmacies filled 174 million

prescriptions for opioids nationwide. During 2009, they provided 83 million more.




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           295.     Opioid prescriptions increased even as the percentage of patients visiting the doctor

for pain remained constant.

           296.     A study of 7.8 million doctor visits between 2000 and 2010 found that opioid

prescriptions increased from 11.3% to 19.6% of visits, as NSAID and acetaminophen prescriptions

fell from 38% to 29%, driven primarily by the decline in NSAID prescribing.143

           297.     Approximately 20% of the population between the ages of 30 and 44 and nearly

30% of the population over 45 have used opioids. Indeed, “[o]pioids are the most common means

of treatment for chronic pain.”144 From 1980 to 2000, opioid prescriptions for chronic pain visits

doubled. This is the result not of an epidemic of pain, but an epidemic of prescribing. A study of

7.8 million doctor visits found that prescribing for pain increased by 73% between 2000 and 2010

– even though the number of office visits in which patients complained of pain did not change and

prescribing of non-opioid pain medications decreased. For back pain alone – one of the most

common chronic pain conditions – the percentage of patients prescribed opioids increased from

19% to 29% between 1999 and 2010, even as the use of NSAIDs, or acetaminophen declined and

referrals to physical therapy remained steady – and climbing.

           298.     This increase corresponds with, and was caused by, the Defendants’ massive

marketing push. The industry’s spending nationwide on marketing of opioids stood at more than

$20 million per quarter and $91 million annually in 2000. By 2011, that figure hit its peak of more

than $70 million per quarter and $288 million annually, a more than three-fold increase. By 2014,

the figures dropped to roughly $45 million per quarter and $182 million annually, as the




143
  Matthew Daubress et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States, 2000-
2010, 51 (10) med. Care 870 (2013).
144
      Deborah Grady et al., Opioids for Chronic Pain, 171 (16) Arch. Intern. Med. 1426 (2011).

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Defendants confronted increased concern regarding opioid addiction, abuse, and diversion. Even

so, the Defendants still spend double what they spent in 2000 on opioid marketing.

       299.    By far the largest component of this spending was opioid drug makers’ detailing

visits to individual doctors, with total detailing expenditures more than doubling between 2000

and 2014 and now standing at $168 million annually.

       2. The County’s Increased Spending on Opioids through Self-Insured Worker’s
          Compensation Program

       300.    Commensurate with the Defendants’ heavy promotion of opioids and the resultant

massive upswing in prescribing of opioids nationally, The County has seen its own spending on

opioids – through claims paid by its worker’s compensation program – increase dramatically.

       301.    The County provides workers’ compensation, including prescription drug benefits,

to eligible employees injured in the course of their employment. When an employee is injured on

the job, he or she may file a claim for workers’ compensation, if the injury is deemed work-related,

The County is responsible for paying its share of the employee’s medical costs and lost wages.

       302.    Upon information and belief, The County’s medical management vendor uses a

pharmacy and drug utilization management program to manage prescriptions for The County’s

workers’ compensation program.

       303.    The County’s workers’ compensation program covers all costs associated with

opioids, including treatment related to any adverse outcomes from chronic opioid therapy, such as

addiction treatment.

       304.    The Defendants cause doctors and pharmacies to submit, and The County to pay

claims to its workers’ compensation program that were false by: (a) causing doctors to write

prescriptions for chronic opioid therapy based on deceptive representations regarding the risks,

benefits, and superiority of those drugs; (b) causing doctors to certify that these prescriptions and


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associated services were medically necessary; (c) causing claims to be submitted for drugs that

were promoted for off-label uses and misbranded, and therefore not FDA-approved; and (d)

distorting the standard of care for treatment of chronic pain so that doctors would feel not only

that it was appropriate, but required, that they prescribe and continue prescriptions for opioids

long-term to treat chronic pain. Each – or any- of these factors made claims to The County for

chronic opioid therapy false.

       305.    The Illinois Workers’ Compensation Act requires employers to pay for “all the

necessary first aid, medical and surgical services, and all necessary medical, surgical and hospital

services thereafter incurred, limited, however, to that which is reasonably required to cure or

relieve from the effects of the accidental injury.” 820 ILCS 305/8(a).

       306.    In prescribing opioids for chronic pain, doctors certify that the treatment is

medically necessary and reasonably required, and the workers’ compensation program authorizes

payment from The County funds.

       307.    The County’s workers’ compensation program is obligated to cover all “medically

necessary” and “reasonably required” treatment arising from a compensable work-related injury.

       308.    As described above, however, the use of opioids to treat chronic pain is not

medically necessary or reasonably required in that their risks do not materially exceed their

benefits; they do not improve physiological function; and their use is not consistent with guidelines

that are scientifically based (as opposed to marketing driven).

       309.    Nevertheless, the amount of such prescriptions paid by worker’s compensation

programs is monumental. A study of the National Council on Compensation Insurance (“NCCI”)

concluded that, in 2011, approximately 38% of pharmacy costs in workers’ compensation are for

opioids and opioid combinations, amounting to approximately $1.4 billion.



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       310.    Upon information and belief, those trends are reflected in The County’s experience

with paying for opioids through its worker’s compensation plan.

       311.    The County incurred costs associated with the prescribing opioids, such as doctors’

visits or toxicology screens, or the costs of treating the adverse effects of prescribing opioids long-

term such as overdose and addiction.

       312.    However, the costs of long-term opioid use are not limited to costs of opioid

prescriptions. Long-term opioid use is accompanied by a host of consequential costs, including

costs related to abuse, addiction, and death.

       313.    These claims – and their attendant and consequential costs – for opioids prescribed

for chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment

and the result of the Defendant’s fraudulent scheme.

       314.    Upon information and belief, a review of The County’s costs related to opioid

prescriptions, and the costs associated with those prescriptions, will show that as the Defendants

spent more to promote their drugs, doctors began prescribing them more often and as a result, the

costs to The County went up.

       315.    This trend is reflected by an expert analysis performed for the City of Chicago for

their complaint using data on Defendants’ promotional spending. That analysis showed that

spending had a direct impact on opioid use (and its consequences in abuse, addiction, and

overdose) in Chicago. Upon information and belief, that same trend occurred throughout Illinois,

including The County.

       316.    It is also distressing (and a sign of further problems ahead) that the drop in opioid

prescribing beginning in 2014 has been accompanied by a corresponding increase in the




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Defendants’ promotional spending, which is headed towards a new high, despite evidence of the

grave toll that opioids are taking on law enforcement, public health, and individual lives.

       317.      The Plaintiffs assert that each Defendant made misrepresentations or

misrepresentation by omission of material facts by their employees, agents, or co-conspirators to

prescribing physicians who then wrote opioid prescriptions for which the Plaintiffs paid.

Furthermore, the Plaintiffs assert that specific details about the names of the employees, agents, or

co-conspirators, the substance of the misrepresentations or omissions, the time and date and

location of said misrepresentations or omissions, and the names of the prescribing physicians who

were exposed to each Defendants’ misrepresentations or omissions were closely tracked by the

Defendants, are in the exclusive possession of the Defendants and Plaintiffs reasonably believe

that such information will be disclosed in discovery.

       3. City of Chicago Investigation

       318.      The City of Chicago complaint shows, the connection between Defendants’

marketing and opioid prescribing. The connection is confirmed both by documents provided by

Defendants, which begin to describe their efforts to train, target, market to, and track Chicago

prescribers, and by the City’s interviews with many of these doctors.

       319.      As described above, the Defendants’ marketing in Chicago, and throughout Illinois

and The County, took varied forms. The Defendants heavily relied on speakers bureau programs,

in which physicians received very prescriptive training – including slide decks and scripts to which

they were expected to adhere – and then were paid to speak to other physicians at Defendant-

funded events.

       320.      Those speakers identified by the City of Chicago responded to the Defendants’

marketing by prescribing opioids, comprising 7,480 prescriptions, representing $1.36 million,

written by these physicians and paid for by the City of Chicago’s health plans in the period June
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1, 2005 – June 28, 2015, which was roughly 10% of the City of Chicago health plans’ total opioid

spending.145

         321.    But the true value of these speakers was a force multiplier, generating prescriptions

by passing on the Defendants’ biased messages supporting opioid treatment for chronic pain, with

the misrepresentations contained in their scripts, to the speakers’ peers.

         322.    The Defendants also targeted Illinois prescribers and potential prescribers for visits

by the companies’ sales representatives. As described in greater detail herein, the Defendants

carefully tracked the prescribing behavior of prescribers, targeting them by specialty, prescribing

volume, and other criteria. Upon information and belief, these physicians, many of whom were

visited numerous times, responded to the marketing pitches by prescribing the Defendants’

opioids.

         323.    Also, the City of Chicago interviewed numerous Chicago doctors who prescribed

opioids for chronic pain to Chicago consumers and employees, and these interviews confirmed the

influence of the Defendants’ deceptive marketing in this State. These doctors relied on treatment

guidelines or scientific articles, attended CMEs, were visited by drug representatives and were

trained by doctors who provided the Defendants’ deceptive messages. These doctors explained

that: (a) many of their chronic pain patients became addicted to opioids; (b) they frequently had to

prescribe opioids for months – or longer – solely to taper addicted chronic pain patients from the

drugs; (c) few of their patients were advised or aware of the risks of addiction from long-term use

of opioids; and (d) based on their own experience, they now regard opioids as inappropriate for

chronic pain, largely because of the incidence of addiction, the lack of efficacy of opioids over




145
   These speakers’ bureau members where three times more likely to prescribe branded drugs, which were the subject
of the Pharma Defendants’ speaking programs, than the other prescribers in the City of Chicago health plans’ data.

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time and without escalating doses, and other adverse effects, like hyperalgesia. The City of

Chicago, as part of interviews conducted with prescribers, found that the Defendants’ deceptive

marketing had a profound effect on prescribers, which, upon information and belief, also affected

prescribers in the State and The County.

       324.    According to the City of Chicago, Chicago Prescriber B, an anesthesiologist, has

used many of the major brands and types of opioids, including those marketed by Actavis, Endo,

Janssen, and Purdue. As noted herein greater detail, Prescriber B reported that he talked with

opioids manufacturers’ sales representatives on a regular basis and that he has met with detailers

from Actavis, Endo, Janssen, and Purdue.

       325.    Prescriber B also has attended, and continues to attend, drug company-sponsored

CMEs on the use of opioids. He knows that the programs may be biased, but he relies on the

information because he has not time to research the issue on his own. Prescriber B indicated that

he was most likely to trust information presented in CMEs by other physicians, even where he

knew those CMEs were sponsored by drug companies.

       326.    Prescriber B has reigned in his opioid prescribing in recent years because of the

problems he has seen related to abuse and addiction. Knowing what he knows now, he would have

prescribed fewer opioids in the past. He feels he did not previously have complete information

about the risks and benefits of opioids.

       327.    According to the City of Chicago investigation, Chicago Prescriber D is a family

care physician in Melrose Park, Illinois. He has met with sales representatives from Actavis, Endo,

and Purdue. Representatives from all of these companies said that their products were “steady

state” drugs without peaks and troughs, which he interpreted to mean that the drugs were less likely




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to be addictive. The sales representatives did not typically bring up addiction other than to

represent that there is a lower addiction risk with long-acting opioids.

       328.    Prescriber D indicated he has relied on sales representatives and the information

they provide. In the past, his understanding was that long-acting opioids were less addictive. He

did not comprehend how addictive opioids could be, but he came to that knowledge over time as

he experienced it in his practice. He believes sales representatives should be more up front about

opioid addiction.

       329.    Furthermore, the City of Chicago found Prescriber RR specializes in internal

medicine at the University of Illinois Hospital and Health Sciences System (located in Chicago)

and regularly treats pain patients. He explained that most of the patients for whom he prescribed

opioids complained of chronic pain in their lower back, or less frequently, osteoarthritis. He noted

that many patients seeking treatment for pain were already prescribed opioids by another doctor,

typically their primary care physician. He noted, further, that many of the patients he followed had

taken opioids for more than a year.

       330.    Though Prescriber RR observed that most patients eventually begin to self-escalate

their does, and then seek early refills – a sign of addiction – he explained that he learned through

medical school and in his early residency that opioids were safer than NSAIDs and more effective.

Prescriber RR described this view as engrained in the curriculum.

       331.    Based on his own clinical experience and research, Prescriber RR does not now

believe that opioids are medically appropriate for chronic pain as a first-line treatment, but

reluctantly prescribes opioids to patients to try to taper them off the drugs. Prescriber RR described

opioids as almost always requiring escalating doses. He further noted that it is very hard to end




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opioid therapy. Even successful weaning takes six months to a year, depending on how long the

patient was on the drugs.

       332.    Prescriber RR noted further that one of the dangers of opioids, beyond the risk of

addiction, is that they distract from other, more successful treatments, such as physical therapy

weight loss, or treatment for mental health issues.

       333.    The City of Chicago also found that, Chicago Prescriber SS, a physician who has

worked with veterans seeking treatment for pain, indicated that he unfortunately prescribes opioids

for chronic pain. He explained, based on his clinical experience and observations, that opioids are

taken for much longer than is safe or necessary. Prescriber SS based his opinion on the fact that

patients – even if they had no intention to abuse the drug – often become so tolerant and dependent

that it is difficult to stop using the drugs. Prescriber SS has prescribed opioids that he would not

have prescribed but for the fact that patients became addicted through chronic opioid therapy and

thus need to be tapered off the drug.

       334.    As a result of the Defendants’ conduct, Prescriber SS previously learned that

opioids are the most appropriate treatment for chronic pain. He also observed other providers using

opioids for chronic pain and found support for their opioid use in medical literature that he had

read. He also specifically pointed to the AAPM/APS Guidelines as one source of his support for

his opinions about opioids. These guidelines, Prescriber SS explained, made him more willing to

prescribe opioids for chronic pain; as he explained, doctors want to know what others are doing

and that there is a science behind the practice. He also noted, generally, that professional

organizations promoted opioids to treat chronic pain.

       335.    More recently, the prevalence of opioid abuse and addiction changed Prescriber

SS’s views on the use of opioids. He explained that the institution at which he works has similarly



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experienced a change in practice as to the proper way to treat chronic pain. He also observed

doctors often feel their hands are tied because their patients come to them already on opioids for

chronic pain.

       336.     The influence of the Defendants’ deceptive marketing in Chicago and throughout

Illinois extends far beyond the physicians who were detailed by Defendants’ sales representatives

or attended their talks or CMEs, however. The Defendants’ campaign to change the medical and

public perception of opioids resulted in health care providers writing opioid prescriptions to treat

chronic pain even though they were never direct targets of the Defendants’ deceptive marketing.

They prescribed these drugs because it was the new normal – their patients demanded them, and

their colleagues prescribed them, and the medical profession more generally had adopted the

Defendants’ message that the appropriate treatment of pain required such drugs. Even some who

were more circumspect about prescribing opioids for chronic pain ended up doing so because they

had patients who were addicted or they wished to avoid conflict with patients who request them.

       337.     As evidence of how this process worked, the City of Chicago interviewed

physicians who had not been detailed by the Defendants’ representatives. Upon information and

belief, similar patterns are present throughout Illinois and The County.

       338.     The City of Chicago interviewed Chicago Prescriber JJ, a family practice physician,

does not recall being exposed to opioid marketing but does prescribe the drugs. In the past, she

prescribed opioids primarily to treat acute pain. More and more, however, she uses opioids –

generally hydrocodone with Tylenol, and also OxyContin – for the treatment of chronic pain

associated with non-terminal illnesses. Recently, she has been uncomfortable with the amount of

opioid prescriptions she writes. Prescriber JJ has become aware of heightened concerns about




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opioid addiction and the risk of overdose. She believes there is an epidemic of pain medication,

and is worried she may be contributing to this epidemic.

        339.    Similarly, the City of Chicago discovered that Chicago Prescriber KK, who

practices internal and geriatric medicine, “unfortunately” prescribes opioids. He has not attended

a pain CME, unless it was part of a larger internal medicine or primary care presentation, and sales

representatives are no permitted in his building. However, he has patients who became addicted to

opioids, and he does prescribe opioids to this population. He has patients who have been on

OxyContin for more than a year and are “going nowhere but up”; some of his patients take opioids

“like candy.” He believes doctors in general, responding to a message that patients should

experience no pain, have gone overboard in using opioids.

        340.    Finally, the City of Chicago has discovered that Chicago Prescriber L, an internist,

who does not attend drug company CMEs and does not receive any sales representatives at his

office. Nevertheless, his practice has been “inundated” with patients who started elsewhere on

prescription opioids to treat chronic pain and are now addicted. Patients “just come in asking for

opioids.” He has seen in his health center that it is very difficult to break these patients’ habits, an

effort that is the source of arguments between patients and physicians. Two years ago, he instituted

a “chronic pain contract” requiring patients to do more than take opioids if they wanted refills,

including, for example, doing physical therapy, losing weight, or tapering off the drugs over time.

    G. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
       ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS AS DEFENSES.

        1. Continuing Conduct.

        341.    Plaintiffs contends they continue to suffer harm from the unlawful actions by the

Defendants.




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            342.     The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated.

            2. Equitable Estoppel.

            343.     To the extent any statutes of limitations defenses may even be raised against the

Plaintiffs’ claims for actions involving public rights, Defendants are equitably estopped from

relying upon a statute of limitations defense because they undertook efforts to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the State, the Plaintiffs, and

The County, that they were undertaking efforts to comply with their obligations under the state

and federal controlled substances laws, all with the goal of protecting their registered manufacturer

or distributor status in the State and to continue generating profits. Notwithstanding the allegations

set forth above, the Defendants affirmatively assured the public, including the State, the Plaintiffs,

and The County, that they are working to curb the opioid epidemic.

            344.     For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”146

            345.     Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate about

curbing the opioid epidemic in our country.”147


146
      Bernstein et al., supra note 117.
147
      Higham et al., supra note 118.



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           346.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and NACDS,

filed an amicus brief in Masters Pharmaceuticals, which made the following statements:148

               a. “HDMA and NACDS members not only have statutory and regulatory
                  responsibilities to guard against diversion of controlled prescription drugs, but
                  undertake such efforts as responsible members of society.”

               b. “DEA regulations that have been in place for more than 40 years require distributors
                  to report suspicious orders of controlled substances to DEA based on information
                  readily available to them (e.g., a pharmacy’s placement of unusually frequent or
                  large orders).”

               c. “Distributors take seriously their duty to report suspicious orders, utilizing both
                  computer algorithms and human review to detect suspicious orders based on the
                  generalized information that is available to them in the ordering process.”

               d. “A particular order or series of orders can raise red flags because of its unusual size,
                  frequency, or departure from typical patterns with a given pharmacy.”

               e. “Distributors also monitor for and report abnormal behavior by pharmacies placing
                  orders, such as refusing to provide business contact information or insisting on
                  paying in cash.”

Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

           347.    The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

           348.    The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer



148
      Brief for HDMA and NACDS, supra note 85, 2016 WL 1321983, at *3-4, *25.

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Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

Manufacturer Defendants provided the medical community with false and misleading information

about ineffectual strategies to avoid or control opioid addiction. Manufacturer Defendants

recommended to the medical community that dosages be increased, without disclosing the risks.

Manufacturer Defendants spent millions of dollars over a period of years on a misinformation

campaign aimed at highlighting opioids’ alleged benefits, disguising the risks, and promoting

sales. The medical community, consumers, the State, and The County were duped by the

Manufacturer Defendants’ campaign to misrepresent and conceal the truth about the opioid drugs

that they were aggressively pushing in the State and in The County.

       349.    The Plaintiffs, the People of the State, the People of The County, and The County,

reasonably relied on Defendants’ affirmative statements regarding their purported compliance with

their obligations under the law and consent orders.

       3. Fraudulent Concealment.

       350.    The Plaintiffs’ claims are further subject to equitable tolling, stemming from

Defendants’ knowingly and fraudulently concealing the facts alleged herein. As alleged herein,

Defendants knew of the wrongful acts set forth above, and had material information pertinent to

their discovery, and concealed them from the Plaintiffs. The Plaintiffs did not know, or could not

have known through the exercise of reasonable diligence, of its cause of action, as a result of

Defendants’ conduct.

       351.    The purposes of the statutes of limitations period are satisfied because Defendants

cannot claim prejudice due to a late filing where the Plaintiffs filed suit promptly upon discovering

the facts essential to its claims, described herein, which Defendants knowingly concealed.




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            352.   In light of their statements to the media, in legal filings, and settlements, it is clear

that Defendants had actual or constructive knowledge that their conduct was deceptive, in that they

consciously concealed the schemes set forth herein

            353.   Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their conduct.

As a result of the above, the Plaintiffs are unable to obtain vital information bearing on their claims

absent any fault or lack of diligence on its part.

            4. Distributor Defendants’ Conduct is Exposed.

            354.   On December 17, 2016, the Charleston Gazette-Mail published a groundbreaking,

Pulitzer Prize-Winning story.149

            355.   The journalist had been seeking drug shipping sales data since August 8, 2016,

when the Charleston Gazette-Mail Newspaper sought access to certain limited ARCOS data.

However, “[t]he wholesalers and their lawyers fought to keep the sales numbers secret in previous

court actions brought by the newspaper.”150 But, finally, “[t]he Gazette-Mail obtained previously

confidential drug shipping sales records, . . . [which] disclose the number of pills sold to every

pharmacy in the state.”151




149
   Eric Eyre of Charleston Gazette-Mail, Charleston, WV, The 2017 Pulitzer Prize Winner in Investigative Reporting,
available at http://www.pulitzer.org/winners/eric-eyre (last visited July 3, 2017).
150
   Eric Eyre, Drug firms poured 780M painkillers into WV amid rise of overdoses, Charleston Gazette-Mail,
December 17, 2016, available at http://www.wvgazettemail.com/news-health/20161217/drug-firms-poured-780m-
painkillers-into-wv-amid-rise-of-overdoses (last visited July 3, 2017).
151
      Id.



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            356.   With the data in its possession, on December 17, 2016, the Gazette-Mail published

its shocking analysis of the data.152 The Gazette-Mail made the following statements, based on the

limited West Virginia ARCOS data in its possession about the Defendants conduct in West

Virginia:

               a. “In six years, drug wholesalers showered the state with 780 million hydrocodone
                  and oxycodone pills, while 1,728 West Virginians fatally overdosed on those two
                  painkillers.”153

               b. “While the death toll climbed, drug wholesalers continued to ship massive
                  quantities of pain pills.”154

               c. The quantity of opioids delivered during this period “amount to 433 pain pills for
                  every man, woman and child in West Virginia.”155

               d. “The nation’s three largest prescription drug wholesalers — McKesson Corp.,
                  Cardinal Health and AmerisourceBergen Drug Co. — supplied more than half of
                  all pain pills statewide.” 156

               e. “For more than a decade, the same distributors disregarded rules to report
                  suspicious orders for controlled substances in West Virginia to the state Board of
                  Pharmacy, the Gazette-Mail found.” 157

               f. “Year after year, the drug companies also shipped pain pills in increasing stronger
                  formulations, DEA data shows.” 158

            357.   Given the Distributor Defendants’ efforts to mislead the public and conceal its

unlawful conduct, as alleged above, Plaintiffs did not have any reason to know of the Distributor

Defendants’ unlawful conduct or their role in creating the opioid nuisance.




152
      Id.
153
      Id.
154
      Id.
155
      Id.
156
      Id.
157
      Id.
158
      Id.

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          358.   Plaintiffs were relieved of any duty to investigate because they reasonably and

justifiably relied on Defendants to fulfill their reporting requirements and comply with the law.

Plaintiffs did not discover and could not have discovered, despite all due diligence, the schemes

alleged herein. The conduct revealed by the Gazette-Mail concerned only West Virginia counties

(with regard to the Charleston Gazette-Mail publication) or a single distributor (with regard to the

DOJ fine against McKesson).

                               V.     LEGAL CAUSES OF ACTION

                 COUNT I – PUBLIC NUISANCE ILLINOIS COMMON LAW
                                (Against all Defendants)

          359.   Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

          360.   This Count for common law public nuisance is brought by Plaintiffs.

          361.   Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

the proximate cause of Plaintiffs’ injury.

          362.   By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, each Defendant has injuriously affected rights common to the general public,

specifically including the rights of the State and The County to public health, public safety, public

peace, public comfort, and public convenience. The public nuisance caused by Defendants’

diversion of dangerous drugs has caused substantial annoyance, inconvenience, and injury to the

public.

          363.   By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals of the State and The County.


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       364.    By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected the safety, health and morals

of the State and The County.

       365.    The residents of the State and The County have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property. Specifically, widespread distribution of prescription opioids for illicit purposes

jeopardizes these common rights, and the illegal widespread distribution of prescription opioids

would not be possible but for the unlawful and intentional acts, or failures to act, by Defendants.

       366.    Defendants intentionally, unlawfully, and recklessly distribute and sell prescription

opioids that Defendants know, or reasonably should know, will be diverted, causing widespread

distribution of prescription opioids in and/or to the State and The County illegally, resulting in

addiction and abuse, an elevated level of crime, death and injuries to the State and The County

residents, a higher level of fear, discomfort and inconvenience to the residents of the State and

The County, and direct costs to the State and The County.

       367.    Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the State and The County and its residents.

       368.    Defendants intentionally, unlawfully, and recklessly manufacture, market,

distribute, and sell opioids that Defendants know, or reasonably should know, will be diverted,

causing widespread distribution of prescription opioids in and/or to the State and The County,

resulting in addiction and abuse, an elevate level of crime, death and injuries to the residents of

the State and The County, a higher level of fear, discomfort, and inconvenience to the residents of

the State and The County, and direct costs to the State and The County.



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       369.    Defendants unlawfully and/or intentionally manufacture, market, distribute, and

sell opioids without maintaining effective controls against diversion. Such conduct was illegal.

Defendants violated the federal and Illinois Controlled Substances Acts. Defendants’ failures to

maintain effective controls against diversion include Defendants’ failures to effectively monitor

for suspicious orders, report suspicious orders, and/or stop shipment of suspicious orders.

       370.    Defendants have caused a substantial and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension of danger to person or property. Moreover, when an enterprise is

regulated by state or federal law, as is the case here, the substantial and unreasonable interference

element of a public nuisance claim can be met by a showing that Defendants violated applicable

statutes or regulations or that Defendants were otherwise negligent in carrying out the enterprise.

Gilmore v. Stanmar, Inc., 633 N.E.2d 985, 993 (Ill. 1994). Here, Defendants are not in compliance

with applicable law or are otherwise negligent in carrying out their respective enterprises.

       371.    Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally in the State and The

County is of a continuing nature and has produced a significant effect upon the public’s rights,

including the public’s right to health and safety.

       372.    Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

       373.    A violation of any rule or law controlling the distribution of a drug of abuse in the

State and The County and the State of Illinois is a public nuisance.




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       374.    Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

       375.    Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that the Defendants allow and/or cause to be illegally distributed and possessed in the State

and The County will be diverted, leading to abuse, addiction, crime, and public health costs.

       376.    As a result of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance to person and property.

       377.    Defendants know, and/or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       378.    Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       379.    Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the State and The County. Defendants

are in the business of distributing prescription drugs, including opioids, which are specifically

known to Defendants to be dangerous according to federal and Illinois law. See, e.g., 21 U.S.C.A.

§ 812 (b)(2); 720 ILCS 570/205.

       380.    Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the Defendants know, or reasonably should know, will likely be diverted for non-legitimate,

non-medical use, creates a strong likelihood that these illegal distributions of opioids will cause

death and injuries to the residents of the State and The County and otherwise significantly and



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unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       381.    It is, or should be, reasonably foreseeable to Defendants that their conduct will

cause deaths and injuries to residents in the State and The County, and will otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to be

free from disturbance and reasonable apprehension of danger to person and property.

       382.    The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in the State and The County not only

causes deaths and injuries, but also creates a palpable climate of fear among the residents of the

State and The County where opioid diversion, abuse, and addiction are prevalent and where they

tend to be used frequently.

       383.    Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       384.    Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ unique

position within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

       385.    The presence of diverted prescription opioids in the State and The County, and the

consequence of prescription opioids having been diverted in the State and The County,

proximately results in significant costs to the Plaintiffs and to the State and The County in order

to enforce the law, equip its police force, respond to emergencies, and treat the victims of opioid

abuse and addiction.



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       386.    Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make the State and The County a safer place to live.

       387.    Defendants’ conduct is a direct and proximate cause of deaths and injuries to the

residents of the State and The County, costs borne by the State and The County, and a significant

and unreasonable interference with public health, safety and welfare, and with the public’s right

to be free from disturbance and reasonable apprehension of danger to person and property.

       388.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

to threaten the health, safety and welfare of the State and The County residents, creating an

atmosphere of fear and addiction that tears at the residents’ sense of well-being and security. The

County has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

       389.    Defendants’ actions created an absolute nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated plague

of prescription opioid and heroin addiction. Defendants knew the dangers to public health and

safety that diversion of opioids would create in the State and The County, however, Defendants

intentionally and/or unlawfully failed to maintain effective controls against diversion through

proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids without reporting, and without refusing to fill,

suspicious orders or taking other measures to maintain effective controls against diversion.

Defendants intentionally and/or unlawfully continued to ship and failed to halt suspicious orders

of opioids. Such actions were inherently dangerous.

       390.    Defendants knew the prescription opioids have a high likelihood of being diverted.

It was foreseeable to Defendants that where Defendants distributed prescription opioids without



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maintaining effective controls against diversion, including monitoring, reporting, and refusing

shipment of suspicious orders, that the opioids would be diverted, and create an opioid abuse

nuisance in the State and The County.

       391.    Defendants acted recklessly, negligently and/or carelessly, in breach of their duties

to maintain effective controls against diversion, thereby creating an unreasonable risk of harm.

       392.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm. Defendants acted willfully, and with such gross negligence as to indicate

a wanton disregard of the rights of others.

       393.    The damages available to the Plaintiffs include, Inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance which the government

seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiffs seek all damages

flowing from Defendants’ conduct. Plaintiffs further seek to abate the nuisance and harm created

by Defendants’ conduct.

       394.    As a direct and proximate result of Defendants’ conduct, the Plaintiff, The County,

has suffered actual injury and damages including, but not limited to, significant increased expenses

for police, emergency, ambulance services, health, prosecution, corrections and other services. The

Plaintiffs seek recovery for their own harm. While The County normally has some expenses related

to these services, the expenses have been significantly increased as a direct and proximate result

of Defendants’ conduct, and thus constitute specific and special injuries. The increased

expenditures have been a necessary means to respond to issues created by unlawful opioid

prescription drugs in The County, but much greater expenditures are needed to abate the serious

problems caused by the opioid epidemic.



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       395.    The County has sustained specific and special injuries because its damages include,

inter alia, health services and law enforcement expenditures, and include without limitation costs

sustained by The County Sheriff and State’s Attorney offices, costs sustained by their medical

examiners and crime labs, Health and Human Services costs, costs sustained by The County’s

payments for health services, including inter alia hospital and ambulance operations, costs related

to opioid addiction treatment and overdose prevention, and payments by governmental payor

programs, such as employee health insurance. Thus, The County seeks recovery for its own harm.

       396.    The Plaintiffs further seek to abate in the future this nuisance created by the

Defendants’ unreasonable, unlawful, intentional, ongoing, continuing, and persistent interference

with a right common to the public. Such abatement is feasible here and can be accomplished by

providing financial resources to the County to combat the problems arising from unlawfully

diverted opioids.

       397.    Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

abatement, compensatory damages, and punitive damages from the Defendants for the creation of

a public nuisance, attorney fees and costs, and pre- and post-judgment interest.

       398.    Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.

       399.    Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the State and The County. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because inter alia these drugs are defined

under federal and state law as substances posing a high potential for abuse and severe addiction.




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Defendants created an absolute nuisance. Defendants’ actions created and expanded the abuse of

opioids, drugs specifically codified as constituting severely harmful substances.

       400.    The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of prescription opioid abuse and heroin use

resulting from Defendants’ abdication of their gate-keeping and diversion prevention duties, and

the Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to:

           a. The high rates of use have led to unnecessary opioid abuse, addiction, overdose,
              injuries, and deaths.

           b. Even children have fallen victim to the opioid epidemic. Easy access to prescription
              opioids has made opioids a recreational drug of choice among Illinois teenagers.
              Even infants have been born addicted to opioids due to prenatal exposure, causing
              severe withdrawal symptoms and lasting developmental impacts.

           c. Even those residents of the State and County who have never taken opioids have
              suffered from the public nuisance arising from Defendants’ abdication of their gate-
              keeper duties. Many have endured both the emotional and financial costs of caring
              for loved ones addicted to or injured by opioids, and the loss of companionship,
              wages, or other support from family members who have used, abused, become
              addicted to, overdosed on, or been killed by opioids.

           d. The opioid epidemic has increased health care costs.

           e. Employers have lost the value of productive and healthy employees.

           f. Defendants’ failure to maintain effective controls against diversion of dangerously
              addictive prescription opioids for non-medical use and abuses has created an
              abundance of drugs available for criminal use and fueled a new wave of addiction,
              abuse, and injury.

           g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign
              pushing dangerous drugs resulted in a diverted supply of narcotics to sell, and the
              ensuing demand of addicts to buy them. More prescription opioids sold by
              Defendants led to more addiction, with many addicts turning from prescription
              opioids to heroin. People addicted to opioids frequently require increasing levels of
              opioids, and many turned to heroin as a foreseeable result.


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           h. The diversion of opioids into the secondary, criminal market and the increase in the
              number of individuals who abuse or are addicted to opioids has increased the
              demands on health care services and law enforcement in the State and The County.

           i. The significant and unreasonable interference with public rights caused by
              Defendants’ conduct taxed the human, medical, public health, law enforcement,
              and financial resources of the State and The County;

           j. Defendants’ interference with the comfortable enjoyment of life in the State and
              The County is unreasonable because there is little society utility to opioid diversion
              and abuse, and any potential value is outweighed by the gravity of the harm inflicted
              by Defendants’ actions.

           k. The categories of damages sustained by The County includes opioid-related costs
              and burdens placed upon first responders, whose resources and expertise are
              necessary to keep our community safe. The resources of inter alia emergency
              responders, police, medical, and ambulance services have been drained, over and
              above typical municipal community needs, as a result of the opioid epidemic in the
              State and County.

       401.     Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

actual damages, temporary and preliminary injunctive relief, equitable relief, restitution,

disgorgement, abatement, punitive damages, attorney’s fees and all costs and expenses of suit and

pre- and post-judgment interest.

 COUNT II – RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                          18 U.S.C. 1961, et seq.
                         (Against All Defendants)

       402.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       403.    Plaintiffs bring this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and

AmerisourceBergen (collectively, for purposes of this Count, the “RICO Defendants”).

       404.    The RICO Defendants conducted and continue to conduct their business through

legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a legal

entity enterprise. At all relevant times, the RICO Defendants were “persons” under 18 U.S.C. §

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1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest in

property.”

       405.    Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. §

1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).

       406.    The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.” 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S., 556

U.S. 938, 944 (2009). The definition of “enterprise” in Section 1961(4) includes legitimate and

illegitimate enterprises within its scope. Specifically, the section “describes two separate

categories of associations that come within the purview of an ‘enterprise’ -- the first encompassing

organizations such as corporations, partnerships, and other ‘legal entities,’ and the second covering

‘any union or group of individuals associated in fact although not a legal entity.’” Turkette, 452

U.S. at 577. The second category is not a more generalized description of the first. Id.

       407.    For over a decade, the RICO Defendants aggressively sought to bolster their

revenue, increase profit, and grow their share of the prescription painkiller market by unlawfully

and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants

are not permitted to engage in a limitless expansion of their market through the unlawful sales of

regulated painkillers. As “registrants,” the RICO Defendants operated and continue to operate

within the “closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821, et seq.

(the “CSA”). The CSA restricts the RICO Defendants’ ability to manufacture or distribute



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Schedule II substances like opioids by requiring them to: (1) register to manufacture or distribute

opioids; (2) maintain effective controls against diversion of the controlled substances that they

manufacturer or distribute; (3) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA; and (4) make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids.

           408.      The closed-system created by the CSA, including the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

from “legitimate channels of trade” to the illicit market by controlling the quantities of the basic

ingredients needed for the manufacture of [controlled substances].”159

           409.      Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently

violated their statutory duty to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders, and to notify the DEA of suspicious orders.160 As discussed in detail below,

through the RICO Defendants’ scheme, members of the Opioid Diversion Enterprise repeatedly

engaged in unlawful sales of painkillers which, in turn, artificially and illegally increased the

annual production quotas for opioids allowed by the DEA. 161 In doing so, the RICO Defendants

allowed hundreds of millions of pills to enter the illicit market which allowed them to generate

obscene profits.


159
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics      Control,     United        States       Senate,     May      5,     2015       (available      at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
160
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
161
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

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         410.    Defendants’ illegal scheme was hatched by an association-in-fact enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Defendants were associated with, and

conducted or participated in, the affairs of the RICO enterprise (defined below and referred to

collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful

sales of opioids, deceive the public and federal and state regulators into believing that the RICO

Defendants were faithfully fulfilling their statutory obligations. The RICO Defendants’ scheme

allowed them to make billions in unlawful sales of opioids and, in turn, increase and/or maintain

high production quotas with the purpose of ensuring unlawfully increasing revenues, profits, and

market share. As a direct result of the RICO Defendants’ fraudulent scheme, course of conduct,

and pattern of racketeering activity, they were able to extract billions of dollars of revenue from

the addicted American public, while entities like the Plaintiffs experienced tens of millions of

dollars of injury caused by the reasonably foreseeable consequences of the prescription opioid

addiction epidemic. As explained in detail below, the RICO Defendants’ misconduct violated

Section 1962(c) and Plaintiffs are entitled to treble damages for its injuries under 18 U.S.C. §

1964(c).

         411.    Alternatively, the RICO Defendants were members of a legal entity enterprise

within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States. Specifically,

the Healthcare Distribution Alliance (the “HDA”)162 is a distinct legal entity that satisfies the

definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of




162
    Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.

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the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

qualifies as an “enterprise” within the definition set out in 18 U.S.C. § 1961(4) because it is a

corporation and a legal entity.

           412.    On information and belief, each of the RICO Defendants is a member, participant,

and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

to engage in the pattern of racketeering activity that gives rise to the Count.

           413.    Each of the RICO Defendants is a legal entity separate and distinct from the HDA.

And, the HDA serves the interests of distributors and manufacturers beyond the RICO Defendants.

Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and each of the RICO

Defendants exists separately from the HDA. Therefore, the HDA may serve as a RICO enterprise.

           414.    The legal and association-in-fact enterprises alleged in the previous and subsequent

paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion Enterprise

by engaging in a pattern of racketeering activity. Therefore, the legal and association-in-fact

enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

are collectively referred to as the “Opioid Diversion Enterprise.”

       A. THE OPIOID DIVERSION ENTERPRISE

           415.    Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress

enacted the Controlled Substances Act in 1970.163 The CSA and its implementing regulations

created a closed-system of distribution for all controlled substances and listed chemicals.164



163
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
164
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.



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Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market.165 As reflected in comments from United

States Senators during deliberation on the CSA, the “[CSA] is designed to crack down hard on the

narcotics pusher and the illegal diverters of pep pills and goof balls.” 166 Congress was concerned

with the diversion of drugs out of legitimate channels of distribution when it enacted the CSA and

acted to halt the “widespread diversion of [controlled substances] out of legitimate channels into

the illegal market.”167 Moreover, the closed-system was specifically designed to ensure that there

are multiple ways of identifying and preventing diversion through active participation by

registrants within the drug delivery chain.168 All registrants -- manufacturers and distributors alike

-- must adhere to the specific security, recordkeeping, monitoring and reporting requirements that

are designed to identify or prevent diversion.169 When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse.170 The result is the scourge of addiction

that has occurred.

            416.   In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

reminding them of their obligation to maintain effective controls against diversion of particular




165
   Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep. No.
91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
166
   See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
23, 1970).
167
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State Senate,
May 5, 2015 (available at https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
168
   See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States Senate,
July 18, 2012 (available at https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-
18-12-dea-rannazzisi.pdf).
169
      Id.
170
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).



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controlled substances, design and operate a system to disclose suspicious orders, and to inform the

DEA of any suspicious orders.171 The DEA also published suggested questions that a distributor

should ask prior to shipping controlled substances, in order to “know their customers.”172

         417.    Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by

controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.”173 When

evaluating production quotas, the DEA was instructed to consider the following information:

             a. Information provided by the Department of Health and Human Services;

             b. Total net disposal of the basic class by all manufacturers;

             c. Trends in the national rate of disposal of the basic class;

             d. An applicant’s production cycle and current inventory position;

             e. Total actual or estimated inventories of the class and of all substances manufactured
                from the class and trends in inventory accumulation; and

         418.    Other factors such as: changes in the currently accepted medical use of substances

manufactured for a basic class; the economic and physical availability of raw materials; yield and

sustainability issues; potential disruptions to production; and unforeseen emergencies. 174



171
  Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In
Reference to Registration # RC0183080 (December 27, 2007).
172
  Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).
173
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics      Control,     United        States       Senate,     May      5,     2015       (available      at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
174
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State Senate,
May 5, 2015 (available at https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).



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            419.     It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.175

            420.     At all relevant times, the RICO Defendants operated as an association-in-fact

enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market, in order to unlawfully increase the

quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a

greater pool of prescription opioids from which to profit. The RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States through this

enterprise.

            421.     The opioid epidemic has its origins in the mid-1990s when, between 1997 and 2007,

per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-

fold, respectively. By 2010, enough prescription opioids were sold in the United States to medicate

every adult in The County with a dose of 5 milligrams of hydrocodone every 4 hours for 1

month.176 On information and belief, the Opioid Diversion Enterprise has been ongoing for at least

the last decade.177

            422.     The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis. But, it



175
      Id. (citing 21 U.S.C. 842(b)).
176
   Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
177
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic.

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was not until recently that United States and State regulators finally began to unravel the extent of

the enterprise and the toll that it exacted on the American public.

         423.    At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

racketeering in which the RICO Defendants engaged; (c) was an ongoing and continuing

organization consisting of legal entities, including each of the RICO Defendants; (d) characterized

by interpersonal relationships among the RICO Defendants; (e) had sufficient longevity for the

enterprise to pursue its purpose; and (f) functioned as a continuing unit. Turkette, 452 U.S. at 580;

Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion Enterprise participated in

the conduct of the enterprise, including patterns of racketeering activity, and shared in the

astounding growth of profits supplied by fraudulently inflating opioid sales generated as a result

of the Opioid Diversion Enterprise’s disregard for their duty to prevent diversion of their drugs

into the illicit market and then requesting the DEA increase production quotas, all so that the RICO

Defendants would have a larger pool of prescription opioids from which to profit.

         424.    The Opioid Diversion Enterprise also engaged in efforts to lobby against the DEA’s

authority to hold the RICO Defendants liable for disregarding their duty to prevent diversion.

Members of the Pain Care Forum (described in greater detail below) and the Healthcare

Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s enforcement

authority. The Ensuring Patient Access and Effective Drug Enforcement Act significantly reduced

the DEA’s ability to issue orders to show cause and to suspend and/or revoke registrations178 The


178
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July
6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/;
Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out
of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-
while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html;


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HDA and other members of the Pain Care Forum contributed substantial amounts of money to

political campaigns for federal candidates, state candidates, political action committees and

political parties. Plaintiffs are informed and believes that the Pain Care Forum and its members

poured at least $3.5 million into lobbying efforts in this jurisdiction while the HDA devoted over

a million dollars a year to its lobbying efforts between 2011 and 2016.

        425.     The Opioid Diversion Enterprise functioned by selling prescription opioids. While

there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants, through

their illegal enterprise, engaged in a pattern of racketeering activity, that involves a fraudulent

scheme to increase revenue by violating State and Federal laws requiring the maintenance of

effective controls against diversion of prescription opioids, and the identification, investigation,

and reporting of suspicious orders of prescription opioids destined for the illicit drug market. The

goal of Defendants’ scheme was to increase profits from opioid sales. But, Defendants’ profits

were limited by the production quotas set by the DEA, so the Defendants refused to identify,

investigate and/or report suspicious orders of their prescription opioids being diverted into the

illicit drug market. The end result of this strategy was to increase and maintain artificially high

production quotas of opioids so that there was a larger pool of opioids for Defendants to

manufacture and distribute for public consumption.

        426.     The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the State



Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-
investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

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and The County and this jurisdiction, and the corresponding payment and/or receipt of money from

the sale of the same.

       427.      Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Defendants shared information on a regular basis.

These interpersonal relationships also formed the organization of the Opioid Diversion Enterprise.

The Opioid Diversion Enterprise used their interpersonal relationships and communication

network for the purpose of conducting the enterprise through a pattern of racketeering activity.

       428.      Each of the RICO Defendants had a systematic link to each other through joint

participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. The RICO Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein. While

the RICO Defendants participated in, and are members of, the enterprise, they each have a separate

existence from the enterprise, including distinct legal statuses, different offices and roles, bank

accounts, officers, directors, employees, individual personhood, reporting requirements, and

financial statements.

       429.      The RICO Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

relationships.

       430.      The Pain Care Forum (“PCF”) has been described as a coalition of drugmakers,

trade groups and dozens of non-profit organizations supported by industry funding. The PCF

recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

than a decade.



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            431.   The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drugmakers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”179 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.180

            432.   Not surprisingly, each of the RICO Defendants who stood to profit from lobbying

in favor of prescription opioid use is a member of and/or participant in the PCF. 181 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants are

members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen Pharmaceuticals),

Actavis (i.e., Allergan), and Teva (the parent company of Cephalon).182 Each of the Manufacturer

Defendants worked together through the PCF to advance the interests of the enterprise. But, the

Manufacturer Defendants were not alone. The Distributor Defendants actively participated, and

continue to participate in the PCF, at a minimum, through their trade organization, the HDA. 183

Plaintiffs are informed and believes that the Distributor Defendants participated directly in the

PCF as well.




179
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic (emphasis added).
180
      Id.
181
       PAIN      CARE      FORUM      2012    Meetings   Schedule, (last updated   December               2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf
182
   Id. Plaintiffs are informed and believes that Mallinckrodt became an active member of the PCF sometime after
2012.
183
   Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.

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          433.   The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on

the subject of the Defendants’ interpersonal relationships. The meeting schedule indicates that

meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis, unless

otherwise noted. Local members were “encouraged to attend in person” at the monthly meetings.

And, the meeting schedule indicates that the quarterly and year-end meetings included a “Guest

Speaker.”

          434.   The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

Defendants participated in meetings on a monthly basis, either directly or through their trade

organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

national response to the ongoing prescription opioid epidemic, including the concerted lobbying

efforts that the PCF undertook on behalf of its members.

          435.   Second, the HDA -- or Healthcare Distribution Alliance -- led to the formation of

interpersonal relationships and an organization between the RICO Defendants. Although the entire

HDA membership directory is private, the HDA website confirms that each of the Distributor

Defendants and the Manufacturer Defendants named in the Complaint, including Actavis (i.e.,

Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA.184 And, the HDA

and each of the Distributor Defendants, eagerly sought the active membership and participation of

the Manufacturer Defendants by advocating that one of the benefits of membership included the

ability to develop direct relationships between Manufacturers and Distributors at high executive

levels.




184
     Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.

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            436.   In fact, the HDA touted the benefits of membership to the Manufacturer

Defendants, advocating that membership included the ability to, among other things, “network one

on one with manufacturer executives at HDA’s members-only Business and Leadership

Conference,” “networking with HDA wholesale distributor members,” “opportunities to host and

sponsor HDA Board of Directors events,” “participate on HDA committees, task forces and

working groups with peers and trading partners,” and “make connections.”185 Clearly, the HDA

and the Distributor Defendants believed that membership in the HDA was an opportunity to create

interpersonal and ongoing organizational relationships between the Manufacturers and

Defendants.

            437.   The application for manufacturer membership in the HDA further indicates the

level of connection that existed between the RICO Defendants.186 The manufacturer membership

application must be signed by a “senior company executive,” and it requests that the manufacturer

applicant identify a key contact and any additional contacts from within its company. The HDA

application also requests that the manufacturer identify its current distribution information and its

most recent year end net sales through any HDA distributors, including but not limited to,

Defendants AmerisourceBergen, Cardinal Health, and McKesson.187

            438.   After becoming members, the Distributors and Manufacturers were eligible to

participate on councils, committees, task forces and working groups, including:




185
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
186
    Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.
187
      Id.



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             a. Industry Relations Council: “This council, composed of distributor and
                manufacturer members, provides leadership on pharmaceutical distribution and
                supply chain issues.”188

             b. Business Technology Committee: “This committee provides guidance to HDA and
                its members through the development of collaborative e-commerce business
                solutions. The committee’s major areas of focus within pharmaceutical distribution
                include information systems, operational integration and the impact of e-
                commerce.” Participation in this committee includes distributors and manufacturer
                members.189

             c. Health, Beauty and Wellness Committee: “This committee conducts research, as
                well as creates and exchanges industry knowledge to help shape the future of the
                distribution for health, beauty and wellness/consumer products in the healthcare
                supply chain.” Participation in this committee includes distributors and
                manufacturer members.190

             d. Logistics Operation Committee: “This committee initiates projects designed to help
                members enhance the productivity, efficiency and customer satisfaction within the
                healthcare supply chain. Its major areas of focus include process automation,
                information systems, operational integration, resource management and quality
                improvement.”     Participation in this committee includes distributors and
                manufacturer members.191

             e. Manufacturer Government Affairs Advisory Committee: “This committee provides
                a forum for briefing HDA’s manufacturer members on federal and state legislative
                and regulatory activity affecting the pharmaceutical distribution channel. Topics
                discussed include such issues as prescription drug traceability, distributor licensing,
                FDA and DEA regulation of distribution, importation and Medicaid/Medicare
                reimbursement.” Participation in this committee includes manufacturer
                members.192

             f. Bar Code Task Force: Participation includes Distributor, Manufacturer and Service
                Provider Members.193



188
     Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/councils-and-committees
189
      Id.
190
      Id.
191
      Id.
192
      Id.
193
      Id.



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               g. eCommerce Task Force: Participation includes Distributor, Manufacturer and
                  Service Provider Members.194

               h. ASN Working Group: Participation includes Distributor, Manufacturer and Service
                  Provider Members.195

               i. Contracts and Chargebacks Working Group: “This working group explores how
                  the contract administration process can be streamlined through process
                  improvements or technical efficiencies. It also creates and exchanges industry
                  knowledge of interest to contract and chargeback professionals.” Participation
                  includes Distributor and Manufacturer Members.196

            439.   The councils, committees, task forces and working groups provided the

Manufacturer and Distributor Defendants with the opportunity to work closely together in shaping

their common goals and forming the enterprise’s organization.

            440.   The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”197 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”198 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And, it




194
      Id.
195
      Id.
196
      Id.
197
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance, (accessed
on    September     14,     2017),   https://www.healthcaredistribution.org/events/2015-business-and-leadership-
conference/blc-for-manufacturers.
198
      Id.



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is clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events.199

            441.   Third, the RICO Defendants maintained their interpersonal relationships by

working together and exchanging information and driving the unlawful sales of their opioids

through their contractual relationships, including chargebacks and vault security programs.

            442.   The Manufacturer Defendants engaged in an industry-wide practice of paying

rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids.200 As

reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the HDA,

there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates and/or

chargebacks on their prescription opioid sales.201 On information and belief, these contracts were

negotiated at the highest levels, demonstrating ongoing relationships between the Manufacturer

and Distributor Defendants. In return for the rebates and chargebacks, the Distributor Defendants

provided the Manufacturer Defendants with detailed information regarding their prescription

opioid sales, including purchase orders, acknowledgements, ship notices, and invoices. 202 The

Manufacturer Defendants used this information to gather high-level data regarding overall




199
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management-conference.
200
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington        Post,   (April     2,   2017),     https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
201
      Id.
202
        Webinars,   Healthcare      Distribution    Alliance,    (accessed   on    September      14,    2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

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distribution and direct the Distributor Defendants on how to most effectively sell the prescription

opioids.

       443.    The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Defendants are required to maintain certain security protocols and

storage facilities for the manufacture and distribution of their opiates. Plaintiffs are informed and

believe that manufacturers negotiated agreements whereby the Manufacturers installed security

vaults for Distributors in exchange for agreements to maintain minimum sales performance

thresholds. Plaintiffs are informed and believe that these agreements were used by the RICO

Defendants as a tool to violate their reporting and diversion duties in order to reach the required

sales requirements.

       444.    Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants were

not two separate groups operating in isolation or two groups forced to work together in a closed

system. The RICO Defendants operated together as a united entity, working together on multiple

fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain Care Forum

are but two examples of the overlapping relationships, and concerted joint efforts to accomplish

common goals and demonstrates that the leaders of each of the RICO Defendants was in

communication and cooperation.

       445.    According to articles published by the Center for Public Integrity and The

Associated Press, the Pain Care Forum -- whose members include the Manufacturers and the

Distributors’ trade association has been lobbying on behalf of the Manufacturers and Distributors




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for “more than a decade.”203 And, from 2006 to 2016 the Distributors and Manufacturers worked

together through the Pain Care Forum to spend over $740 million lobbying in the nation’s capital

and in all 50 statehouses on issues including opioid-related measures.204 Similarly, the HDA has

continued its work on behalf of Distributors and Manufacturers, without interruption, since at least

2000, if not longer.205

            446.   As described above, the RICO Defendants began working together as early as 2006

through the Pain Care Forum and/or the HDA to promote the common purpose of their enterprise.

Plaintiffs are informed and believe that the RICO Defendants worked together as an ongoing and

continuous organization throughout the existence of their enterprise.

       B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

            447.   During the time period alleged in this Complaint, the RICO Defendants exerted

control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

failing to comply with their Federal and State obligations to identify, investigate and report

suspicious orders of opioids in order to prevent diversion of those highly addictive substances into

the illicit market, to halt such unlawful sales and, in doing so, to increase production quotas and

generate unlawful profits, as follows:

            448.   Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to maintain effective controls against diversion of

their prescription opioids.



203
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic.
204
      Id.
205
       HDA History, Healthcare Distribution Alliance,              (accessed    on    September     14,   2017),
https://www.healthcaredistribution.org/about/hda-history.

                                                      141
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         449.    Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to design and operate a system to disclose to the

registrant suspicious orders of their prescription opioids.

         450.    Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligation to notify the DEA of any suspicious orders or

diversion of their prescription opioids.

         451.    Defendants paid nearly $800 million dollars to influence local, state and federal

governments through joint lobbying efforts as part of the Pain Care Forum. The RICO Defendants

were all members of their Pain Care Forum either directly or indirectly through the HDA. The

lobbying efforts of the Pain Care Forum and its members, included efforts to pass legislation

making it more difficult for the DEA to suspend and/or revoke the Manufacturers’ and

Distributors’ registrations for failure to report suspicious orders of opioids.

         452.    The RICO Defendants exercised control and influence over the distribution

industry by participating and maintaining membership in the HDA.

         453.    The RICO Defendants applied political and other pressure on the DOJ and DEA to

halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied

Congress to strip the DEA of its ability to immediately suspend registrations pending investigation

by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”206



206
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July
6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/;
Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out
of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-
while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html;
Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-
investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

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         454.    The RICO Defendants engaged in an industry-wide practice of paying rebates and

chargebacks to incentivize unlawful opioid prescription sales. Plaintiffs are informed and believe

that the Manufacturer Defendants used the chargeback program to acquire detailed high-level data

regarding sales of the opioids they manufactured. And, Plaintiffs are informed and believe that the

Manufacturer Defendants used this high-level information to direct the Distributor Defendants’

sales efforts to regions where prescription opioids were selling in larger volumes.

         455.    The Manufacturer Defendants lobbied the DEA to increase Aggregate Production

Quotas, year after year by submitting net disposal information that the Manufacturer Defendants

knew included sales that were suspicious and involved the diversion of opioids that had not been

properly investigated or reported by the RICO Defendants.

         456.    The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Defendants identify suspicious orders or customers who were likely to

divert prescription opioids.207 On information and belief, the “know your customer” questionnaires

informed the RICO Defendants of the number of pills that the pharmacies sold, how many non-

controlled substances are sold compared to controlled substances, whether the pharmacy buys from

other distributors, the types of medical providers in the area, including pain clinics, general

practitioners, hospice facilities, cancer treatment facilities, among others, and these questionnaires

put the recipients on notice of suspicious orders.




207
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf);
Richard Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue
Pharma      and      McQuite        Woods     LLC,      (available   at    https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).

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            457.   The RICO Defendants refused to identify, investigate and report suspicious orders

to the DEA when they became aware of the same despite their actual knowledge of drug diversion

rings. The RICO Defendants refused to identify suspicious orders and diverted drugs despite the

DEA issuing final decisions against the Distributor Defendants in 178 registrant actions between

2008 and 2012208 and 117 recommended decision in registrant actions from The Office of

Administrative Law Judges. These numbers include 76 actions involving orders to show cause and

41 actions involving immediate suspension orders -- all for failure to report suspicious orders.209

            458.   Defendants’ scheme had decision-making structure that was driven by the

Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

Defendants worked together to control the State and Federal Government’s response to the

manufacture and distribution of prescription opioids by increasing production quotas through a

systematic refusal to maintain effective controls against diversion, and identify suspicious orders

and report them to the DEA.

            459.   The RICO Defendants worked together to control the flow of information and

influence state and federal governments and political candidates to pass legislation that was pro-

opioid. The Manufacturer and Distributor Defendants did this through their participation in the

Pain Care Forum and Healthcare Distributors Alliance.

            460.   The RICO Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed high

and ensured that suspicious orders were not reported to the DEA. By not reporting suspicious

orders or diversion of prescription opioids, the RICO Defendants ensured that the DEA had no


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Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
209
      Id.

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basis for refusing to increase or decrease the production quotas for prescription opioids due to

diversion of suspicious orders. The RICO Defendants influenced the DEA production quotas in

the following ways:

             a. The Distributor Defendants assisted the enterprise and the Manufacturer
                Defendants in their lobbying efforts through the Pain Care Forum;

             b. The Distributor Defendants invited the participation, oversight and control of the
                Manufacturer Defendants by including them in the HDA, including on the councils,
                committees, task forces, and working groups;

             c. The Distributor Defendants provided sales information to the Manufacturer
                Defendants regarding their prescription opioids, including reports of all opioids
                prescriptions filled by the Distributor Defendants;

             d. The Manufacturer Defendants used a chargeback program to ensure delivery of the
                Distributor Defendants’ sales information;

             e. The Manufacturer Defendants obtained sales information from QuintilesIMS
                (formerly IMS Health) that gave them a “stream of data showing how individual
                doctors across the nation were prescribing opioids.”210

             f. The Distributor Defendants accepted rebates and chargebacks for orders of
                prescription opioids;

             g. The Manufacturer Defendants used the Distributor Defendants’ sales information
                and the data from QuintilesIMS to instruct the Distributor Defendants to focus their
                distribution efforts to specific areas where the purchase of prescription opioids was
                most frequent;

             h. The RICO Defendants identified suspicious orders of prescription opioids and then
                continued filling those unlawful orders, without reporting them, knowing that they
                were suspicious and/or being diverted into the illicit drug market;

             i. The RICO Defendants refused to report suspicious orders of prescription opioids
                despite repeated investigation and punishment of the Distributor Defendants by the
                DEA for failure to report suspicious orders; and

             j. The RICO Defendants withheld information regarding suspicious orders and illicit
                diversion from the DEA because it would have revealed that the “medical need”
                for and the net disposal of their drugs did not justify the production quotas set by
                the DEA.

210
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/

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       461.    The scheme devised and implemented by the RICO Defendants amounted to a

common course of conduct characterized by a refusal to maintain effective controls against

diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

   C. PATTERN OF RACKETEERING ACTIVITY.

       462.    The RICO Defendants conducted and participated in the conduct of the Opioid

Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. § 1961(B),

including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343); and 18 U.S.C. §

1961(D) by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

           1. The RICO Defendants Engaged in Mail and Wire Fraud.

       463.    The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

federal and state regulators, and the American public by knowingly conducting or participating in

the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation

of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       464.    The RICO Defendants committed, conspired to commit, and/or aided and abetted

in the commission of at least two predicate acts of racketeering activity (i.e. violations of 18 U.S.C.

§§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

RICO Defendants committed, or aided and abetted in the commission of, were related to each

other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.” The racketeering activity was made possible by the RICO Defendants’

regular use of the facilities, services, distribution channels, and employees of the Opioid Diversion

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Enterprise. The RICO Defendants participated in the scheme to defraud by using mail, telephone

and the Internet to transmit mailings and wires in interstate or foreign commerce.

        465.      The RICO Defendants used, directed the use of, and/or caused to be used, thousands

of interstate mail and wire communications in service of their scheme through virtually uniform

misrepresentations, concealments and material omissions regarding their compliance with their

mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

selling prescription opioids without reporting suspicious orders or the diversion of opioids into the

illicit market.

        466.      In devising and executing the illegal scheme, the RICO Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud by means of materially false or

fraudulent pretenses, representations, promises, or omissions of material facts. For the purpose of

executing the illegal scheme, the RICO Defendants committed these racketeering acts, which

number in the thousands, intentionally and knowingly with the specific intent to advance the illegal

scheme.

        467.      The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

include, but are not limited to:

            a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or
               receiving, or by causing to be sent and/or received, materials via U.S. mail or
               commercial interstate carriers for the purpose of executing the unlawful scheme to
               design, manufacture, market, and sell the prescription opioids by means of false
               pretenses, misrepresentations, promises, and omissions.

            b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting
               and/or receiving, or by causing to be transmitted and/or received, materials by wire
               for the purpose of executing the unlawful scheme to design, manufacture, market,
               and sell the prescription opioids by means of false pretenses, misrepresentations,
               promises, and omissions.

        468.      The RICO Defendants’ use of the mail and wires includes, but is not limited to, the

transmission, delivery, or shipment of the following by the Manufacturers, Distributors, or third

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parties that were foreseeably caused to be sent as a result of the RICO Defendants’ illegal scheme,

including but not limited to:

           a. The prescription opioids themselves;

           b. Documents and communications that facilitated the manufacture, purchase and
              unlawful sale of prescription opioids;

           c. Defendants’ DEA registrations;

           d. Documents and communications that supported and/or facilitated Defendants’
              DEA registrations;

           e. Documents and communications that supported and/or facilitated the Defendants’
              request for higher aggregate production quotas, individual production quotas, and
              procurement quotas;

           f. Defendants’ records and reports that were required to be submitted to the DEA
              pursuant to 21 U.S.C. § 827;

           g. Documents and communications related to the Defendants’ mandatory DEA
              reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

           h. Documents intended to facilitate the manufacture and distribution of Defendants’
              prescription opioids, including bills of lading, invoices, shipping records, reports
              and correspondence;

           i. Documents for processing and receiving payment for prescription opioids;

           j. Payments from the Distributors to the Manufacturers;

           k. Rebates and chargebacks from the Manufacturers to the Distributors;

           l. Payments to Defendants’ lobbyists through the Pain Care Forum;

           m. Payments to Defendants’ trade organizations, like the HDA, for memberships
              and/or sponsorships;

           n. Deposits of proceeds from Defendants’ manufacture and distribution of
              prescription opioids; and

           o. Other documents and things, including electronic communications.

       469.    On information and belief, the RICO Defendants (and/or their agents), for the

purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or received)



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by mail or by private or interstate carrier, shipments of prescription opioids and related documents

by mail or by private carrier affecting interstate commerce, including the following:

        470.    Purdue manufactures multiple forms of prescription opioids, including but not

limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq

ER. Purdue manufactured and shipped these prescription opioids to the Distributor Defendants in

this jurisdiction.

        471.    The Distributor Defendants shipped Purdue’s prescription opioids throughout this

jurisdiction.

        472.    Cephalon manufactures multiple forms of prescription opioids, including but not

limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids to

the Distributor Defendants in this jurisdiction.

        473.    The Distributor Defendants shipped Teva’s prescription opioids throughout this

jurisdiction.

        474.     Janssen manufactures prescription opioids known as Duragesic. Janssen

manufactured and shipped its prescription opioids to the Distributor Defendants in this jurisdiction.

        475.    The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.

        476.    Endo manufactures multiple forms of prescription opioids, including but not

limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped

its prescription opioids to the Distributor Defendants in Ohio.

        477.    The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.




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        478.    Actavis manufactures multiple forms of prescription opioids, including but not

limited to: Kadin and Norco, as well as generic versions of the drugs known as Kadian, Duragesic

and Opana. Actavis manufactured and shipped its prescription opioids to the Distributor

Defendants in this jurisdiction.

        479.    The Distributor Defendants shipped Actavis’ prescription opioids throughout this

jurisdiction.

        480.    Mallinckrodt manufactures multiple forms of prescription opioids, including but

not limited to: Exalgo and Roxicodone.

        481.    The Distributor Defendants shipped Mallinckrodt’s prescription opioids throughout

this jurisdiction.

        482.    The RICO Defendants also used the internet and other electronic facilities to carry

out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO Defendants

made misrepresentations about their compliance with Federal and State laws requiring them to

identify, investigate and report suspicious orders of prescription opioids and/or diversion of the

same into the illicit market.

        483.    At the same time, the RICO Defendants misrepresented the superior safety features

of their order monitoring programs, ability to detect suspicious orders, commitment to preventing

diversion of prescription opioids and that they complied with all state and federal regulations

regarding the identification and reporting of suspicious orders of prescription opioids.

        484.    Plaintiffs are also informed and believe that the RICO Defendants utilized the

internet and other electronic resources to exchange communications, to exchange information

regarding prescription opioid sales, and to transmit payments and rebates/chargebacks.




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       485.    The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

and by interstate electronic mail and with various other affiliates, regional offices, regulators,

distributors, and other third-party entities in furtherance of the scheme.

       486.    The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators and the public that

Defendants were complying with their state and federal obligations to identify and report

suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

of doses of prescription opioids to divert into the illicit drug market. The RICO Defendants’

scheme and common course of conduct was intended to increase or maintain high production

quotas for their prescription opioids from which they could profit.

       487.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden, and cannot be alleged without access to Defendants’ books

and records. But, Plaintiffs have described the types of, and in some instances, occasions on which

the predicate acts of mail and/or wire fraud occurred. They include thousands of communications

to perpetuate and maintain the scheme, including the things and documents described in the

preceding paragraphs.

       488.    The RICO Defendants did not undertake the practices described herein in isolation,

but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other persons,

firms, and corporations, including third-party entities and individuals not named as defendants in

this Complaint, may have contributed to and/or participated in the scheme with the RICO

Defendants in these offenses and have performed acts in furtherance of the scheme to increase

revenues, increase market share, and /or minimize the losses for the RICO Defendants.




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       489.    The RICO Defendants aided and abetted others in the violations of the above laws,

thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

       490.    The RICO Defendants hid from the general public, and suppressed and/or ignored

warnings from third parties, whistleblowers and governmental entities, about the reality of the

suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the diversion

of a tens of millions of doses of prescriptions opioids into the illicit market.

       491.    The RICO Defendants, with knowledge and intent, agreed to the overall objective

of their fraudulent scheme and participated in the common course of conduct to commit acts of

fraud and indecency in manufacturing and distributing prescription opioids.

       492.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding marketing prescription opioids and refusing to

report suspicious orders.

       493.    As described herein, the RICO Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,

each conducted with the common purpose of obtaining significant monies and revenues from the

sale of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

results, participants, victims, and methods of commission. The predicate acts were related and not

isolated events.

       494.    The predicate acts all had the purpose of generating significant revenue and profits

for the RICO Defendants while Plaintiffs were left with substantial injury to its business through

the damage that the prescription opioid epidemic caused. The predicate acts were committed or

caused to be committed by the RICO Defendants through their participation in the Opioid

Diversion Enterprise and in furtherance of its fraudulent scheme.



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       495.    The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

       496.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       497.    Many of the precise dates of the RICO Defendants’ criminal actions at issue here

have been hidden and cannot be alleged without access to Defendants’ books and records. Indeed,

an essential part of the successful operation of the Opioids Addiction and Opioid Diversion

Enterprise alleged herein depended upon secrecy.

       498.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiffs.

Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme

to increase and maintain their increased profits, without regard to the effect such behavior would

have on consumers in this jurisdiction, its citizens or the Plaintiffs. In designing and implementing

the scheme, at all times Defendants were cognizant of the fact that those in the manufacturing and

distribution chain rely on the integrity of the pharmaceutical companies and ostensibly neutral

third parties to provide objective and reliable information regarding Defendants’ products and their

manufacture and distribution of those products. The Defendants were also aware that Plaintiffs

and the citizens of this jurisdiction rely on the Defendants to maintain a closed system and to

protect against the non-medical diversion and use of their dangerously addictive opioid drugs.




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       499.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       500.    It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations, would harm Plaintiffs by allowing the

flow of prescriptions opioids from appropriate medical channels into the illicit drug market.

       501.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

           2. The RICO Defendants Manufactured, Sold and/or Dealt in Controlled
              Substances and Their Crimes Are Punishable as Felonies.

       502.    The RICO Defendants conducted and participated in the conduct of the affairs of

the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

§ 1961(D) by the felonious manufacture, importation, receiving, concealment, buying, selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

       503.    The RICO Defendants committed crimes that are punishable as felonies under the

laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person to

knowingly or intentionally furnish false or fraudulent information in, or omit any material

information from, any application, report, record or other document required to be made, kept or

filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 483(d)(1).

       504.    Each of the RICO Defendants qualify as registrants under the CSA. Their status as

registrants under the CSA requires that they maintain effective controls against diversion of

controlled substances in schedule I or II, design and operate a system to disclose to the registrant


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suspicious orders of controlled substances., and inform the DEA of suspicious orders when

discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

         505.   Pursuant to the CSA and the Code of Federal Regulations, the RICO Defendants

were required to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders.

         506.   The RICO Defendants knowingly and intentionally furnished false or fraudulent

information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA including

the Manufacturer Defendants’ applications for production quotas. Specifically, the RICO

Defendants were aware of suspicious orders of prescription opioids and the diversion of their

prescription opioids into the illicit market, and failed to report this information to the DEA in their

mandatory reports and their applications for production quotas.

         507.   For example, The DEA and DOJ began investigating McKesson in 2013 regarding

its monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,

McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it admitted

to violating the CSA and agreed to pay $150 million and have some of its DEA registrations

suspended on a staggered basis. The settlement was finalized on January 17, 2017.211

         508.   Purdue’s experience in Los Angeles is another striking example of Defendants’

willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware of



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    McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017(),
http://www.mckesson.com/about-mckesson/newsroom/press-releases/2017/mckesson-finalizes-settlement-with-doj-
and-dea-to-resolve-past-claims/.



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a pill mill operating out of Los Angeles yet failed to alert the DEA. 212 The LA Times uncovered

that Purdue began tracking a surge in prescriptions in Los Angeles, including one prescriber in

particular. A Purdue sales manager spoke with company officials in 2009 about the prescriber,

asking “Shouldn’t the DEA be contacted about this?” and adding that she felt “very certain this is

an organized drug ring.”213 Despite knowledge of the staggering amount of pills being issued in

Los Angeles, and internal discussion of the problem, “Purdue did not shut off the supply of highly

addictive OxyContin and did not tell authorities what it knew about Lake Medical until several

years later when the clinic was out of business and its leaders indicted. By that time, 1.1 million

pills had spilled into the hands of Armenian mobsters, the Crips gang and other criminals.”214

            509.   Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in Florida

between 2008 and 2012.215 After six years of DEA investigation, Mallinckrodt agreed to a

settlement involving a $35 million fine. Federal prosecutors summarized the case by saying that

Mallinckrodt’s response was that everyone knew what was going on in Florida but they had no

duty to report it.216




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   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
213
      Id.
214
      Id.
215
   Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington        Post, (April   2,    2017),    https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of Florida
during that time.
216
      Id.



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         510.   Plaintiffs are informed and believe that the foregoing examples reflect the RICO

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is supported

by the sheer volume of enforcement actions available in the public record against the Distributor

Defendants.217 For example:

            a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the AmerisourceBergen Orlando, Florida distribution
               center (“Orlando Facility”) alleging failure to maintain effective controls against
               diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
               into a settlement that resulted in the suspension of its DEA registration;

            b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Auburn, Washington Distribution
               Center (“Auburn Facility”) for failure to maintain effective controls against
               diversion of hydrocodone;

            c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Lakeland, Florida Distribution
               Center (“Lakeland Facility”) for failure to maintain effective controls against
               diversion of hydrocodone;

            d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Swedesboro, New Jersey
               Distribution Center (“Swedesboro Facility”) for failure to maintain effective
               controls against diversion of hydrocodone;

            e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
               (“Stafford Facility”) for failure to maintain effective controls against diversion of
               hydrocodone;

            f. On May 2, 2008, McKesson Corporation entered into an Administrative
               Memorandum of Agreement (“2008 MOA”) with the DEA which provided that
               McKesson would “maintain a compliance program designed to detect and prevent
               the diversion of controlled substances, inform DEA of suspicious orders required
               by 21 C.F.R. § 1301.74(b), and follow the procedures established by its Controlled
               Substance Monitoring Program”;



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Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.

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              g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
                 Agreement and Administrative Memorandum of Agreement with the DEA related
                 to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.
                 The document also referenced allegations by the DEA that Cardinal failed to
                 maintain effective controls against the diversion of controlled substances at its
                 distribution facilities located in McDonough, Georgia (“McDonough Facility”),
                 Valencia, California (“Valencia Facility”) and Denver, Colorado (“Denver
                 Facility”);

              h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
                 Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                 Center (“Lakeland Facility”) for failure to maintain effective controls against
                 diversion of oxycodone;

              i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
                 DEA to resolve the civil penalty portion of the administrative action taken against
                 its Lakeland, Florida Distribution Center; and

              j. On January 5, 2017, McKesson Corporation entered into an Administrative
                 Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
                 civil penalty for violation of the 2008 MOA as well as failure to identify and report
                 suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse
                 WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen MA, Santa
                 Fe Springs CA, Washington Courthouse OH and West Sacramento CA.

       511.      These actions against the Distributor Defendants confirm that the Distributors knew

they had a duty to maintain effective controls against diversion, design and operate a system to

disclose suspicious orders, and to report suspicious orders to the DEA. These actions also

demonstrate, on information and belief, that the Manufacturer Defendants were aware of the

enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.

       512.      The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       513.      Many of the precise dates of Defendants’ criminal actions at issue herein were

hidden and cannot be alleged without access to Defendants’ books and records. Indeed, an essential


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part of the successful operation of the Opioid Diversion Enterprise depended upon the secrecy of

the participants in that enterprise.

        514.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiffs.

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiffs. The Defendants were aware that Plaintiffs and the

citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

and distribution to protect against the non-medical diversion and use of their dangerously addictive

opioid drugs.

        515.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

        516.    It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations would harm Plaintiffs by allowing the

flow of prescriptions opioids from appropriate medical channels into the illicit drug market.

        517.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

    D. DAMAGES

        518.    The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiffs injury in its business and property because Plaintiffs

paid for costs associated with the opioid epidemic, as described above in language expressly

incorporated herein by reference.
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        519.    Plaintiffs’ injuries, and those of the citizens of the State and The County, were

proximately caused by Defendants’ racketeering activities. But for the RICO Defendants’ conduct,

Plaintiffs would not have paid the health services and law enforcement services and expenditures

required as a result of the plague of drug-addicted residents.

        520.    Plaintiffs’ injuries and those of the citizens of the State and The County were

directly caused by the RICO Defendants’ racketeering activities.

        521.    Plaintiffs were most directly harmed and there is no other plaintiff better suited to

seek a remedy for the economic harms at issue here.

        522.    Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

 COUNT III –RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                        18 U.S.C. 1962(d), et seq.
                        (Against All Defendants)

        523.    Plaintiffs hereby incorporate by reference all other paragraphs of this Complaint

as if fully set forth herein, and further alleges as follows.

        524.    Plaintiffs brings this claim on their own behalf against all RICO Defendants. At all

relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and participate,

directly and indirectly, in the conduct of the affairs of the Opioid Diversion Enterprise through a

pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under Section 1962(d) it is

unlawful for “any person to conspire to violate” Section 1962(d), among other provisions. 18

U.S.C. § 1962(d).




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       525.    Defendants conspired to violate Section 1962(c), as alleged more fully above, by

conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity,

as incorporated by reference below.

   A. THE OPIOID DIVERSION ENTERPRISE.

       526.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference the Paragraphs contained in Section A of the preceding Count of this

Complaint concerning the Opioid Diversion Enterprise.

   B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       527.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference the Paragraphs contained in Section B of the preceding Count of this

Complaint concerning the Opioid Diversion Enterprise.

   C. PATTERN OF RACKETEERING ACTIVITY.

       528.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference the Paragraphs contained in Section C of the preceding Count of this

Complaint .

   D. DAMAGES.

       529.    The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiffs injury in its business and property because Plaintiffs

paid for costs associated with the opioid epidemic, as described above in language expressly

incorporated herein by reference.

       530.    Plaintiffs’ injuries, and those of her citizens, were proximately caused by the RICO

Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiffs would not

have paid the health services and law enforcement services and expenditures required as a result

of the plague of drug-addicted residents.

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       531.    Plaintiffs’ injuries and those of the citizens of the State and The County were

directly caused by the RICO Defendants’ racketeering activities.

       532.    Plaintiffs were most directly harmed and there is no other plaintiff better suited to

seek a remedy for the economic harms at issue here.

       533.    Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                  COUNT IV - NARCOTICS PROFIT FORFEITURE ACT
                                725 ILCS 175/1 et seq.
                               (Against All Defendants)

       534.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       535.     This Count is brought by the People of the State, the People of The County, and

The County. This Count is brought pursuant to 725 ILCS 175/7 for civil relief only. Plaintiffs

were injured in their business, person, and/or property as a result of each Defendant’s wrongful

conduct (725 ILCS 175/6(c)), and are persons who can bring an action for civil damages, threefold

damages, and attorney fees (725 ILCS 175/3(c)).

       536.    Defendant corporations are “persons” within the meaning of 725 ILCS 175/3(c),

which conducted the affairs of an opioid narcotics racketeering enterprise through a pattern of

racketeering activity, in violation of Chapter 725, Act 175, the Illinois Narcotics Profit Forfeiture

Act.

   A. THE OPIOID DIVERSION ENTERPRISE.

       537.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference the Paragraphs contained in Section A of the preceding two Counts of

this Complaint concerning the Opioid Diversion Enterprise.

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       538.    Defendants’ Opioids Diversion Enterprise is an association in fact and meets the

definition of enterprise in 725 ILCS 175/3(d).

   B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       539.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference the Paragraphs contained in Section B of the preceding two Counts of

this Complaint concerning the Conduct of the Opioid Diversion Enterprise.

       540.    As alleged above in language incorporated herewith by reference, each Defendant

has violated the Illinois Controlled Substances Act and the United States Controlled Substances

Act, and such conduct is punishable as a felony. Therefore, each Defendant has engaged in

narcotics activity, as prohibited by the Narcotics Profit Forfeiture Act, 725 ILCS 175/3(a).

       541.    Each Defendant receives income knowing such income is derived from the pattern

of racketeering activity in which it participated, which is prohibited by the Narcotics Profit

Forfeiture Act, 725 ILCS 175/4(a). As more fully described in this Complaint, each Defendant is

aware that it has diverted dangerously addictive opioid narcotics into illicit streams of commerce

in violation of mandatory, non-delegable duties and requirements for state and federal wholesale

drug distribution licenses and registrations. Defendants have received income by distributing

dangerous Schedule II substances in violation of state and federal Controlled Substances Acts and

associated regulations.

       542.    As more fully described in this Complaint, in addition to said receipt of income,

each Defendant uses or invests all or part of the income, or proceeds of such income, to establish,

acquire, and/or operate an enterprise doing business in the State of Illinois, which is prohibited by

the Narcotics Profit Forfeiture Act, 725 ILCS 175/4(b).

       543.    As more fully described in this Complaint, each Defendant knowingly, through a

pattern of narcotics activity, acquires and maintains an interest in or contract of an enterprise which
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is engaged in, and which activities affect, business in the State of Illinois, which is prohibited by

the Narcotics Profit Forfeiture Act, 725 ILCS 175/4(c).

       544.       As more fully described in this Complaint, each Defendant is associated with an

enterprise doing business in the State of Illinois and knowingly conducts or participates in the

conduct of such enterprise’s affairs through a pattern of narcotics activity in which Defendants

participate, as prohibited by the Narcotics Profit Forfeiture Act, 725 ILCS 725/4(d).

   C. PATTERN OF RACKETEERING ACTIVITY.

       545.       For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference the Paragraphs contained in Section C of the preceding two Counts of

this Complaint concerning the Opioid Diversion Enterprise.

       546.       Allegations regarding Defendants’ conduct in relation to the Opioids Diversion

Enterprise’s pattern of racketeering activity are set out herein, including in Count II, supra, which

allegations are incorporated as if fully set forth herein. Each Defendant conducted and participated

in the conduct of the affairs of each Defendant’s Opioids Marketing Enterprise through a pattern

of racketeering activity, which violates Chapter 725, Act 175, the Illinois Narcotics Profit

Forfeiture Act.

       547.       As explained herein, each Defendant conducted or participated in the enterprise’s

affairs through commission of criminal offenses which constitute a pattern of narcotics

racketeering activity. 725 ILCS 175/3(b). Each Defendant has committed two or more, and indeed

multiple, acts of narcotics activity within 5 years of each other. At least one, and indeed multiple,

acts of narcotics activity were committed after the effective date of Act 175. At least one of these

acts, and indeed multiple, acts of narcotics activity are punishable as a Class X, 1, or 2 felonies.




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   D. DAMAGES

       548.    Defendants’ violations of law and their pattern of racketeering activity have directly

and proximately caused The County and its citizens to be injured in their business or property

because The County has paid for costs associated with the opioid epidemic, as described above in

language expressly incorporated herein by reference.

       549.    The injuries incurred by the Plaintiffs were proximately caused by Defendants’

racketeering activities. But for Defendants’ conduct, The County would not have paid inter alia

the health services and law enforcement services expenditures required by the plague of drug-

addicted residents.

       550.    The Plaintiffs’ injuries were directly caused by Defendants’ racketeering activities.

       551.    Plaintiffs seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, treble damages, compensatory and punitive damages, and all damages allowed by law to

be paid by the Defendants, attorney fees and costs, and pre- and post-judgment interest.

  COUNT V – CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                             815 ILCS 505/1 et seq.
        (Against Manufacturer Defendants for Deceptive Business Practices)

       552.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       553.    This Count is brought by the Plaintiffs, The County, the People of The County, and

the People of the State, as the State’s Attorney has reason to believe that each of the Defendants

named herein is in violation of the Illinois Consumer Fraud and Deceptive Business Practices Act

(“Fraud Act”), 815 ILCS 505/1 et seq., and further that this action is in the public interest of the

Plaintiffs. Count V is brought pursuant to Section 7 of the Fraud Act, 815 ILCS 505/7. The Fraud

Act may be enforced through this Court through pendent jurisdiction pursuant to 28 U.S.C. § 1367.

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       554.    The Illinois Consumer Fraud and Deceptive Business Practices Act makes

unlawful, among other things, “[u]nfair or deceptive acts or practices, including but not limited to

the use or employment of any deception, fraud, false pretense, false promise, misrepresentation or

the concealment, suppression or omission of such material fact, with the intent that others rely

upon the concealment, suppression or omission of such material fact” in the conduct of any trade

or commerce.” 815 ILCS 505/2. The Illinois Consumer Fraud and Deceptive Business Practice

Act, 815 ILCS 505/2, also makes unlawful “the use or employment of any practice described in

Section 2 of the “Uniform Deceptive Trade Practices Act.”

       555.    The Manufacturer Defendants have engaged in unlawful and deceptive business

practices in violation of the ICFA as set forth above.

       556.    The Manufacturer Defendants’ practices as described in the Complaint are

deceptive business practices that violate the ICFA because the practices were and are intended to

deceive consumers and occurred and continue to occur in the course of conduct involving trade

and commerce in The County and throughout Illinois.

       557.    At all times relevant to this Complaint, the Manufacturer Defendants, directly,

through their control of third parties and/or by aiding and abetting third parties, violated the ICFA

by making and disseminating untrue, false, and misleading statements to Illinois prescribers and

consumers to promote the sale and use of opioids to treat chronic pain, or by causing untrue, false

and misleading statements about opioids to be made or disseminated to Illinois prescribers and

consumers in order to promote the sale and use of opioids to treat chronic pain. These untrue, false,

and misleading statements included, but were not limited to:

           a. Claiming or implying that opioids would improve patients’ function and quality of
              life;

           b. Mischaracterizing the risk of opioid addiction and abuse, including by stating or
              implying the opioids were rarely addictive, that “steady state” and abuse-resistant
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              properties meant the drugs were less likely to be addictive or abused, and that
              specific opioid drugs were less addictive or less likely to be abused than other
              opioids;

           c. Claiming or implying that addiction can be avoided or successfully managed
              through the use of screening and other tools;

           d. Promoting the misleading concept of pseudoaddiction, thus concealing the true risk
              of addiction;

           e. Mischaracterizing the difficulty of discontinuing opioid therapy, including by
              mischaracterizing the prevalence and severity of withdrawal symptoms;

           f. Claiming of implying that increased doses of opioids pose no significant additional
              risk;

           g. Misleadingly depicting the safety profile of opioids prescribed by minimizing their
              risks and adverse effects while emphasizing or exaggerating the risks of competing
              products, including NSAIDs; and

           h. In the case of Purdue, mischaracterizing OxyContin’s onset of action and duration
              of efficacy to imply that the drug provided a full 12 hours of pain relief.

       558.   As evidenced by the deceptive conduct discussed in the Complaint, the

Manufacturer Defendants, directly, through their control of third parties and/or by aiding and

abetting third parties, violated the ICFA by engaging in the following deceptive trade practices

prohibited by Section 2 of the UDTPA, including:

           a. Causing likelihood of confusion or of misunderstanding as to the source,
              sponsorship, approval, or certification of goods or services;

           b. Representing that goods or services have sponsorship, approval, characteristics,
              ingredients, uses, benefits, or quantities that they do not have or that a person has a
              sponsorship, approval, status, affiliation, or connection that he or she does not have;

           c. Representing that goods or services are of a particular standard, quality, or grade or
              that goods are a particular style or model, if they are of another;

           d. Disparaging the goods, services, or business of another by false or misleading
              representations of fact; and

           e. Engaging in other conduct which similarly creates a likelihood of confusion or
              misunderstanding.



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       559.     At all times relevant to this Complaint, the Manufacturer Defendants, directly,

through their control of third parties, and by aiding and abetting third parties, also violated ICFA

by making statements that omitted or concealed material facts to promote the sale and use of

opioids to treat chronic pain. The Manufacturer Defendants and their third-party allies repeatedly

failed to disclose or minimized material facts about the risks of opioids, including the risk of

addiction, significant risks of side effects, and their risks compared to alternative treatments,

including NSAIDs. Such material omissions were deceptive and misleading in their own right, and

further rendered even otherwise truthful statements about opioids untrue, false, and misleading,

creating a misleading impression of the risks, benefits, and superiority of opioids for treatment of

chronic pain.

       560.     At all times relevant to this Complaint, the Manufacturer Defendants, directly,

through their control of third parties, and by aiding and abetting third parties, made and

disseminated the foregoing untrue, false and misleading statements, and material omissions,

through an array of marketing channels, including but not limited to: in-person and other forms of

detailing; speaker events, including meals, conferences, and teleconferences; CMEs; studies, and

journal articles and supplements; advertisements; and brochures and other patient education

materials.

       561.     The Manufacturer Defendants knew at the time of making or disseminating these

misstatements and material omissions, or causing these misstatements and material omissions

statements to be made or disseminated, that they were untrue, false, or misleading and therefore

likely to deceive the public. In addition, the Manufacturer Defendants knew or should have known

that their marketing and promotional efforts created an untrue, false, and misleading impression

of the risks, benefits, and superiority of opioids.



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       562.    The third-party KOLS and Front Groups which the Manufacturer Defendants aided

and abetted likewise knew at the time of making or disseminating these misstatements and material

omissions that such statements were untrue, false, or misleading and therefore likely to deceive

the public. The Manufacturer Defendants were aware of the misleading nature of the misstatements

and material omissions made by KOLs and Front Groups, and yet the Defendants provided them

substantial assistance and encouragement by helping them develop, refine and promote these

misstatements and material omissions and distributing them to a broader audience. The

Manufacturer Defendants also substantially encouraged the dissemination of these misstatements

and material omissions by providing the Front Groups and KOLs with funding and technical

assistance for the shared purpose of issuing misleading, pro-opioid messaging.

       563.    In sum, the Manufacturer Defendants: (a) directly engaged in untrue, false, and

misleading marketing of KOLS and Front Groups; and (c) aided and abetted the untrue, false, and

misleading marketing of KOLS and Front Groups. Thus, while the Defendants made, controlled,

and disseminated deceptive marketing themselves, the Manufacturer Defendants made, controlled,

and disseminated deceptive marketing themselves, the Manufacturer Defendants also are

independently liable for the deceptive activity of third parties.

       564.    All of this conduct, separately and collectively, was intended to deceive Illinois

consumers who used or paid for opioids for chronic pain; Illinois physicians who prescribed

opioids to consumers to treat chronic pain; and Illinois payors.

       565.    As a direct result of the foregoing acts and practices, the Manufacturer Defendants

have received, or will receive, income, profits, and other benefits, which they would not have

received if they had not engaged in the violations of the ICFA as described in this Complaint.




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       566.    Because Manufacturing Defendants’ unbranded marketing caused the doctors to

prescribe and The County to pay for long-term opioid treatment using opioids manufactured or

distributed by other drug makers, Manufacturing Defendants caused and are responsible for those

costs and claims, as well.

       567.    In addition, 815 ILCS 505/7 specifically allows the State’s Attorney to bring this

claim for a penalty for each violation by the Defendants.

       568.    Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney, seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, payment of all civil penalties permissible under 815 ILCS 505/7(b) and (c), compensatory

and punitive damages, and all damages allowed by law to be paid by the Defendants, attorney fees

and costs, and pre- and post-judgment interest, and awarding the Plaintiffs such other, further, and

different relief as this Honorable Court may deem just.

 COUNT VI – CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                              815 ILCS 505/1 et seq.
        (Against Distributor Defendants for Deceptive Business Practices)

       569.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       570.    This Count is brought by the Plaintiffs, The County, People of The County, and

People of the State, by and through the State’s Attorney, as the State’s Attorney has reason to

believe that each of the Defendants named herein is in violation of the Illinois Consumer Fraud

and Deceptive Business Practices Act (“Fraud Act”), 815 ILCS 505/1 et seq., and further that this

action is in the public interest of the Plaintiffs. Count V is brought pursuant to Section 7 of the

Fraud Act, 815 ILCS 505/7. The Fraud Act may be enforced through this Court through pendent

jurisdiction pursuant to 28 U.S.C. § 1367.
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       571.    The Illinois Consumer Fraud and Deceptive Business Practices Act makes

unlawful, among other things, “[u]nfair or deceptive acts or practices, including but not limited to

the use or employment of any deception, fraud, false pretense, false promise, misrepresentation or

the concealment, suppression or omission of such material fact, with the intent that others rely

upon the concealment, suppression or omission of such material fact” in the conduct of any trade

or commerce.” 815 ILCS 505/2. The Illinois Consumer Fraud and Deceptive Business Practice

Act, 815 ILCS 505/2, also makes unlawful “the use or employment of any practice described in

Section 2 of the “Uniform Deceptive Trade Practices Act.”

       572.    The Distributor Defendants have engaged in unlawful and deceptive business

practices in violation of Fraud as set forth above.

       573.    Plaintiffs have met the heightened particularity pleading standard of Rule 9(b) to

bring this Fraud Act claim. Similarly, Plaintiffs will diligently amend these pleadings when

necessary facts become available.

       574.    As evidenced by the conduct detailed above, the Distributor Defendants have

violated Section 2 of the Fraud Act, 815 ILCS 505/2, by engaging in one or more of the following

deceptive methods, acts and practices:

           a. The method, act or practice of not monitoring for suspicious orders of prescription
              opioids;

           b. The method, act or practice of not detecting suspicious orders of prescription
              opioids;

           c. The method, act or practice of not investigating suspicious orders of prescription
              opioids;

           d. The method, act or practice of filling, or failing to refuse fulfillment of, suspicious
              orders of prescription opioids;

           e. The method, act or practice of not reporting suspicious orders of prescription
              opioids;


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              f. The method, act or practice of rewarding increases in prescription opioid sales;
                 and/or

              g. The method, act or practice of falsely misrepresenting to the public that Defendants
                 were complying with their legal obligations.

        575.     As evidenced by the deceptive conduct detailed in the Complaint, the Distributor

Defendants, violated the ICFA by engaging in the following deceptive trade practices prohibited

by Section 2 of the UDTPA, including:

              a. Causing likelihood of confusion or of misunderstanding as to the source,
                 sponsorship, approval, or certification of goods or services;

              b. Representing that goods or services have sponsorship, approval, characteristics,
                 ingredients, uses, benefits, or qualities that they do not have or that a person has a
                 sponsorship, approval, status, affiliation, or connection that he or she does not have;
                 and/or

              c. Engaging in other conduct which similarly creates a likelihood of confusion or
                 misunderstanding.

        576.     All of Defendants’ deceptive methods, acts or practices were conducted with the

intent on Defendants’ part that persons in the State and The County, the Department of Financial

and Professional Regulation, and The County itself rely on the deception.

        577.     All of Defendants’ deceptive methods, acts or practices occurred in the course of

conduct involving trade or commerce.

        578.     All of Defendants’ deceptive methods, acts or practices harmed or damaged

Plaintiffs.

        579.     Some or all of Defendants’ violations of the Fraud Act were committed with the

intent to defraud, and many or all violations were continuous in nature.

        580.     Many of Defendants’ violations of the Fraud Act were committed against persons

65 years of age or older.




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        581.    Absent injunctive relief by this Court, Defendants are likely to continue to harm

and injure Plaintiffs, reap unjust enrichment, and harm the public interest.

        582.    Section 7 of the Fraud Act, 815 ILCS 505/7, empowers this Court to grant

injunctive and such other relief as it may find appropriate to halt and redress violations of the Fraud

Act, including restitution, civil penalties, and costs.

        583.    Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney, seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, payment of all civil penalties permissible under 815 ILCS 505/7(b) and (c), compensatory

and punitive damages, and all damages allowed by law to be paid by the Defendants, attorney fees

and costs, and pre- and post-judgment interest, and awarding the Plaintiffs such other, further, and

different relief as this Honorable Court may deem just.

 COUNT VII - CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                            815 ILCS 505/1 et seq.
         (Against Manufacturer Defendants for Unfair Acts and Practices)

        584.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        585.    This Count is brought by the Plaintiffs, The County, People of The County, and

People of the State, by and through the State’s Attorney, as the State’s Attorney, has reason to

believe that each of the Defendants named herein is in violation of the Illinois Consumer Fraud

and Deceptive Business Practices Act (“Fraud Act”), 815 ILCS 505/1 et seq., and further that this

action is in the public interest of the Plaintiffs. Count V is brought pursuant to Section 7 of the

Fraud Act, 815 ILCS 505/7. The Fraud Act may be enforced through this Court through pendent

jurisdiction pursuant to 28 U.S.C. § 1367.



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       586.    The Illinois Consumer Fraud and Deceptive Business Practices Act makes

unlawful, among other things, “[u]nfair or deceptive acts or practices, including but not limited to

the use or employment of any deception, fraud, false pretense, false promise, misrepresentation or

the concealment, suppression or omission of such material fact, with the intent that others rely

upon the concealment, suppression or omission of such material fact” in the conduct of any trade

or commerce.” 815 ILCS 505/2. The Illinois Consumer Fraud and Deceptive Business Practice

Act, 815 ILCS 505/2, also makes unlawful “the use or employment of any practice described in

Section 2 of the “Uniform Deceptive Trade Practices Act.”

       587.    As evidenced by the conduct detailed above, at all times relevant to this Complaint,

the Manufacturer Defendants, directly, through their control of third parties, and/or by aiding and

abetting third parties, and/or in civil conspiracy with third parties, violated Section 2 of the Fraud

Act, 815 ILCS 505/2, by engaging in unfair acts or practices to promote the sale and use of opioids

to treat chronic pain. These acts or practices are unfair in that they offend public policy; are

immoral, unethical, oppressive, or unscrupulous; and have resulted in substantial injury to the

Plaintiffs that is not outweighed by any countervailing benefits to consumers or competition.

       588.    As described in detail above, the Manufacturer Defendants’ unfair acts and

deceptive practices include, but are not limited to:

           a. Targeting a vulnerable population – the elderly – for promotion of opioids to treat
              chronic pain in the face of the known, heightened risks of opioid use to that
              population, including risks of addiction, adverse effects, hospitalizations, and
              death;

           b. Targeting a vulnerable population – veterans- for promotion of opioids to treat
              chronic pain in the face of the known, heightened risks of opioid use to that
              population, including risks of addiction, overdose, and self-inflicted or accidental
              injury;

           c. Engaging in untrue, false, unsubstantiated and misleading marketing, directly and
              with and through third parties in violation of 21 C.F.R. § 202.1(e), thereby causing
              their drugs to be misbranded;

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           d. Promoting other purported advantages of their opioid products including but not
              limited to decreased risk of abuse, addiction, or withdrawal symptoms or their
              superiority to NSAIDS, without substantial scientific evidence to support their
              claims, in violations of FDA regulations, including 21 C.F.R. § 202.1(e);

           e. Failing, despite the known serious risks of addiction and adverse effects posed by
              opioids, to present a fair balance of benefit and risk information in their promotion
              of opioids, in violation of FDA regulations, including 21 C.F.R. § 202.1(e);

           f. Deliberately using unbranded marketing to evade FDA oversight and rules
              prohibiting deceptive marketing; and

           g. Promoting their opioids for off-label uses in the case of Cephalon, by marketing
              Actiq and Fentora for treatment of non-cancer pain and/or use in non-opioid-
              tolerant patients.

       589.    The Manufacturer Defendants engaged in these practices both directly and through

the KOLs and Front Groups that they controlled and/or which they aided and abetted. The

Manufacturer Defendants were aware of the unfair conduct of the KOLs and Front Groups, and

yet Defendants provided them substantial assistance and encouragement by helping them engage

in the unfair practices. The Manufacturer Defendants also substantially encouraged the unfair

practices by providing the Front Groups and KOLs with funding and technical support for the

shared purpose of issuing unfair, pro-opioid messaging.

       590.    The Manufacturer Defendants’ promotional practices, as described above, offend

deep-seated public policies under both federal law (21 U.S.C. § 823, 21 U.S.C. § 801; 21 C.F.R.

1301.74) and Illinois law (e.g. 225 ILCS 120/40; Ill. Admin. Code Title 68,§ 11510.50(i)), to

maintain effective controls against diversion. Nevertheless, by engaging in the conduct alleged

above, Manufacturer Defendants actively worked to conceal the risk of addiction related to opioids

from Illinois patients and prescribers in the hopes of selling greater quantities of their dangerous

drugs. Manufacturer Defendants also worked to undermine public policy, enshrined by regulations

contained in state and federal law, that is aimed at ensuring honest marketing and safe and

appropriate use of pharmaceutical drugs.

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       591.    Manufacturer Defendants’ conduct also was oppressive to both patients and

prescribers. Patients are laypersons who put their trust in physicians to appropriately convey and

balance the risks and benefits of various treatment options. Physicians, in turn, are inclined to trust

the advice of KOLs, Front Groups, and other seemingly independent sources of objective medical

information. By engaging in the conduct described above, Manufacturer Defendants co-opted the

sources reasonable physicians relied upon to convince those physicians that the risks related to

opioids were minimal, that the benefits were substantial, and – as a result – that opioids were

medically necessary to treat their patients’ chronic pain. Manufacturer Defendants deliberately

targeted non-specialist physicians and non-physician prescribers, who lacked the time and

expertise to evaluate their deceptive claims. This is even more true of the patients who were both

the subject and object of Manufacturer Defendants’ marketing; patients have little ability to

independently evaluate the medical necessity of the treatments they are prescribed and rely on the

judgment of their physicians instead – the same judgment that was compromised by Manufacturer

Defendants’ unlawful conduct.

       592.    Manufacturer Defendants’ conduct has caused substantial, indeed grievous, injury

to the consumer residents of the State and The County. The staggering rates of opioid use, abuse,

and addiction resulting from Manufacturer Defendants’ marketing efforts have caused substantial

injury to residents of the State and The County, including, but not limited to:

           a. Upwards of 30% of all adults have used opioids, with the vast majority of the use
              stemming from prescribing for chronic pain conditions;

           b. A substantial number of residents of the State and The County prescribed opioids
              long-term for chronic pain have experienced the life-upending effects of addiction,
              abuse, misuse, overdose, and death. For those who can stop taking narcotic opioid,
              there are years of struggling with the pull of the drugs and the fear of relapse (and
              often relapse itself), counseling sessions, or lining up each morning for daily
              maintenance drugs. And those who cannot overcome the need for opioids must deal
              with the compulsive use of and need for opioids, the haziness when they are on the
              drugs, and the nearly constant struggle to maintain their supplies of the drugs,
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               whatever the cost. Both groups face a dramatically heightened risk of serious injury
               or death and sometimes an unrecoverable toll on their health, work, and family.
           c. Elderly residents of the State and The County and Community veterans are
              particularly vulnerable to serious adverse outcomes, including overdose, injury and
              death;
           d. Residents of the State and The County who have never taken opioids also have been
              injured. Many have endured both the emotional and financial costs of caring for
              loved ones addicted to or injured by opioids, and the loss of companionship, wages,
              or other support from family members who have used, abused, become addicted to,
              overdosed on, or been killed by opioids. Infants born to mothers who abuse opioids
              have suffered neonatal abstinence syndrome.
           e. Residents of the State and The County have incurred health care costs due to the
              prescription of opioids for chronic pain and the treatment of opioids adverse effects,
              including addiction and overdoes.
           f. Defendants’ success in extending the market for opioids to new patients and chronic
              conditions has also created an abundance of drugs available for criminal use and
              fueled a new wave of addiction, abuse, and injury. Defendants’ scheme created both
              ends of a new secondary market for opioids – providing both the supply of narcotics
              to sell and the demand of addicts to buy them.
           g. This demand also has created additional illicit markets in other opiates, particularly
              heroin. Patients addicted to opioids frequently migrate to lower-cost heroin, with
              the serious personal costs that accompany their use of unlawful drugs.
           h. All of this has caused substantial injuries to consumers – in lives lost; addictions
              endured; the creation of an illicit drug market and all its concomitant crime and
              costs; unrealized economic productivity; and broken lives, families, and homes.
       593.    The profound injuries to residents of the State and The County are substantial and

not outweighed by any countervailing benefits to consumers or competition since there is no

benefit from the deceptive marketing of these narcotic drugs. Moreover, no public policy justifies

the Manufacturer Defendants’ conduct in overstating the benefits, denying or downplaying the

risks, and misrepresenting the superiority of opioids for chronic pain, which deprived the residents,

patients, and doctors of the State and The County of the hones and complete information they need

to make informed choices about their treatment. In light of this campaign of misinformation (and

especially given the addictive nature of these drugs), the consumer residents of the State and The

County could not reasonably have avoided their injuries.



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       594.    By reason of the Manufacturer Defendants unlawful acts, the consumer residents

of the State and The County have been damaged and continue to be damaged, in a substantial

amount to be determined at trial.

       595.    Plaintiffs seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, payment of all civil penalties permissible under 815 ILCS 505/7(b) and (c), compensatory

and punitive damages, and all damages allowed by law to be paid by the Defendants, attorney fees

and costs, and pre- and post-judgment interest, and awarding the Plaintiffs such other, further, and

different relief as this Honorable Court may deem just.

 COUNT VIII-CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                              815 ILCS 505/1 et seq.
          (Against Distributor Defendants for Unfair Acts and Practices)

       596.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       597.    This Count is brought by the Plaintiffs, The County, People of The County, and

People of the State, by and through the State’s Attorney, as the State’s Attorney has reason to

believe that each of the Defendants named herein is in violation of the Illinois Consumer Fraud

and Deceptive Business Practices Act (“Fraud Act”), 815 ILCS 505/1 et seq., and further that this

action is in the public interest of the Plaintiffs. Count V is brought pursuant to Section 7 of the

Fraud Act, 815 ILCS 505/7. The Fraud Act may be enforced through this Court through pendent

jurisdiction pursuant to 28 U.S.C. § 1367.

       598.    The Illinois Consumer Fraud and Deceptive Business Practices Act makes

unlawful, among other things, “[u]nfair or deceptive acts or practices, including but not limited to

the use or employment of any deception, fraud, false pretense, false promise, misrepresentation or

the concealment, suppression or omission of such material fact, with the intent that others rely
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upon the concealment, suppression or omission of such material fact” in the conduct of any trade

or commerce.” 815 ILCS 505/2. The Illinois Consumer Fraud and Deceptive Business Practice

Act, 815 ILCS 505/2, also makes unlawful “the use or employment of any practice described in

Section 2 of the “Uniform Deceptive Trade Practices Act.”

        599.    As evidenced by the conduct detailed above, at all times relevant to this Complaint,

the Distributor Defendants, directly, through their control of third parties, and/or by aiding and

abetting third parties, and/or in civil conspiracy with third parties, violated Section 2 of the Fraud

Act, 815 ILCS 505/2, by engaging in unfair acts or practices to promote the sale and use of opioids

to treat chronic pain. These acts or practices are unfair in that they offend public policy; are

immoral, unethical, oppressive, or unscrupulous; and have resulted in substantial injury to the

Plaintiffs that are not outweighed by any countervailing benefits to consumers or competition.

        600.    As described in detail above, the Distributor Defendants’ unfair acts and deceptive

practices include, but are not limited to failure to:

            a. The method, act or practice of not monitoring for suspicious orders of prescription
               opioids;

            b. The method, act or practice of not detecting suspicious orders of prescription
               opioids;

            c. The method, act or practice of not investigating suspicious orders of prescription
               opioids;

            d. The method, act or practice of filling, or failing to refuse fulfillment of, suspicious
               orders of prescription opioids;

            e. The method, act or practice of not reporting suspicious orders of prescription
               opioids;

            f. The method, act or practice of rewarding increases in prescription opioid sales;
               and/or

            g. The method, act or practice of falsely misrepresenting to the public that Defendants
               were complying with their legal obligations.


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       601.    The Distributor Defendants’ unfair practices, as described above, offend deep-

seated public policies under both federal law (21 U.S.C. § 823, 21 U.S.C. § 801; 21 C.F.R.

1301.74) and Illinois law (e.g. 225 ILCS 120/40; Ill. Admin. Code Title 68,§ 11510.50(i)), to

monitor, detect, investigate, refuse to fill, and report suspicious orders of prescription opioids

originating from the State and The County as well as those orders which Defendants knew or

should have known were likely to be diverted into the State and The County. Nevertheless, by

engaging in the conduct alleged above, Distributor Defendants actively worked to conceal the risk

of addiction related to opioids from Illinois patients and prescribers in the hopes of selling greater

quantities of their dangerous drugs. Distributor Defendants also worked to undermine public

policy, enshrined by regulations contained in state and federal law, that is aimed at ensuring honest

marketing and safe and appropriate use of pharmaceutical drugs.

       602.    Distributor Defendants’ conduct has caused substantial, indeed grievous, injury to

the consumer residents of the State and The County. The staggering rates of opioid use, abuse, and

addiction resulting from Distributor Defendants’ above described conduct have caused substantial

injury to residents of the State and The County, including, but not limited to:

           a. Upwards of 30% of all adults have used opioids, with the vast majority of the use
              stemming from prescribing for chronic pain conditions;

           b. A substantial number of residents of the State and The County prescribed opioids
              long-term for chronic pain have experienced the life-upending effects of addiction,
              abuse, misuse, overdose, and death. For those who can stop taking narcotic opioid,
              there are years of struggling with the pull of the drugs and the fear of relapse (and
              often relapse itself), counseling sessions, or lining up each morning for daily
              maintenance drugs. And those who cannot overcome the need for opioids must deal
              with the compulsive use of and need for opioids, the haziness when they are on the
              drugs, and the nearly constant struggle to maintain their supplies of the drugs,
              whatever the cost. Both groups face a dramatically heightened risk of serious injury
              or death and sometimes an unrecoverable toll on their health, work, and family.
           c. Elderly residents of the State and The County and Community veterans are
              particularly vulnerable to serious adverse outcomes, including overdose, injury and
              death;

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           d. Residents of the State and The County who have never taken opioids also have been
              injured. Many have endured both the emotional and financial costs of caring for
              loved ones addicted to or injured by opioids, and the loss of companionship, wages,
              or other support from family members who have used, abused, become addicted to,
              overdosed on, or been killed by opioids. Infants born to mothers who abuse opioids
              have suffered neonatal abstinence syndrome.
           e. Residents of the State and The County have incurred health care costs due to the
              prescription of opioids for chronic pain and the treatment of opioids adverse effects,
              including addiction and overdoes.
           f. Defendants’ success in extending the market for opioids to new patients and chronic
              conditions has also created an abundance of drugs available for criminal use and
              fueled a new wave of addiction, abuse, and injury. Defendants’ scheme created both
              ends of a new secondary market for opioids – providing both the supply of narcotics
              to sell and the demand of addicts to buy them.
           g. This demand also has created additional illicit markets in other opiates, particularly
              heroin. Patients addicted to opioids frequently migrate to lower-cost heroin, with
              the serious personal costs that accompany their use of unlawful drugs.
           h. All of this has caused substantial injuries to consumers – in lives lost; addictions
              endured; the creation of an illicit drug market and all its concomitant crime and
              costs; unrealized economic productivity; and broken lives, families, and homes.
       603.    The profound injuries to residents of the State and The County are substantial and

not outweighed by any countervailing benefits to consumers or competition since there is no

benefit from the deceptive marketing of these narcotic drugs. Moreover, no public policy justifies

the Distributor Defendants’ conduct in failing to comply with both federal and state law. In light

of this conduct, the consumer residents of the State and The County could not reasonably have

avoided their injuries.

       604.    By reason of the Distributor Defendants unlawful acts, the consumer residents of

the State and The County have been damaged and continue to be damaged, in a substantial amount

to be determined at trial.

       605.    Plaintiffs seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, payment of all civil penalties permissible under 815 ILCS 505/7(b) and (c), compensatory


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and punitive damages, and all damages allowed by law to be paid by the Defendants, attorney fees

and costs, and pre- and post-judgment interest, and awarding the Plaintiffs such other, further, and

different relief as this Honorable Court may deem just.

              COUNT IX - UNIFORM DECEPTIVE TRADE PRACTICES ACT
                               815 ILCS 510/1 et seq.
                              (Against All Defendants)

       606.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further allege as follows.

       607.    This Count is brought by the Plaintiffs as The County the State’s Attorney under

the Uniform Deceptive Trade Practices Act (“UDTPA”), 815 ILCS 510/1 et seq., as the Plaintiffs

are “government[s] or governmental subdivision[s]” and are therefore “person[s]” under the

definitions of the UDTPA. See 815 ILCS 510/1(5). The State’s Attorney and legal representative

of the Plaintiffs is empowered to bring Count IX of this action on behalf of the Plaintiffs, The

County, the People of The County, and the People of the State, pursuant to the powers and duties

vested to the State’s Attorney by 55 ILCS 5/3-9005(a) and the doctrine of parens patriae.

Additionally, the UDTPA may be enforced through this Court through pendent jurisdiction

pursuant to 28 U.S.C.A. § 1367.

       608.    As evidenced by the conduct detailed above, Manufacturer Defendants have

violated Section 2 of the UDTPA, 815 ILCS 510/2, by engaging in one or more of the following

deceptive trade practices in their business, vocation, or occupation:

           a. Causing likelihood of confusion or of misunderstanding as to the source,
              sponsorship, approval, or certification of goods or services;

           b. Representing that goods or services have sponsorship, approval, characteristics,
              ingredients, uses, benefits, or quantities that they do not have or that a person has a
              sponsorship, approval, status, affiliation, or connection that he or she does not have;

           c. Representing that goods or services are of a particular standard, quality, or grade or
              that goods are a particular style or model, if they are of another;

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           d. Disparaging the goods, services, or business of another by false or misleading
              representations of fact; and

           e. Engaging in other conduct which similarly creates a likelihood of confusion or
              misunderstanding.

       609.    As evidenced by the conduct detailed above, Distributor Defendants have violated

Section 2 of the UDTPA, 815 ILCS 510/2, by engaging in one or more of the following deceptive

trade practices in their business, vocation, or occupation:

           a. Causing likelihood of confusion or of misunderstanding as to the source,
              sponsorship, approval, or certification of goods or services;

           b. Representing that goods or services have sponsorship, approval, characteristics,
              ingredients, uses, benefits, or qualities that they do not have or that a person has a
              sponsorship, approval, status, affiliation, or connection that he or she does not have;
              and/or

           c. Engaging in other conduct which similarly creates a likelihood of confusion or
              misunderstanding.

       610.    As also described in greater detail above, Distributor Defendants’ deceptive trade

practices specifically include, but are not necessarily limited to, the following:

           a. The practice of not monitoring for suspicious orders of prescription opioids;

           b. The practice of not detecting suspicious orders of prescription opioids

           c. The practice of not investigating suspicious orders of prescription opioids;

           d. The practice of filling, or failing to refuse fulfillment of, suspicious orders of
              prescription opioids;

           e. The practice of not reporting suspicious orders of prescription opioids;

           f. The practice of rewarding increases in prescription opioid sales; and/or

           g. The practice of falsely misrepresenting to the public that Defendants were
              complying with their legal obligations.

       611.    Plaintiffs have been damaged, and are likely to be further damaged in the future, by

the deceptive trade practices described herein.



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       612.    Defendants egregiously and willfully engaged in the deceptive trade practices

described herein.

       613.    Section 3 of the UDTPA, 815 ILCS 510/3, empowers this Court to grant injunctive

relief upon terms it considers reasonable, as well as costs and attorneys’ fees against Defendants

if the Court finds that Defendants willfully engaged in a deceptive trade practice.

       614.    Plaintiffs, The County, People of The County, and People of the State, by and

through the State’s Attorney, seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, attorney fees and costs, and pre-

and post-judgment interest.

        COUNT X - NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                         ILLINOIS COMMON LAW
                           (Against All Defendants)

       615.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       616.    This Count for common law negligence and negligent misrepresentation is brought

by the Plaintiffs against all Defendants.

       617.    “To state a cause of action for negligence, a complaint must allege facts that

establish the existence of a duty of care owed by the defendant to the plaintiff, a breach of that

duty, and an injury proximately caused by that breach.” Simpkins v. CSX Transp., Inc., 965 N.E.2d

1092, 1096 (Ill. 2012) (quot. & cit. om.). All such essential elements exist here.

       618.    To state a cause of action for negligent misrepresentation, a complaint “need allege

only that the defendant was careless or negligent in ascertaining the truth of the statement, and that

the defendant had a duty to convey accurate information to the plaintiff.” Guvenoz v. Target Corp.,

30 N.E.3d 404, 424 (Ill. App. 2015) (quot. & cit. om.). All such essential elements exist here.



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       619.    Each Defendant had an obligation to exercise due care in marketing, selling, and

distributing highly dangerous opioid drugs in the State and The County.

       620.    Each Defendant had an obligation to exercise due care in manufacturing, marketing,

selling, and distributing highly dangerous opioid drugs in the State and The County.

       621.    If a course of action creates a foreseeable risk of injury, the individual engaged in

that course of action has a duty to protect others from such injury. Simpkins, 965 N.E.2d at 1097.

Each Defendant owed a duty to the Plaintiffs, and to the public health and safety in The County,

because the injury was foreseeable, and in fact foreseen, by the Defendants.

       622.    In addition, each Defendant owed a duty to the Plaintiffs, the People of the State,

the People of The County, and The County, because the injury was likely. Each Defendant was

required to guard against the injury as a requirement for the licenses each Defendant maintains,

and the burden of guarding against the injury was voluntarily assumed and not unduly onerous.

The burden of guarding against the injury is properly placed upon each Defendant, and indeed,

federal and state licensing and registration requirements required that each Defendant guard

against the diversion of dangerously addictive opioids for illicit purposes.

       623.    Reasonably prudent manufacturers and distributors would have anticipated that the

scourge of opioid addiction would wreak havoc on communities. As explained above, the system

whereby manufacturers and distributors are the gatekeepers between manufacturers and

pharmacies exists for the purpose of controlling dangerous substances such as opioids. Defendants

were repeatedly warned by law enforcement. The escalating amounts of addictive drugs flowing

through Defendants’ businesses, and the sheer volume of these prescription opioids, further alerted

Defendants that addiction was fueling increased consumption and that legitimate medical purposes

were not being served.



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       624.    The existence of a duty depends on the foreseeability of the injury. Each Defendant

owed a duty to the Plaintiffs, the People of the State, the People of The County, and The County,

because the injuries alleged herein was foreseeable, and in fact foreseen, by the Defendants.

       625.    Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and the

significant costs which would be imposed upon the governmental entities associated with those

communities. The closed system of opioid distribution whereby wholesale distributors are the

gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a duty

to prevent diversion, exists for the purpose of controlling dangerous substances such as opioids

and preventing diversion and abuse.

       626.    Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to

the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       627.    Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

       628.    The escalating amounts of addictive drugs flowing through Defendants’ businesses,

and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

fueling increased consumption and that legitimate medical purposes were not being served.

       629.    As described above in language expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for, failing



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to report, and filling highly suspicious orders time and again. Because the very purpose of these

duties was to prevent the resulting harm – diversion of highly addictive drugs for non-medical

purposes – the causal connection between Defendants’ breach of duties and the ensuing harm was

entirely foreseeable.

       630.    As described elsewhere in the Complaint in language expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law and

concealed their noncompliance and shipments of suspicious orders of opioids to the State and The

County and destinations from which they knew opioids were likely to be diverted into the State

and The County, in addition to other misrepresentations alleged and incorporated herein.

       631.    As described elsewhere in the Complaint in language expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled Substances,

and by misrepresenting the nature of the drugs and aggressively promoting them for chronic pain

for which they knew the drug were not safe or suitable.

       632.    The Manufacturer Defendants misrepresented and concealed the addictive nature

of prescription opioids and its lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       633.    All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

       634.    Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

       635.    The      causal   connection   between   Defendants’   breaches   of   duties     and

misrepresentations and the ensuing harm was entirely foreseeable.



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       636.    As described above in language expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bears a causal connection with, and/or

proximately resulted in the damages sought herein.

       637.    Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants’ knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

industrial channels. However, Defendants breached their duties to monitor for, report, and halt

suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

their duties were and their compliance with their legal duties.

       638.    Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

negligence under State law.

       639.    Plaintiffs seek economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ actions and omissions. Plaintiffs do not seek damages for the

wrongful death, physical personal injury, or emotional distress caused by Defendants’ actions.

       640.    Plaintiffs seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                              COUNT XI- NEGLIGENCE PER SE
                                  (Against All Defendants)

       641.    Plaintiffs incorporate by reference all prior paragraphs of this Complaint as if set

forth fully herein, and further alleges as follows.

       642.    The Illinois and federal laws set out in 720 ILCS 570/205; 225 ILCS 120/40; Ill.

Admin. Code Title 68, § 1510.50(i); 21 U.S.C. §§ 812, 823; 21 C.F.R. § 1301.74; 28 C.F.R. §


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0.100, are public safety laws. Each Defendant had a duty under, inter alia, these laws maintain

effective controls against diversion of prescription opioids and to guard against, prevent, and report

suspicious orders of opioids.

         643.   Defendants’ actions and omissions in violation of the law constitute negligence per

se.

         644.   Defendants’ actions and omissions were intentional and/or unlawful, and

Defendants acted with actual malice.

         645.   It was foreseeable that the breach of duty described herein would result in the

economic damages for which Plaintiffs seek recovery.

         646.   As described above in language expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes requiring that as wholesale drug distributors,

Defendants could only distribute these dangerous drugs under a closed system – a system

Defendants were responsible for guarding.

         647.   As described above in language expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties caused, bears a causal connection with, and proximately resulted

in, harm and damages sought by the Plaintiffs.

         648.   Plaintiffs seek economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se. Plaintiffs do not seek damages for the

wrongful death, physical personal injury, or emotional distress caused by Defendants’ actions.

         649.   Plaintiffs seek all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,




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compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                              COUNT XII - CIVIL CONSPIRACY
                                  (Against All Defendants)

       650.     Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       651.    As set forth herein, Defendants engaged in a civil conspiracy to create an absolute

public nuisance in conjunction with their unlawful distribution and diversion of opioids into the

State and The County.

       652.    Defendants Cephalon, Endo, Janssen, and Purdue each conspired with various

KOLs and Front Groups to commit unlawful acts or lawful acts in an unlawful manner. Defendants

Cephalon, Endo, Janssen, and Purdue, and the various KOLs and Front Groups with which each

of them was allied, knowingly and voluntarily agreed to engage in unfair and deceptive practices

to promote the use of opioids for the treatment of chronic pain by making and disseminating false,

unsubstantiated, and misleading statements and misrepresentations to prescribers and consumers.

Defendants Cephalon, Endo, Janssen, and Purdue enlisted various KOLs and Front Groups to

make and disseminate these statements in furtherance of their common strategy to increase opioid

sales, and Defendants Cephalon, Endo, Janssen, and Purdue – along with the KOLs and Front

Groups with whom each of them conspired – knew that the statements they made and disseminated

served this purpose.

       653.    By engaging in the conduct described in this Complaint, Defendant Cephalon

agreed with Front Groups FSMB and APF that they would deceptively promote the risks, benefits,

and superiority of opioid therapy. As part of its agreements with FSMB and APF, Cephalon

provided support for FSMB’s and APF’s deceptive statements promoting opioids and FSMB and


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APF used that support to more broadly disseminate deceptive messaging promoting opioids, which

would benefit Cephalon’s drugs. As set forth above, Responsible Opioid Prescribing (Cephalon

and FSMB) and Treatment Options: A Guide for People Living with Pain (Cephalon and APF) are

publications that contained a number of deceptive statements about opioids. They are products of

these conspiracies, and the collaboration between Cephalon and each of these entities in creating

and disseminating these publications is further evidence of each conspiracy’s existence.

       654.    By engaging in the conduct described in this Complaint, Defendant Endo agreed

with Front Groups, APF, NIPC, AGS, and FSMB that they would deceptively promote the risks,

benefits, and superiority of opioid therapy. As part of its agreements with APF, NIPC, AGS, and

FSMB, Endo provided support for APF, NIPC, AGS and FSMB’s deceptive statements promoting

opioids and APF, NIPC, AGS, and FSMB used that support to more broadly disseminate deceptive

messaging promoting opioids, which would benefit Endo’s drugs. Persistent Pain in the Older

Adult (Endo, APF, and NIPC), Painknowledge.com (Endo, APF, NPIC), Exit Wounds (Endo and

APF); Pharmacological Management of Persistent Pain in Older Persons (Endo and AGS), and

Responsible Opioid Prescribing (Endo and FSMB) are publications, CMEs, and websites that

contained a number of deceptive statements about opioids as outlined above. They are products of

these conspiracies, and the collaboration between Endo and each of these entities in creating and

disseminating these publications, CMEs, and websites is further evidence of each conspiracy’s

existence.

       655.    By engaging in the conduct described in this Complaint, Defendant Janssen agreed

with Front Groups AAPM, AGS, and APF that they would deceptively promote the risks, benefits,

and superiority of opioid therapy. As part of its agreements with AAPM, AGS, APF, Janssen

provided support for AAPM, AGS, and APF’s deceptive statements promoting opioids and Conrad



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& Associates LLC, Medical Writer X, AAPM, AGS, and APF used that support to more broadly

disseminate deceptive messaging promoting opioids, which would benefit Janssen’s drugs.

Finding Relief: Pain Management for Older Adults (Janssen, AAPM, and AGS), a CME

promoting the Pharmacological Management of Persistent Pain in Older Persons (Janssen and

AGS); the Let’s Talk Pain website (Janssen and APF), and Exit Wounds (Janssen and APF) are

publications, CMEs, and websites that contained a number of deceptive statements about opioids,

as outlined above. They are products of these conspiracies and the collaboration between Janssen

and each of these entities in creating and disseminating these publications is further evidence of

each conspiracy’s existence.

         656.    By engaging in the conduct described in this Complaint, Defendant Purdue agreed

with Front Groups APF, FSMB, and AGS that they would deceptively promote the risks, benefits,

and superiority of opioid therapy. As part of its agreements with APF, FSMB, and AGS, Purdue

provided support for APF, FSMB, and AGS’s deceptive statements promoting opioids and APF,

FSMB, and AGS used that support to more broadly disseminate deceptive messaging promoting

opioids, which would benefit Purdue’s drugs. The Partners Against Pain website (Purdue and

APF), A Policymaker’s Guide to Understanding Pain & Its Management (Purdue and APF),

Treatment Options: A Guide for People Living with Pain (Purdue and APF); Exit Wounds (Purdue

and APF),218 Responsible Opioid Prescribing (Purdue and FSMB), and a CME promoting the

Pharmacological Management of Persistent Pain in Older Persons (Purdue and AGS) are

publications, CMEs, and websites that contained a number of deceptive statements about opioids,

as outlined above. They are products of these conspiracies, and the collaboration between Purdue



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    Purdue’s collaborations with APF through APF’s “Corporate Roundtable” and Purdue and APF’s active
collaboration in running PCF constitute additional evidence of the conspiracy between Purdue and APF to deceptively
promote opioids.

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and each of these entities in creating and disseminating these publications, CMEs and websites is

further evidence of each conspiracy’s existence.

       657.    Each of the participants to the conspiracies outlined above was aware of the

misleading nature of the statements they planned to issue and of the role they played in each

scheme to deceptively promote opioids as appropriate for the treatment of chronic pain. These

Defendants and third parties nevertheless agreed to misrepresent the risks, benefits, and superiority

of using opioids to the residents, patients, and prescribers of the State and The County in return

for increased pharmaceutical sales, financial contributions, reputational enhancements, and other

benefits.

       658.    As outlined in this Complaint, Defendants Cephalon, Endo, Janssen, and Purdue

played an active role in determining the substance of the misleading messages issued by KOLs

and Front Groups, including by providing content themselves, editing and approving content

developed by their co-conspirators, and providing slide decks for speaking engagements.

Defendants further ensured that these misstatements were widely disseminated, by both

distributing the misstatements themselves and providing their co-conspirators with funding and

other assistance with distribution. The result was an unrelenting stream of misleading information

about the risks, benefits, and superiority of using opioids to treat chronic pain from sources

Defendants knew were trusted by prescribers. Defendants exercised direct editorial control over

most of these statements. However, even if Defendants did not directly disseminate or control the

content of these misleading statements, they are liable for conspiring with the third parties who

did.




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       659.       As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful distribution and diversion of opioids into the

State and The County.

       660.       Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report, and prevent suspicious orders of opioids.

       661.       The Manufacturer Defendants further unlawfully marketed opioids in the State and

The County in furtherance of that conspiracy.

       662.       Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

earlier in the complaint, including, without limitation, in Plaintiffs’ federal and state law

racketeering allegations. Such allegations are incorporated herein.

       663.       Defendants acted with a common understanding or design to commit unlawful acts,

as alleged herein, and acted purposely, without a reasonable or lawful excuse, to create the injuries

alleged herein.

       664.       Defendants participated in unlawful acts or lawful acts in an unlawful manner and

in furtherance of a civil conspiracy by, among other unlawful conduct:

           a. Violating, aiding and abetting in the violation, or causing the violation of 720 ILCS
              § 5/17-10.5;

           b. Violating 21 U.S.C. § 331(a);

           c. Violating the Consumer Fraud Act and violating the UDTPA; and

           d. Committing common law unjust enrichment.

       665.       Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.

       666.       Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, caused the direct and foreseeable losses alleged herein.


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        667.   By reasons of Defendants’ unlawful acts, the Plaintiffs have been damaged and

continue to be damaged by paying for the costs of opioid prescriptions for chronic pain and has

suffered additional damages for the costs of providing and using opioids long-term to treat chronic

pain.

        668.   Because Defendants’ marketing caused doctors and other health care providers to

prescribe and The County to pay for long-term opioid treatment using opioids manufactured or

distributed by other drug makers, Defendants caused and are responsible for those costs and

claims, as well.

        669.   Plaintiffs seek economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ civil conspiracy. Plaintiffs do not seek damages for the

wrongful death, physical personal injury, or emotional distress caused by Defendants’ actions.

        670.   Plaintiffs seek all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

          COUNT XIII - FRAUD AND FRAUDULENT MISREPRESENTATION
                             (Against All Defendants)

        671.   Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        672.   Defendants violated their general duty not to actively deceive, and have made

knowingly false statements and have omitted and/or concealed information which made statements

Defendants did make knowingly false. Defendants acted intentionally and/or unlawfully.

        673.   In Illinois, the elements to state a cause of action for common law fraud are: “(1) a

statement by defendant; (2) of a material nature as opposed to opinion; (3) that was untrue; (4) that


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was known or believed by the speaker to be untrue or made in culpable ignorance of its truth or

falsity; (5) that was relied on by the plaintiff to his detriment; (6) made for the purpose of inducing

reliance; and (7) such reliance led to the plaintiff’s injury. Olendorf v. General Motors Corp., 322

Ill.App.3d 825, 831 (Ill. App. 2001) (quot. & cit. om.). All such essential elements exist here.

       674.    Similarly, to state a cause of action for fraudulent misrepresentation in Illinois, the

elements are: “(1) a false statement of material fact; (2) knowledge or belief of the falsity by the

person making it; (3) intention to induce the other party to act; (4) action by the other party in

reliance on the truth of the statements; and (5) damage to the other party resulting from such

reliance.” Guvenoz v. Target Corp., 30 N.E.3d 404, 423 (Ill. App. 2015) (quot. & cit. om.). All

such essential elements exist here.

       675.    As alleged herein, Defendants made false statements regarding their compliance

with state and federal law regarding their duties to prevent diversion, their duties to monitor, report

and halt suspicious orders, and/or concealed their noncompliance with these requirements.

       676.    As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

       677.    As alleged herein, Defendants knowingly and/or intentionally made representations

that were false. Defendants had a duty to disclose material facts and concealed them. These false

representations and concealed facts were material to the conduct and actions at issue. Defendants

made these false representations and concealed facts with knowledge of the falsity of their

representations, and did so with the intent of misleading Plaintiffs, the State and The County, the

public, and persons on whom Plaintiffs relied.

       678.    These false representations and concealments were reasonably calculated to

deceive Plaintiffs, the State and The County, and the physicians who prescribed opioids for persons



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in the State and The County, were made with the intent to deceive, and did in fact deceive these

persons, Plaintiffs, and The County.

       679.    Plaintiffs, including the residents of The County, and the physicians who prescribed

opioids reasonably relied on these false representations and concealments of material fact.

       680.    Plaintiffs justifiably relied on Defendants’ representations and/or concealments,

both directly and indirectly. Plaintiffs’ injuries were proximately caused by this reliance.

       681.    The injuries alleged by Plaintiffs herein were sustained as a direct and proximate

cause of Defendants’ fraudulent conduct.

       682.    Plaintiffs seek economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations and

fraudulent concealment. Plaintiffs do not seek damages for the wrongful death, physical personal

injury, or emotional distress caused by Defendants’ actions.

       683.    Plaintiffs seek all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Defendants,

attorney fees and costs, and pre- and post-judgment interest.

                             COUNT XIV – INSURANCE FRAUD
                                      720 ILCS 5/17-10.5
                             (Against Manufacturing Defendants)

       684.    Plaintiffs incorporate all paragraphs of this Complaint as if set forth fully herein,

and further allege as follows.

       685.    720 ILCS § 5/17-10.5(a)(1) provides in pertinent part:

       (1) A person commits insurance fraud when he or she knowingly obtains, attempts
       to obtain, or causes to be obtained, by deception, control over the property of an
       insurance company or self-insured entity by the making of a false claim or by
       causing a false claim to be made on any policy of insurance issued by an insurance
       company or by the making of a false claim or by causing a false claim to be made
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       to a self-insured entity, intending to deprive an insurance company or self-insured
       entity permanently of the use and benefit of that property.

       686.    720 ILCS § 5/17-10.5 (e)(1) provides in pertinent part:

       Civil damages for insurance fraud. A person who knowingly obtains, attempts to
       obtain or causes to be obtained, by deception, control over the property of any
       insurance company by the making of a false claim or by causing a false claim to be
       made on a policy of insurance issued by an insurance company, or by the making
       of a false claim or by causing a false claim to be made to a self-insured entity,
       intending to deprive an insurance company of the use and benefit of that property,
       shall be civilly liable to the insurance company or self-insured entity in an amount
       equal to either 3 times the value of the property wrongfully obtained or, if no
       property was wrongfully obtained twice the value of the property attempted to be
       obtained, whichever amount is greater, plus reasonable attorney’s fees.

       687.    At all times relevant to this Complaint, Defendants, directly, through their control

of third parties, and by acting in concert with third parties: (a) knowingly caused false claims to

be made to The County’s workers’ compensation program, which is self-insured; and (b)

knowingly obtained or caused to be obtained through deception the property of The County in

payments for those false claims. Defendants’ scheme caused prescribers to write prescriptions for

opioids to treat chronic pain that were presented to The County’s workers’ compensation program

for payment. Therefore, each claim for reimbursement to The County for chronic opioid therapy

is the direct result of Defendants’ marketing, which presented to prescribers false information

about the risks, benefits, and superiority of opioids for the long-term treatment of pain.

       688.    Further, The County only covers the cost of services, tests, and prescription drugs

that are medically necessary, reasonably required, and prescribed for an FDA-approved use.

Doctors, pharmacist, and other health care providers and/or other agents of the workers’

compensation program expressly or impliedly certified to The County that opioids were medically

necessary and reasonably required to treat chronic pain because they were influenced by the false

and misleading statements disseminated by Defendants (or the Defendants made the

misrepresentation themselves) about the risks, benefits, and superiority of opioids for chronic pain.

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Moreover, many of the prescriptions written by physicians or other health care providers and/or

authorized by the workers’ compensation program, and submitted to The County were for uses

that were misbranded and/or for off-label uses not approved by the FDA.

       689.    The misrepresentations were material because if The County had known of the false

statements disseminated by Defendants and that doctors, pharmacies, or other health care

providers, and/or workers’ compensation program certified and/or determined that opioids were

medically necessary and reasonably required based on those false statements, The County would

have refused to authorize payment for opioid prescriptions. The County is a self-insured entity and

directly covers the cost of prescription drugs and other medical services for The County employees

under the workers’ compensation program.

       690.    By virtue of the above-described acts, Defendants knowingly made, used, or caused

to be made false claims with the intent to induce The County to approve and pay such false and

fraudulent claims.

       691.    By virtue of the above-described acts, Defendants acted in concert with third party

Front Groups and KOLs to make misleading statements about the risks, benefits, and superiority

of opioids to treat chronic pain. Defendants were aware of the misleading nature of the

misstatements and material omissions made by KOLs and Front Groups, and yet Defendants

provided them substantial assistance and encouragement by helping them develop, refine, and

promote these misstatements and material omissions and distributing them to a broader audience.

Defendants also substantially encouraged the dissemination of these misstatements and material

omissions by proving the Front Groups and KOLS with funding and technical support of the shared

purpose of issuing misleading, pro-opioids messaging. Defendants knew or should have known

that these marketing and promotional efforts created an untrue, false, and misleading impression



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about the risks, benefits, and superiority of opioids for chronic pain and would result in the

submission of false insurance claims for opioid prescriptions written to treat chronic pain.

       692.    By reason of Defendants’ insurance fraud, The County has been damaged, and

continued to be damaged, in a substantial amount to be determined at trial.

       693.    Because Defendants’ unbranded marketing caused the doctors to prescribe and The

County to pay for long-term opioid treatment using opioids manufactured or distributed by other

drug makers, Defendants caused and are responsible for those costs and claims, as well.

       694.    The County seeks all legal and equitable relief as allowed by law, except as

expressly disavowed herein, including inter alia injunctive relief, treble damages, restitution,

disgorgement of profits, compensatory and punitive damages, and all damages allowed by law to

be paid by the Defendants, attorney fees and costs, and pre- and post-judgment interest.

              COUNT XV – UNJUST ENRICHMENTVIOLATIONS OF THE
              COMMON LAW PROHIBITION OF UNJUST ENRICHMENT
                        (Against Manufacturing Defendants)

       695.    Plaintiffs incorporate all paragraphs of this Complaint as if set forth fully herein,

and further allege as follows.

       696.    Defendants have unjustly retained a benefit to The County’s detriment, and the

Defendants’ retention of the benefit violates the fundamental principles of justice, equity, and good

conscience.

       697.    By illegally and deceptively promoting opioids to treat chronic pain, directly

through their control of third parties, and by acting in concert with third parties, Defendants have

unjustly enriched themselves at The County’s expense. The County has made payments for opioid

prescriptions, and Defendants benefitted from those payments. Because of their deceptive

promotion of opioids, Defendants obtained enrichment they would not otherwise have obtained.

The enrichment was without justification and The County lacks a remedy provided by law.
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       698.    By reason of Defendants unlawful acts, The County has been damaged and

continues to be damaged, in a substantial amount to be determined at trial.

       699.    The County seeks all legal and equitable relief as allowed by law, except as

expressly disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                     PUNITIVE DAMAGES

       700.    Plaintiffs incorporate all paragraphs of this Complaint as if set forth fully herein,

and further allege as follows.

       701.    By engaging in the above-described unfair acts or practices, Defendants acted with

actual malice, wantonly, and oppressively. Defendants acted with conscious disregard to the rights

of others and/or in a reckless, wanton, willful, or gross manner. Defendants acted with a prolonged

indifference to the adverse consequences of their actions and/or omissions. Defendants acted with

a conscious disregard for the rights and safety of others in a manner that had a great probability of

causing substantial harm.

       702.    Here, Defendants were selling dangerous drugs statutorily categorized as posing a

high potential for abuse and severe dependence. Thus, Defendants knowingly traded in drugs that

presented a high degree of danger if prescribed incorrectly or diverted to other than legitimate

medical, scientific, or industrial channels. Because of the severe level of danger posed by, and

indeed visited upon the State and The County by, these dangerous drugs, Defendants owed a high

duty of care to ensure that these drugs were only used for proper medical purposes. Defendants

chose profit over prudence, and the safety of the community, and an award of punitive damages is

appropriate, as punishment and a deterrence.



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       703.      By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and exhibited an entire want of care that would raise the presumption of a

conscious indifference to consequences.

                                             RELIEF

       WHEREFORE, the Plaintiffs respectfully pray that this Court grant the following relief:

       1. Enter Judgment in favor of the Plaintiffs in a final order against each of the Defendants;

       2. Enjoin the Defendants and their employees, officers, directors, agents, successors,

            assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries,

            and all other persons acting in concert or participation with them, from engaging in

            unlawful sales of prescription opioid pills and ordering temporary, preliminary or

            permanent injunction;

       3. Allocate monetary damages attributable to each Defendant for each Count pled above;

       4. Order that Defendants compensate The County for its past and future damages and

            costs to abate the ongoing public nuisance caused by the opioid epidemic;

       5. Impose an award of actual and triple the actual damages the Plaintiffs sustained as a

            result of each Defendant’s violation of the Racketeer Influenced and Corrupt

            Organizations Act, and any allowable civil penalty;

       6.     Impose an award of actual and triple the actual damages the Plaintiffs sustained as a

            result of each Defendant’s violation of the Narcotics Profit Forfeiture Act;

       7. Impose an award of actual and triple the actual damages the Plaintiffs sustained as a

            result of each Defendant’s Insurance Fraud violations;

       8. Order that each Defendant pay restitution;

       9. Order that each Defendant disgorge profits and any unjust enrichment;



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      10. Order that each Defendant is liable for civil penalties under Illinois law;

      11. Allocate monetary damages attributable to each Defendant to compensate the Plaintiffs

          for the expenses and costs that it bears as a result of the public nuisance, including

          without limitation (A) costs for providing medical care, additional therapeutic, and

          prescription drug purchases, and other treatments/services for patients suffering from

          opioid-related addiction or disease, including overdoses and deaths; (B) costs for

          providing treatment, counseling, rehabilitation services; (C) costs for providing

          treatment of infants born with opioid-related medical conditions; (D) costs associated

          with law enforcement and public safety relating to the opioid epidemic, including

          without limitation first responders and ambulance services; and (E) any other expenses

          or damages caused by the Defendants’ diversion of opioids;

      12. Order Defendants to fund an “abatement fund” for the purposes of abating the opioid

          nuisance and otherwise abate the public nuisance;

      13. Award judgment against the Defendants requiring Defendants to pay punitive and

          exemplary damages;

      14. Granting the Plaintiffs:

          1. The cost of investigation, reasonable attorneys’ fees, and all costs and expenses;

          2. Pre-judgment and post-judgment interest; and,

          3. All other relief as provided by law and/or as the Court deems appropriate and just.

      PLAINTIFFS DEMAND A TRIAL BY JURY.


Dated: 12/12/2017                                    THE PEOPLE OF THE STATE OF
                                                     ILLINOIS, THE PEOPLE OF EDWARDS
                                                     COUNTY, COUNTY OF EDWARDS
                                                     By Eric St. Ledger,
                                                     the STATE’S ATTORNEY
                                                     of EDWARDS, COUNTY,
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